Case: 1:18-cv-04542 Document Michael
                             #: 53-3 Power   - 6/26/2019
                                     Filed: 02/20/20  Page 1 of 73 PageID #:517
                       Rowena Dziubla vs. J.C. Anderson, Inc., et al.

 1               IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
 2                         EASTERN DIVISION
 3
     ROWENA DZIUBLA,                                              )
 4                                                                )
                            Plaintiff,                            )
 5                                                                )
             vs.                                                  ) Case No.
 6                                                                ) 1:18-cv-4542
     J.C. ANDERSON, INC., and                                     )
 7   PETER ERLING JACOBSEN,                                       )
                                                                  )
 8                          Defendants.                           )
 9

10

11                  The deposition of MICHAEL J. POWER, JR.,
12   taken in the above-entitled cause before Gabrielle
13   Pudlo, CSR, and Notary Public within and for the
14   County of Cook and State of Illinois, taken pursuant
15   to the Federal Code of Civil Procedure for the
16   United States District Court, Northern District of
17   Illinois, Eastern Division, at 20 South Clark
18   Street, Suite 500, in the City of Chicago, Illinois,
19   on June 26, 2019, at the hour of 9:30 a.m.
20

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Case: 1:18-cv-04542 Document Michael
                             #: 53-3 Power   - 6/26/2019
                                     Filed: 02/20/20  Page 2 of 73 PageID #:518
                       Rowena Dziubla vs. J.C. Anderson, Inc., et al.

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22
             ALSO PRESENT:
23
                    MS. ROWENA DZIUBLA
24
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Case: 1:18-cv-04542 Document Michael
                             #: 53-3 Power   - 6/26/2019
                                     Filed: 02/20/20  Page 3 of 73 PageID #:519
                       Rowena Dziubla vs. J.C. Anderson, Inc., et al.

 1   WITNESS EXAMINATION                          DX          CX        RDX     RCX
 2   MICHAEL J. POWER, JR.
 3   By Mr. Sedaei                                  5
 4   By Ms. Olson                                            176
 5                                E X H I B I T S
 6   DEPOSITION EXHIBITS                                                  MARKED
 7   Power Exhibit No. 1                                                       36
 8   Power Exhibit No. 2                                                       39
 9   Power Exhibit No. 3                                                       51
10   Power Exhibit No. 4                                                       69
11   Power Exhibit No. 5                                                       78
12   Power Exhibit No. 6                                                       83
13   Power Exhibit No. 7                                                       84
14   Power Exhibit No. 8                                                       86
15   Power Exhibit No. 9                                                       95
16   Power Exhibit No. 10                                                     104
17   Power Exhibit No. 11                                                     106
18   Power Exhibit No. 12                                                     112
19   Power Exhibit No. 13                                                     114
20   Power Exhibit No. 14                                                     124
21   Power Exhibit No. 15                                                     125
22   Power Exhibit No. 16                                                     140
23   Power Exhibit No. 17                                                     144
24                       E X H I B I T S (Cont'd.)

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Case: 1:18-cv-04542 Document Michael
                             #: 53-3 Power   - 6/26/2019
                                     Filed: 02/20/20  Page 4 of 73 PageID #:520
                       Rowena Dziubla vs. J.C. Anderson, Inc., et al.

 1   Power Exhibit No. 18                                                  147
 2   Power Exhibit No. 19                                                  148
 3   Power Exhibit No. 20                                                  152
 4   Power Exhibit No. 21                                                  160
 5   Power Exhibit No. 22                                                  162
 6   Power Exhibit No. 23                                                  166
 7   Power Exhibit No. 24                                                  168
 8   Power Exhibit No. 25                                                  169
 9   Power Exhibit No. 26                                                  170
10   Power Exhibit No. 27                                                  172
11   Power Exhibit No. 28                                                  174
12

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     Case: 1:18-cv-04542 Document Michael
                                  #: 53-3 Power   - 6/26/2019
                                          Filed: 02/20/20  Page 5 of 73 PageID #:521
                                      Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1                (Witness sworn.)                                 1 twelve hours?
 2            MICHAEL J. POWER, JR.,                               2     A. The only thing I've taken is losartan for
 3 called as a witness on behalf of the plaintiff,                 3 minor hypertension.
 4 being first duly sworn, was examined and testified              4     Q. Okay. When did you take that?
 5 as follows:                                                     5     A. At about 6:00 a.m. today.
 6               DIRECT EXAMINATION                                6     Q. Okay. The medication you've taken, does
 7 BY MR. SEDAEI:                                                  7 it impact your ability to answer questions today?
 8      Q. Good morning, Mr. Power.                                8     A. No, it does not. I take it daily.
 9      A. Good morning.                                           9     Q. Okay. Is there any reason such as being
10      Q. My name is Sam Sedaei. I am an attorney                10 under unusual stress, a physical or mental
11 for the plaintiff in this case, Ms. Dziubla.                   11 condition, or being under the influence of any
12        Would you please state your full name for               12 substance that would prevent or limit your ability
13 the record.                                                    13 today to give truthful answers to my questions?
14      A. Michael J. Power, Jr.                                  14     A. No.
15      Q. Mr. Power, have you ever been deposed                  15     Q. What did you do to prepare for today's
16 before?                                                        16 deposition?
17      A. No, I have not.                                        17     A. I met with my counsel.
18      Q. Do you understand that your testimony                  18     Q. Okay. Was anybody else at the meeting?
19 today will be under oath?                                      19     A. No.
20      A. Yes.                                                   20     Q. Did you look at any documents?
21      Q. So you were already at Ms. Dziubla's                   21     A. Yes.
22 deposition, so you have a sense of how these things            22     Q. What documents did you look at?
23 go. But I'll still go over some basic ground rules             23     A. I reviewed some of the email
24 so you keep those in mind as we go forward.                    24 correspondence between ourselves and Ms. Dziubla and
                                                         Page 5                                                            Page 7
 1        A deposition is much like a conversation,                1 looked at our Policies and Procedures book.
 2 but there are some differences. First, we have a                2     Q. Policies and Procedures book, you said?
 3 court reporter who is attempting to transcribe the              3     A. Yes.
 4 conversation. So we can't interrupt each other. So              4     Q. Anything else?
 5 please wait until I finish asking a question before             5     A. No.
 6 answering. And I will wait until you've answered a              6     Q. Will you please tell me where you reside?
 7 question before we go on to a new question or                   7     A. I reside in Naperville, Illinois.
 8 re-asking the same question if I don't feel like I              8     Q. Okay. I'm going to ask you some questions
 9 got an answer.                                                  9 about your education. So let's start with the
10        Also, in answering questions, please try                10 highest level of education you have.
11 to use full answers; yeses and nos versus uh-huhs,             11         What degree do you have?
12 uh-uhs, or head nods, that kind of thing.                      12     A. I have a Bachelor's of Science degree in
13     A. Okay.                                                   13 Accountancy from DePaul University.
14     Q. And if you need to take a break, you can                14     Q. Do you have any other post high school
15 let me know. But please ask for a break only after             15 degrees?
16 you've answered a question and before I've gone on             16     A. No, I do not.
17 to a new question.                                             17     Q. Where did you go to high school?
18     A. Understood.                                             18     A. Elmwood Park.
19     Q. And if you don't hear or understand a                   19     Q. Have you lived in Illinois your whole
20 question, ask me and I will repeat or rephrase. If             20 life?
21 you do answer a question, I will assume that you               21     A. Yes.
22 understood the question. If you --                             22     Q. So you aren't one of those people who run
23        Well, let me just first ask you if you                  23 to California as soon as they reach a legal age,
24 have consumed any medicine or alcohol over the past            24 huh?
                                                         Page 6                                                            Page 8
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     Case: 1:18-cv-04542 Document Michael
                                  #: 53-3 Power   - 6/26/2019
                                          Filed: 02/20/20  Page 6 of 73 PageID #:522
                                  Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1       A. (Shaking head.)                                   1    Q. So that would include -- so would it be
 2       Q. Are you currently employed?                       2 accurate so say that you have had no training on
 3       A. Yes.                                              3 U.S. discrimination and retaliation laws?
 4       Q. Where?                                            4    A. No, that would not be accurate.
 5       A. J.C. Anderson.                                    5    Q. So you have had some training?
 6       Q. When did you join J.C. Anderson?                  6    A. Yes.
 7       A. February 14, 2011.                                7    Q. Okay.
 8       Q. What's your title?                                8    A. I've gone to some seminars through
 9       A. CFO.                                              9 CFMA groups and other professional organizations
10       Q. For how long have you been the CFO?              10 that have offered seminars on topics pertaining to
11       A. Approximately three years.                       11 H.R. But I don't have the specifics on those.
12       Q. So that would put us somewhere in 2016?          12    Q. You don't remember dates, locations?
13       A. Yes.                                             13    A. No.
14       Q. What was your title before you were the          14    Q. Do you know who would have further details
15   CFO?                                                    15 on your attendance at those seminars?
16       A. Treasurer.                                       16    A. No, I do not.
17       Q. For how long were you the Treasurer?             17    Q. What are your duties and responsibilities
18       A. Since the end of 2012.                           18 as the CFO?
19       Q. Did you only have one other title before         19    A. To oversee the financial and accounting
20   that? Before Treasurer, what were you?                  20 functions of the company along with the money
21       A. When I first started, my title was               21 management.
22   Controller.                                             22    Q. What were your duties and responsibilities
23       Q. Any other titles you've had at JCA?              23 as the Treasurer?
24       A. No.                                              24    A. Duties were the same.
                                                    Page 9                                                      Page 11
 1       Q. Do you also have some kind of Human               1    Q. But when you became the CFO, were there
 2   Resources role at the company?                           2 certain duties that were added to your
 3       A. Yes.                                              3 responsibilities?
 4       Q. So do you have an additional title for            4    A. No. It was just a change in title.
 5   that role?                                               5    Q. And a change in compensation?
 6       A. I don't have an additional title. It's            6    A. Yes.
 7   listed in our Policies and Procedures book that I'm      7    Q. What about when you were the Controller,
 8   the H.R. Representative for the company.                 8 what were your duties and responsibilities then?
 9       Q. So would it be accurate to say                    9    A. When I was the Controller, I reported to
10   H.R. Representative is your title?                      10 the CFO. And I assisted with everyday accounting
11       A. Yes.                                             11 functions.
12       Q. For how long have you been in that role?         12    Q. As the CFO -- Sorry, one moment.
13       A. Middle of 2013. I don't know the exact           13       As the CFO, who do you report to?
14   date.                                                   14    A. The president of the company and the
15       Q. Do you know -- do you remember who made          15 owners.
16   you the H.R. Representative?                            16    Q. So that would be Mr. Yazbec and
17       A. The owners of the company.                       17 Mr. Schumacher?
18       Q. Was there some kind of a meeting where           18    A. Jim and Tom Schumacher, yes.
19   they called you in and said you were the                19    Q. Did you report to the same individuals as
20   H.R. Representative now?                                20 Treasurer?
21       A. Yes.                                             21    A. Yes.
22       Q. Did you undergo any kind of training             22    Q. Who was the CFO at the time you were the
23   relating to your H.R. responsibilities?                 23 Controller?
24       A. No formal training.                              24    A. Kevin Radoha.
                                                   Page 10                                                      Page 12
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     Case: 1:18-cv-04542 Document Michael
                                  #: 53-3 Power   - 6/26/2019
                                          Filed: 02/20/20  Page 7 of 73 PageID #:523
                                    Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1      Q. Is this the same individual who passed              1 Approximate; just a year would be fine if you can't
 2 away?                                                       2 remember.
 3      A. The same individual who passed away.                3     A. I think it was around 2003. I started
 4 BY QUESTIONER:                                              4 there in 1999. I don't recall the exact date.
 5      Q. As the CFO, who reports to you?                     5     Q. That's fine.
 6      A. I have a Senior Accountant who reports to           6         Can you tell me what JCA does?
 7 me, and the Office Manager/Receptionist reports to          7     A. We are a general contractor that
 8 me.                                                         8 specializes in commercial interior construction.
 9      Q. What is the Senior Accountant's name?               9     Q. Do you know when JCA was established?
10      A. Andy Lavis, L-a-v-i-s.                             10     A. 1879.
11      Q. And when you were the Treasurer, who               11     Q. I read somewhere that Mr. Schumacher, Jim
12 reported to you?                                           12 Schumacher, was one of the founders of the company.
13      A. The same two individuals.                          13         Is that not accurate, then?
14      Q. Did anybody report to you when you were a          14     A. He was not one of the founders.
15 Controller?                                                15     Q. Okay. But the company has been in his
16      A. No.                                                16 family since it was established?
17      Q. Where were you employed before you were at         17     A. The company has been in his family for --
18 JCA?                                                       18 No, not since it was established. His dad worked
19      A. Shaw Development Company.                          19 for the company, and then his dad bought it. I
20      Q. For how long were you there?                       20 don't know the exact timeline.
21      A. Eleven years.                                      21     Q. So Mr. Jim's Schumacher's grandfather
22      Q. Did you have various titles?                       22 bought the company?
23      A. No. My title was -- Yes, I did. I'm                23     A. Mr. Jim Schumacher's father.
24 sorry.                                                     24     Q. What are the names of some of JCA's major
                                                    Page 13                                                       Page 15
 1          I started as Senior Accountant and then            1 clients?
 2 became Controller.                                          2         MS. OLSON: I'm going to object based on
 3      Q. Why did you leave Shaw Development                  3     relevance.
 4 Company?                                                    4 BY MR. SEDAEI:
 5      A. My position was eliminated due to the               5     Q. Go ahead and answer that, sir.
 6 downturn in the real estate market. It was a real           6     A. DePaul University, Merchandise Mart,
 7 estate development firm.                                    7 United Airlines, Chicago Bears.
 8      Q. And when did you leave Shaw Development             8     Q. Before Chicago Bears, did you say United?
 9 Company?                                                    9     A. United Airlines.
10      A. In August of 2010.                                 10     Q. United Airlines.
11      Q. Were you unemployed, then, for a period of         11         Anything else -- anyone else you can
12 time?                                                      12 recall?
13      A. Yes.                                               13     A. Those are the main ones that come to mind.
14      Q. Who did you report to at Shaw Development          14 Yelp.
15 Company? If you reported to multiple individuals,          15     Q. Have you done more than one project with
16 then the last person you reported to.                      16 each of these clients?
17      A. William King -- Bill King, Executive Vice          17         MS. OLSON: Same objection.
18 President and CFO.                                         18     A. We've only done one with the Bears. And
19      Q. When did you become a Controller at Shaw?          19 yes for the others. Yes, we've done multiple
20      A. Can you repeat that.                               20 projects for the others.
21      Q. You said you were a Senior Accountant and          21 BY MR. SEDAEI:
22 then you became the Controller, correct?                   22     Q. Okay. Can you just generally describe the
23      A. Yes.                                               23 process by which JCA competes to get projects with
24      Q. When did you become a Controller at Shaw?          24 clients?
                                                    Page 14                                                       Page 16
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     Case: 1:18-cv-04542 Document Michael
                                  #: 53-3 Power   - 6/26/2019
                                          Filed: 02/20/20  Page 8 of 73 PageID #:524
                                   Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1        MS. OLSON: Same objection.                           1 just Vice President or if there was other --
 2     A. When we become aware of projects through             2 something else attached to that. But he was hired
 3 proposals or requests for pricing, we put together a        3 to replace the President who would be retiring.
 4 bid. We submit our bids along with other GC's, and          4    Q. And who was that?
 5 then from there typically go through an interview           5    A. Tom Bean, B-e-a-n.
 6 process with the customer. And then if they -- then         6    Q. Were you involved in Mr. Yazbec's hiring?
 7 they award the work.                                        7    A. Not at all.
 8 BY MR. SEDAEI:                                              8    Q. We briefly talked about Mr. Schumacher,
 9     Q. How do you become aware of projects?                 9 Jim Schumacher. What is his title?
10     A. Our Marketing and Business Development              10    A. Chairman.
11 site handles that, or people contact us directly.          11    Q. Do you know for how long he has been the
12     Q. Does JCA only function or do projects               12 Chairman?
13 within Illinois?                                           13    A. I do not know. He had that title when I
14     A. Yes. There was one project in Ohio a few            14 came in.
15 years ago, but that was one time only.                     15    Q. Is he the highest level person at JCA?
16     Q. Other than the case for which we are here           16    A. Yes.
17 today, are you aware of JCA ever being sued by any         17    Q. So would it be accurate to say that if he
18 current or former employees?                               18 orders somebody to do something, there is nobody
19     A. No.                                                 19 else who can override him?
20     Q. While you have been in your position as             20    A. Correct.
21 the H.R. Representative, has any individual alleged        21    Q. What's the expression, the buck stops with
22 to you that JCA or someone at JCA was discriminating       22 him? I mean, you don't have to answer that. That's
23 against them?                                              23 not a question.
24     A. No.                                                 24         What about Tim Schumacher?
                                                    Page 17                                                     Page 19
 1      Q. While you have been in your H.R. role, has          1    A. Tom Schumacher.
 2 anyone at JCA alleged that JCA had retaliated               2    Q. Tom Schumacher. So that's Mr. Jim
 3 against them or was retaliating against them?               3 Schumacher's brother.
 4    A. No.                                                   4      What is Mr. Tom Schumacher's title?
 5    Q. You said Mr. Yazbec is the President of               5    A. CEO.
 6 the company?                                                6    Q. But in the hierarchy of the company, would
 7    A. Yes.                                                  7 the CEO be below the Chairman?
 8    Q. Has he been the President for the entire              8    A. Yes.
 9 time you have been at JCA?                                  9    Q. Do you know for how long Mr. Jim
10   A. No.                                                   10 Schumacher has been with JCA?
11   Q. For how long have you known Mr. Yazbec?               11    A.   I do not know.
12   A. Roughly eight years.                                  12    Q.   How about Tom Schumacher?
13   Q. So pretty much since when you joined the              13    A.   I don't know his exact timing either.
14 company?                                                   14    Q.   Do you know Ms. Dziubla?
15      A. He joined -- Yes. He joined approximately          15    A.   Yes.
16   six months after I did.                                  16    Q.   How do you know her?
17      Q. I see. Did you know him before that?               17    A.   As an employee of the company.
18      A. I did not.                                         18    Q.   When did you first meet her?
19      Q. What role was he hired for?                        19    A.   When she was hired.
20      A. He was hired to become President.                  20    Q. What was her title at the company?
21      Q. So the entire --                                   21    A. Estimator.
22      A. I believe he -- I'm trying to think what           22    Q. Can you tell me what Estimators do?
23   his exact title was when he started. It was Vice         23    A. I'm trying to formulate an answer without
24   President of some nature. I don't know if it was         24 using the word "estimate."
                                                 Page 18                                                   Page 20
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     Case: 1:18-cv-04542 Document Michael
                                  #: 53-3 Power   - 6/26/2019
                                          Filed: 02/20/20  Page 9 of 73 PageID #:525
                                   Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1      Q. Okay. I mean, you can put "estimate" in a           1    A. On her first day.
 2 full sentence, if that helps.                               2    Q. Did she go through some kind of
 3      A. They estimate the project -- the cost of a          3 orientation?
 4 potential project.                                          4    A. Yes.
 5      Q. And how do they do that?                            5    Q. Were you involved in any aspect of that
 6      A. They acquire bids from various                      6 orientation?
 7 subcontractors based on the information they're             7    A. Yes.
 8 given on the project.                                       8    Q. What was your role?
 9      Q. And do they actually have to go to the              9    A. To welcome her to the company and provide
10 site where the project is being implemented before         10 Policies and Procedures and also to explain our
11 doing the estimation or while they're doing the            11 benefits packages and also to give new hire
12 estimation?                                                12 paperwork, including tax withholding documents.
13      A. Yes. They usually go on walk-throughs to           13    Q. Anything else?
14 visit the site before preparing an estimate.               14    A. No.
15      Q. Who normally attends walk-throughs? I              15    Q. Who was Ms. Dziubla's direct supervisor?
16 don't want names; but like, you know, in terms of          16    A. Greg Garland.
17 the roles of individuals or the parties involved.          17    Q. At the time Ms. Dziubla became a new
18      A. Estimators and Project Managers.                   18 Estimator for JCA, how many other Estimators did you
19      Q. And the Project Managers, are they                 19 have or did JCA have?
20 JCA employees?                                             20    A. Four.
21      A. Yes.                                               21    Q. Can you please tell me their names.
22      Q. Do the subcontractors attend the                   22    A. Greg Garland, Tim Le, Mike Studzinski, Ed
23 walk-throughs?                                             23 Bowen.
24      A. Yes. I've never been on a walk-through.            24    Q. Is Greg Garland still an Estimator at JCA?
                                                    Page 21                                                       Page 23
 1 I just want to...                                           1    A. Yes.
 2      Q. No, I understand. But you know about                2    Q. How about Mr. Le?
 3 them?                                                       3    A. No.
 4      A. I know what I've heard, yes.                        4    Q. Is he still at JCA?
 5      Q. Okay. So we have the subcontractors; and            5    A. No.
 6 then from JCA we have the Estimators and Project            6    Q. What was the reason for his departure?
 7 Managers. Correct?                                          7    A. He found another job.
 8      A. Correct.                                            8    Q. So he left on his own accord?
 9      Q. Anybody else you can think of?                      9    A. Yes.
10      A. I would speculate somebody from the                10    Q. When did he leave?
11 project itself or the client or somebody from the          11    A. I don't remember.
12 building from which the project is. But that's             12    Q. Was it this year?
13 speculation. Like I said, I've never been on a             13    A. No.
14 walk-through.                                              14    Q. Do you recall if it was during 2018?
15      Q. Okay. So possibly some potential client            15    A. I believe it was, but I don't remember the
16 representatives?                                           16 exact date.
17      A. Yes.                                               17    Q. How about Mike, whose last name is Eastern
18      Q. Do you recall when Ms. Dziubla was hired?          18 European, I believe?
19      A. May of 2016.                                       19        THE WITNESS: Do you need me to spell that
20      Q. Were you involved in her hiring?                   20    for you?
21      A. No.                                                21 BY MR. SEDAEI:
22      Q. When did you -- I'm sorry if I asked this          22    Q. I mean, you can later spell that for the
23 before.                                                    23 court reporter.
24         When did you first meet Ms. Dziubla?               24        But is he still an Estimator there?
                                                    Page 22                                                       Page 24
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                               Michael
  Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                  53-3 Filed: - 6/26/2019
                                                       Page 10 of 73 PageID #:526
                                     Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1     A. Yes.                                                   1     A. I wasn't directly involved with her work
 2     Q. And how about Mr. Bowen?                               2 performance.
 3     A. Yes.                                                   3     Q. But you have been the H.R. Representative
 4     Q. Now, you said Mr. Garland is still an                  4 for the entire time she was there, correct?
 5 Estimator. But does he also have some kind of                 5     A. Uh-huh.
 6 supervisory role?                                             6     Q. Did anybody ever bring up any issues about
 7     A. Yes. He is the Lead Estimator. He                      7 her performance to you?
 8 supervises the Estimating department.                         8     A. No.
 9     Q. For how long has he been in that position              9     Q. Was she ever put on something like a
10 as a Lead Estimator?                                         10 Performance Improvement Plan relating to some issues
11     A. I don't know the exact time. It's been a              11 relating to her performance?
12 few years. I don't know the exact timing though.             12     A. I don't believe she was put on a formal
13     Q. Would you say it was for the entire time              13 plan. But I do believe there was a conversation
14 that Ms. Dziubla was employed at JCA?                        14 with her once about some questions on some
15     A. Yes.                                                  15 estimates.
16     Q. So throughout the entire time Ms. Dziubla             16     Q. What do you recall about that
17 was at JCA, would it be accurate to say that she             17 conversation?
18 didn't have any other direct supervisors other than          18     A. I just recall Mike Yazbec telling me that
19 Mr. Garland?                                                 19 they had talked to her because they had some
20     A. Correct.                                              20 concerns about a project.
21     Q. How often did you interact with                       21     Q. Just a single project?
22 Ms. Dziubla while she was employed there?                    22     A. I believe it was one. I don't know if it
23     A. I would see her almost daily when she was             23 was more.
24 in the office.                                               24     Q. When was that; "that" being the
                                                      Page 25                                                         Page 27
 1     Q. By the way, how many employees does JCA                1 conversation?
 2 have?                                                         2     A. That would have been sometime probably --
 3     A. In the office, there's roughly 27. In the              3 I don't remember specifically. I would estimate
 4 field, that ranges from 40 to 70, depending on how            4 early 2017, early to mid 2017.
 5 busy we are.                                                  5     Q. To your knowledge, whatever the issue was
 6     Q. So let's start with in the field. Who                  6 got resolved and --
 7 are -- and I don't want names again; more like                7     A. Yes.
 8 titles.                                                       8     Q. Okay. You don't remember what the issue
 9           Who is in the field?                                9 was?
10     A. Union carpenters, laborers, and tapers.               10     A. No.
11     Q. In terms of titles, who is in the office?             11     Q. But you believe Mr. Yazbec does?
12     A. In the office, we have the President and              12     A. He might. He met with her; I did not.
13 COO, the CFO, Project Management staff, Estimating, 13              Q. Okay. Was Ms. Dziubla part of that
14 Marketing, Accounting, Purchasing.                           14 conversation about the issue?
15     Q. Any other titles?                                     15     A. Yes.
16     A. Not that come to mind.                                16     Q. Do you know who else other than Mr. Yazbec
17     Q. By the way, if you ever, like, want to                17 was involved in that conversation?
18 supplement or kind of, like, add to your answers to          18     A. I believe Greg Garland was. I don't know
19 the questions that I have already asked and                  19 if anybody else was.
20 something comes to mind, just tell me that you want          20     Q. How did you learn about this conversation
21 to revisit that question and add to it.                      21 that you referenced?
22     A. Okay.                                                 22     A. Mike Yazbec told me.
23     Q. How was Ms. Dziubla's work performance                23     Q. When did he tell you that?
24 while she was at JCA?                                        24     A. Later that afternoon.
                                                      Page 26                                                         Page 28
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                               Michael
  Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                  53-3 Filed: - 6/26/2019
                                                       Page 11 of 73 PageID #:527
                                    Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1     Q. Do you remember why he told you?                      1 walk-throughs as often as Estimators do?
 2     A. I saw he was in the conference room and               2     A. I don't know.
 3 just asked if they had a meeting, what was going on;         3     Q. But they do have to go on walk-throughs,
 4 casual conversation.                                         4 as you previously said. Right?
 5     Q. So he told you because you asked him what             5     A. Yes.
 6 was going on?                                                6     Q. So for three weeks he was unable to go on
 7     A. Uh-huh.                                               7 walk-throughs?
 8     Q. But he didn't need you to do anything --              8     A. He would take cabs when necessary to get
 9     A. No.                                                   9 to...
10     Q. -- relating to that conversation?                    10     Q. But he actually went to all the
11     A. No.                                                  11 walk-throughs, or did he go to fewer walk-throughs?
12     Q. Do you know if there's a written record of           12     A. I don't know.
13 that conversation anywhere, notes or anything like          13     Q. So he would take a cab to the project.
14 that?                                                       14 But then he was able to walk around while he was at
15     A. I do not know. I was not given any.                  15 the project?
16     Q. Who is Joe Maguire?                                  16     A. I believe he had some type of scooter
17     A. He is a Project Manager.                             17 thing. I don't recall specifically.
18     Q. Can you tell me a little bit about the               18     Q. Has Mr. Maguire ever had any performance
19 Project Managers and how exactly they interact with         19 issues at work?
20 Estimators, how their roles fit into the bigger             20     A. No.
21 picture?                                                    21     Q. Has he ever complained about working with
22     A. As projects are being estimated, they're             22 anyone specifically at JCA?
23 also assigned a Project Management team who will            23     A. No.
24 work with that project and review that estimate.            24     Q. Do you know a person named Mott, M-o-t-t?
                                                     Page 29                                                       Page 31
 1 Not being in that end of the business, my                    1     A. Yes.
 2 understanding is it's a collaborative effort between         2     Q. Who is that that?
 3 the Estimators and the Project Management to                 3     A. Andrew Mott, Project Manager.
 4 finalize the estimate.                                       4     Q. Okay, another Project Manager; Andrew
 5     Q. For how long has Mr. Maguire been at JCA?             5 Mott?
 6     A. I'm unsure of his exact start date. But I             6     A. Yes.
 7 would say it's over ten years.                               7     Q. By the way, how many Project Managers does
 8     Q. So the entire time you have been at JCA?              8 JCA have currently?
 9     A. Yes. It could be as many as fifteen. I                9     A. Can I take a moment and count it?
10 don't know the exact timing.                                10     Q. Yes, sure. And the same goes for the
11     Q. Okay. Did he have an issue a few years               11 answers to all the questions.
12 ago, some personal issue, that required him to take         12     A. Ten.
13 time off or away from work?                                 13     Q. Ten?
14     A. He had a medical issue where he tore his             14     A. Yes.
15 Achilles heel, and he worked from home.                     15     Q. Were you just writing down their names?
16     Q. Do you recall the approximate date of                16     A. I was trying to go through -- Eleven. I
17 that?                                                       17 missed one.
18     A. I do not recall.                                     18     Q. You were writing down their names just
19     Q. Not even the year?                                   19 now?
20     A. Quite honestly, I don't recall.                      20     A. Yes. I was going through the office and
21     Q. Okay. For how long was he working from               21 writing initials so I can count them.
22 home?                                                       22     Q. Okay. Would you be able to read off your
23     A. I believe approximately three weeks.                 23 names to me really quickly?
24     Q. Do Project Managers have to go on                    24     A. Yes.
                                                     Page 30                                                       Page 32
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                               Michael
  Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                  53-3 Filed: - 6/26/2019
                                                       Page 12 of 73 PageID #:528
                                      Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1     Q. Assuming that Mr. Mott and Mr. Maguire are            1 Estimators at JCA currently, correct?
 2 still Project Managers, we've got two of them down?          2     A. (No response.)
 3     A. Yes, correct. Joe Maguire; John                       3      Q. Let me go through their names, if that
 4 Angelovich, A-n-g-e-l-o-v-i-c-h; Seth Erlich; Jason          4   helps. The names I have is Greg Garland, Tim Le,
 5 Hawkins; Larry Regovic; Andrew Mott; Adam Bellin;            5   Mike, and Ed Bowen. These are names I have.
 6 Kayla McKinley; Greg Krucek, Matt Kantro; Michael            6         Are these individuals who are Estimators
 7 Dunn.                                                        7   now?
 8     Q. While you have the list in front of you,              8      A. No.
 9 would you also answer the next question while the            9      Q. Okay. These were the ones who were
10 list is in front you: Do you know if all the                10   Estimator at the time Ms. Dziubla was employed?
11 individuals you just named were Project Managers            11      A. Correct.
12 throughout the time Ms. Dziubla was an Estimator?           12      Q. Okay. Tim Le is no longer there?
13     A. They were not.                                       13      A.    Yes.
14     Q. Okay. Can you think of the ones who were?            14      Q.    But the other three individuals are still
15     A. Okay.                                                15   there?
16     Q. So can you tell me which ones were Project           16      A.    Yes.
17 Managers throughout the entire time Ms. Dziubla was         17      Q.    And does JCA currently have, then, three
18 an Estimator there?                                         18 estimators?
19     A. Joe Maguire, John Angelovich, Seth Erlich            19     A. No. There is a fourth.
20 Jason Hawkins, Larry Regovic, Andrew Mott, and Matt         20     Q. Who is the fourth person?
21 Kantro.                                                     21     A. Dan Dunn, D-u-n-n.
22     Q. Thank you. So did Mr. Mott have a                    22     Q. When was Dan hired?
23 personal issue at some point that required him to           23     A. Dan has been with the company for years.
24 take time off or away from work?                            24 He was a field carpenter. He came into the office
                                                     Page 33                                                           Page 35
 1     A. Andrew Mott also tore his Achilles heel.              1 in June of 2018.
 2     Q. Same issue?                                           2     Q. So you said Mr. Mott was working from home
 3     A. Yes.                                                  3 for a period of time but he also used one week of
 4     Q. When did that happen?                                 4 his vacation time?
 5     A. I believe it was sometime in 2017. I                  5     A. Yes.
 6 don't recall the exact date.                                 6     Q. Okay. While he was dealing with the
 7     Q. For how long was he away from work?                   7 medical issue?
 8     A. He worked from home. He took one week of              8     A. Yes.
 9 his vacation time during his surgery.                        9     Q. Has Mr. Mott ever complained to you or to
10     Q. Do you recall if he was able to go to                10 anyone, to your knowledge, about working at JCA or
11 walk-throughs?                                              11 working with anyone specifically at JCA?
12     A. I don't recall. And Mr. Mott is an                   12     A. No, not to my knowledge.
13 Assistant Project Manager. I don't know if he               13        MR. SEDAEI: You can mark this Exhibit 1.
14 attends walk-throughs regularly.                            14                (Power Exhibit No. 1
15     Q. Who is he an assistant to?                           15                 marked for identification.)
16     A. Seth Erlich.                                         16 BY MR. SEDAEI:
17     Q. Do all Project Managers have assistants?             17     Q. I'm showing you what's marked as
18     A. We have three main Project Managers. At              18 Exhibit 1. Have you seen this document before?
19 times they are referred to as Project Executives,           19     A. I believe so.
20 and they lead teams.                                        20     Q. Okay. I represent to you that this is
21     Q. Who are the leads?                                   21 JCA's initial Rule 26 disclosures. And if you look
22     A. Joe Maguire, Seth Erlich, and John                   22 on the first page, Section 1, it focuses on the
23 Angelovich.                                                 23 individuals who likely have information that JCA may
24     Q. I believe you said there were four                   24 use to support these defenses.
                                                     Page 34                                                           Page 36
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                               Michael
  Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                  53-3 Filed: - 6/26/2019
                                                       Page 13 of 73 PageID #:529
                                       Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1         Do you see that?                                     1    Q. Okay.
 2     A. Yes.                                                  2        MR. SEDAEI: This will be Exhibit 2.
 3     Q. Okay. Would you take a look at that list              3               (Power Exhibit No. 2
 4 and tell me that if that's a complete list? And it           4               marked for identification.)
 5 goes into the second page.                                   5 BY MR. SEDAEI:
 6         MS. OLSON: To clarify, are you going to              6    Q. I'm showing you what's marked as
 7     show him the people that were just identified            7 Exhibit 2. Have you seen this document before?
 8     by the plaintiff or Mr. Jacobsen?                        8    A. Yes.
 9         MR. SEDAEI: I mean, it's already been                9    Q. Can you tell me what it is?
10     included in this section. So no, I'm not going          10    A. J.C. Anderson's Office Policies and
11     to include anything. I just want to know if             11 Procedures Manual.
12     that list is a complete list. And Section F, I          12    Q. Do you know who has put this document
13     think, is phrased broadly.                              13 together?
14     A. Just for clarification, can you please               14    A. Specifically, no.
15 repeat your question.                                       15    Q. Do you know when this document was
16 BY MR. SEDAEI:                                              16 prepared?
17     Q. Yes. I just want to know if this list of             17    A. It was prepared prior to my arrival.
18 individuals who may have discoverable information           18    Q. To your knowledge, has this document been
19 about the case we're here for, whether this list is         19 revised throughout the time you've been employed at
20 a complete list.                                            20 JCA?
21     A. The names of the witnesses are not listed.           21    A. I believe there have been updates as
22     Q. Okay. This would be the names of the                 22 personnel have changed.
23 witnesses to the incident at The Kev?                       23    Q. Do you have knowledge regarding the
24     A. Yes, correct.                                        24 specific updates made to the document while you have
                                                     Page 37                                                         Page 39
 1     Q. Anyone else you can think of who should be            1 been at JCA?
 2 on the list?                                                 2    A. Only names of people that have changed.
 3     A. In addition to the witnesses?                         3 That's all that I have knowledge of.
 4     Q. Yes.                                                  4    Q. So these would be the names of people who
 5     A. No one comes to mind at this time.                    5 have made changes to the document?
 6     Q. And we'll get to the witnesses later.                 6    A. No. It lists Michael Yazbec as President.
 7 Okay, you can put the exhibit aside. I may revisit           7 It was changed when Mike came on board; those types
 8 it, so you can just hold onto it.                            8 of changes.
 9         So did Ms. Dziubla have an employment                9    Q. Okay. But to your knowledge, has there
10 contract with JCA?                                          10 been any changes to the actual Policies and
11     A. No.                                                  11 Procedures section of the manual?
12     Q. She was an at-will employee?                         12    A. Not to my knowledge.
13     A. Yes.                                                 13    Q. Is this handbook given to all the new
14     Q. Did she receive any kind of training prior           14 hires at JCA?
15 to taking her job at JCA?                                   15    A. Yes.
16     A. I do not know.                                       16    Q. Was Ms. Dziubla provided a copy of this
17     Q. So you do know that she had some kind of             17 Policies and Procedures Manual?
18 an orientation, right, because you discussed your           18    A. Yes.
19 role in it?                                                 19    Q. When was she provided a copy?
20     A. Yes.                                                 20    A. On her first day.
21     Q. But as far as training to do the job, you            21    Q. Was she also offered any kind of training
22 don't know if she had any kind of training like             22 on how to use the handbook or an orientation into
23 that?                                                       23 the sections included in the handbook?
24     A. I do not know.                                       24    A. She was given a new employee orientation,
                                                     Page 38                                                         Page 40
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                               Michael
  Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                  53-3 Filed: - 6/26/2019
                                                       Page 14 of 73 PageID #:530
                                       Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1 and the book was referenced. The book also has                 1     Q. So rather than examples, they're kind of
 2 another section about the actual operations work               2 categories of individuals or companies, working for
 3 that's not present in this part that I believe that            3 whom may result in a conflict of interest with JCA.
 4 she would have received training for with estimating           4        Is that right?
 5 staff.                                                         5        MS. OLSON: Object to form.
 6     Q. Okay. But specifically about the section                6 BY MR. SEDAEI:
 7 I provided to you --                                           7     Q. You said examples. I thought there were
 8     A. This section, no.                                       8 names of specific companies listed here.
 9     Q. Was there any kind of a discussion or                   9        So no names of specific companies --
10 training that specifically focused on various                 10     A. There are no names --
11 sections of the booklet, or was she just given this           11     Q. -- listed in this section?
12 booklet and said, You can use it as a reference when          12     A. -- of specific companies listed.
13 you need to.                                                  13     Q. Is there a requirement anywhere in the
14     A. She was given the book and encouraged to               14 manual that an employee who obtains outside
15 read it.                                                      15 employment, you know, would have to bring that
16     Q. Okay. Did Ms. Dziubla and JCA have any                 16 employment to JCA and specifically get approval?
17 kind of non-compete agreement that prohibited her             17     A. I don't believe so.
18 from working with any competitors after leaving JCA?          18     Q. I think for now I'm done with that
19     A. I don't believe so.                                    19 Exhibit 2. You can have it in front of you in case
20     Q. Did Ms. Dziubla have an agreement with JCA             20 you want to refer to it later.
21 that required her to have no employment outside of            21        MR. SEDAEI: Can we take 5?
22 JCA while she was employed at JCA?                            22        MS. OLSON: Yes.
23     A. No.                                                    23        MR. SEDAEI: Okay.
24     Q. Does JCA have any rules or policies that               24                (Whereupon a recess was taken
                                                       Page 41                                                        Page 43
 1 prohibit employees from having employment outside of           1                from 10:37 a.m. to 10:46 a.m.,
 2 JCA while they are employed at JCA?                            2                after which the following
 3     A. There is a conflict of interest clause in               3                proceedings were had:)
 4 our handbook.                                                  4                (Enter Mr. Ruff.)
 5     Q. And what can you tell me about that? Is                 5        MR. SEDAEI: We can go back on the record.
 6 it included in the exhibit that I just gave you?               6     We have one of Mr. Jacobsen's other attorneys
 7     A. It should be, I think. Yes.                             7     joining.
 8     Q. Is it on page DZIUBLA 1094?                             8 BY MR. SEDAEI:
 9     A. Yes.                                                    9     Q. Okay, let's continue. Mr. Power, do all
10     Q. Okay. So if there is no conflict of                    10 employees at JCA receive the same number of Paid
11 interest, then the employee is allowed to have jobs           11 Time Off days?
12 outside of JCA while they are employed at JCA?                12     A. No.
13     A. Yes.                                                   13     Q. By the way, do you call them PTO's at JCA?
14     Q. Is a conflict of interest defined anywhere             14     A. We typically refer to it as vacation time;
15 in the manual or anywhere else?                               15 vacation time, sick time, and everyone also gets a
16     A. There are examples given in the manual.                16 personal holiday for their birthday.
17     Q. Which page is that?                                    17     Q. So how is the number of vacation days
18     A. Same page, DZIUBLA 1094.                               18 calculated for each employee?
19     Q. Which section are you exactly referring                19     A. New employees are given two weeks'
20 to? Oh, you're talking about Section 6?                       20 vacation time unless they negotiate otherwise when
21     A. Yes.                                                   21 they start.
22     Q. So the three bullet points, that's what                22     Q. So there is some room for negotiation at
23 you're referring to as examples?                              23 the time of hiring?
24     A. Yes, and the paragraph above.                          24     A. Yes.
                                                       Page 42                                                        Page 44
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                               Michael
  Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                  53-3 Filed: - 6/26/2019
                                                       Page 15 of 73 PageID #:531
                                      Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1       Q. When an employee needs to actually take                 1 they have outside of their vacation days that's
 2   one of his or her vacation days, would he or she               2 paid?
 3   have to get approval prior?                                    3     A. Yes.
 4       A. Yes. They're supposed to get prior                      4     Q. How many sick days do employees get; a set
 5   approval with their direct supervisor.                         5 number?
 6       Q. Can anyone else give them approval, like                6     A. Yes, three.
 7   you, as the H.R. person?                                       7     Q. Three sick days a year?
 8       A. No, because they go through their                       8     A. Yes.
 9   department, their direct report first.                         9     Q. Do they need to call in and get approval
10       Q. If somebody doesn't use their vacation                 10 prior to taking a sick day?
11   days one year, do they roll over to the next year?            11     A. Yes.
12       A. No, they do not.                                       12     Q. I mean call in or email or something.
13       Q. What happens if an employee who has no                 13     A. They're asked to give notice before their
14   vacation days left one year misses a day of work,             14 regular working hours begin.
15   what would JCA's response be?                                 15     Q. But if they're sick, then they don't
16       A. Can you repeat all of that. I didn't                   16 really need to get approval; they just need to give
17   catch the beginning.                                          17 notice?
18       Q. Yes, sure. Let's say an employee has                   18     A. Just give notice, yes.
19   already run through all of their Paid Time Off and            19     Q. Okay. Now, let's say an employee is sick
20   then they miss a day of work.                                 20 and they don't have any more vacation days left and
21          What would JCA's response be?                          21 they don't have any more sick days left and they
22       A. It would depend on why they missed it.                 22 miss a day of work.
23       Q. So you ask them -- you will reach out and              23         Then what would JCA's response be?
24   ask them, Why did you miss it?                                24         MS. OLSON: I'm going to object to the
                                                  Page 45                                                                   Page 47
 1     A. Yes, it it's...                                           1     extent it calls for speculation.
 2     Q. Go ahead and finish that thought. Just                    2         MR. SEDAEI: I'm not asking you to
 3 tell me the various scenarios --                                 3    speculate. I'm asking you to tell me about
 4     A. Examples being if it was a death in the                   4     JCA's policy, if there is an actual policy that
 5 family, we do have a bereavement policy. They are                5     deals with this situation.
 6 allowed three sick days a year. If it was                        6     A. We have not encountered that situation.
 7 completely unexcused and they didn't show up, they'd             7 BY MR. SEDAEI:
 8 be unpaid for the day.                                           8     Q. And there is no policy that addresses that
 9     Q. Okay. So let's talk about the three days.                 9 situation?
10 That three days of bereavement, that's outside of               10     A. No.
11 the number of days that the employee is entitled to             11     Q. So throughout the time that you have been
12 for vacation?                                                   12 at JCA, can you think of an example where an
13     A. Yes. That's independent.                                 13 employee had no vacation days left and no sick days
14     Q. Okay. And the three days -- they would                   14 left and they missed at least one extra day of work?
15 qualify for those three days if there is a death in             15     A. I can think of only one example. Matt
16 the family, you said?                                           16 Kantro took off an additional week unpaid for his
17     A. Yes.                                                     17 honeymoon.
18     Q. Anything other than a death they would                   18     Q. Matt Kantro, was it?
19 qualify for it?                                                 19     A. Yes.
20     A. For bereavement leave, no.                               20     Q. What is or was his role at the company?
21     Q. Okay. What if it's just the employee is                  21     A. He's a Project Manager. I don't know if
22 sick?                                                           22 his -- at that time if his title was Assistant
23     A. They would use their sick time.                          23 Project Manager or just Project Manager.
24     Q. So there's a certain amount of sick time                 24     Q. When did he take the additional -- you
                                                         Page 46                                                            Page 48
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                              Michael
 Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                 53-3 Filed: - 6/26/2019
                                                      Page 16 of 73 PageID #:532
                                      Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1 said additional week?                                        1     A. Not to my knowledge.
 2     A. Yes.                                                  2     Q. To your knowledge, has he ever been given
 3     Q. When did he take this additional week away            3 a Performance Improvement Plan?
 4 from work?                                                   4     A. No, not to my knowledge.
 5     A. It was years ago. I don't recall the                  5     Q. Has he ever been asked to leave?
 6 specifics.                                                   6     A. No.
 7     Q. Not even the year?                                    7     Q. Has he ever been presented with a
 8     A. No. I'd be guessing. I don't want to do               8 severance agreement?
 9 that.                                                        9     A. No.
10     Q. But you were employed at JCA?                        10         MR. SEDAEI: Mark this as Exhibit No. 3.
11     A. Yes.                                                 11                (Power Exhibit No. 3
12     Q. You were an H.R. Representative at JCA at            12                marked for identification.)
13 the time?                                                   13         MS. OLSON: Was this produced prior to now
14     A. Yes.                                                 14     or no? I didn't see a Bates label on it.
15     Q. Is Mr. Kantro still employed at JCA?                 15         MR. SEDAEI: Is this one of JCA's
16     A. Yes.                                                 16     documents? I'm sorry. It's JCA930. I don't
17     Q. Still a Project Manager?                             17     know why that one is missing.
18     A. Yes.                                                 18         MS. OLSON: Okay.
19     Q. Who is his direct supervisor?                        19 BY MR. SEDAEI:
20     A. John Angelovich.                                     20     Q. Mr. Power, I'm showing you what's marked
21     Q. So he was an Assistant Project Manager?              21 as Exhibit 3. Have you seen this document before?
22     A. Yes.                                                 22     A. Yes.
23     Q. And who does Mr. Angelovich -- who did               23     Q. Could you tell me what it is?
24 Mr. Angelovich report to -- Let me restart that.            24     A. A list of vacation days Rowena used during
                                                     Page 49                                                          Page 51
 1         Who did Mr. Angelovich report to at the              1 2017.
 2 time?                                                        2     Q. Okay. Do you see at the bottom where it
 3     A. Steve Boulukos, B-o-u-l-u-k-o-s.                      3 says, Total. And then in parentheses it says, not
 4     Q. What is Mr. Boulukos's title?                         4 to exceed 16. And then it says, 15 Vacation plus
 5     A. Chief Operating Officer.                              5 1 Birthday.
 6     Q. This was his title, it is his title, or               6         Do you see where it says that?
 7 both?                                                        7     A. Yes.
 8     A. Both.                                                 8     Q. And then in front of it, it says 16 again.
 9     Q. Do all Project Managers report to                     9 So it says 16 in the parentheses, and then in front
10 Mr. Boulukos?                                               10 of it, it says 16.0 in front of it. Right?
11     A. Yes.                                                 11     A. Yes.
12     Q. And do all Estimators also report to him             12     Q. Okay. That section where it says, not to
13 indirectly?                                                 13 exceed 16, is that 16 days the number of vacation
14     A. Indirectly, yes.                                     14 days that Ms. Dziubla was entitled to in 2017?
15     Q. Okay. In the case of Mr. Garland,                    15     A. Yes, three weeks' vacation time plus one
16 directly?                                                   16 day for her birthday.
17     A. Mr. Garland directly, correct.                       17     Q. This document doesn't include how many
18     Q. To your knowledge, Mr. Kantro never                  18 sick days she had used, does it?
19 complained about, you know, working with anyone             19     A. No.
20 specifically at JCA or working at JCA in general?           20     Q. Is there another document that's kind of
21     A. Not to my knowledge.                                 21 similar to this where it shows the number of sick
22     Q. Has Mr. Kantro ever been disciplined?                22 days she had and how many she had used in 2017?
23     A. No.                                                  23     A. No.
24     Q. Has he had any performance issues?                   24     Q. So how do you keep a count of the number
                                                     Page 50                                                          Page 52
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                              Michael
 Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                 53-3 Filed: - 6/26/2019
                                                      Page 17 of 73 PageID #:533
                                       Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1 of sick days that employees use at JCA? Do you have          1 BY MR. SEDAEI:
 2 a chart?                                                     2     Q. Okay. Would that include an employee who
 3    A. The supervisors keep track.                            3 may be absent from work after they have already run
 4    Q. Do you know if they keep track by having               4 out of all their vacation days and all their sick
 5 some kind of document --                                     5 days?
 6    A. I do not know.                                         6         MS. OLSON: Object to form.
 7           I'm sorry. I didn't know if you wanted to          7 BY MR. SEDAEI:
 8 finish.                                                      8     Q. The situation we were discussing earlier,
 9    Q. I do always want to finish, yes. But go                9 where an employee has already run out of all of
10 ahead and answer.                                           10 their vacation days and all of their sick days and
11    A. I do not know.                                        11 then they miss an additional day of work.
12    Q. Okay. According to Exhibit 3, did she run             12     A. Yes, they would be subject to this.
13 out of vacation days on September 26, 2017?                 13     Q. And then these -- there are three bullet
14    A. Yes.                                                  14 points for 1st Offense, 2nd Offense, 3rd Offense.
15    Q. Can you tell by looking at this chart, or             15         Would you describe that as some form of
16 can you tell from your personal knowledge whether           16 progressive discipline that is applied to the
17 she had any sick days left as of September 26, 2017?        17 individual who has -- in the scenario that I just
18    A. I do not know.                                        18 described?
19    Q. Do you know who would know the answer to              19     A. (No response.)
20 that?                                                       20     Q. Let me give you --
21    A. Greg Garland or Steve Boulukos.                       21     A. Yes. It could be viewed that way.
22    Q. Do you recall reaching out to them                    22     Q. I can give you the example again.
23 sometime around this time to ask them if Ms. Dziubla        23         Say an employee missed all -- they're out
24 had any sick days left?                                     24 of all their vacation days, they're out of all of
                                                     Page 53                                                          Page 55
 1     A. I don't recall.                                       1 their sick days, and then they're absent from work.
 2     Q. I want to go back to the handbook, which I            2         On that first day, they will be subjected
 3 believe is Exhibit 2. If you look at page                    3 to the 1st Offense, Verbal reprimand.
 4 DZIUBLA 1062 -- Actually, you may want to start on           4         Is that accurate, according to the
 5 1061 towards the bottom where it says, Attendance.           5 handbook?
 6 But then it continues to 1062.                               6     A. Yes. I have not had a situation like
 7           Do you see that section?                           7 that.
 8     A. Yes.                                                  8     Q. Sure. But if the situation arose, that's
 9     Q. Does that section apply to -- I'm sorry,              9 what would happen?
10 let me back up.                                             10     A. Yes.
11           It seems like the section lists the               11     Q. And then if they miss another day, then it
12 various forms of discipline that an employee may be         12 would be a, Written notice with a copy placed in the
13 subjected to if they violate the company's                  13 employee's personnel file.
14 attendance policies; is that accurate?                      14         Correct?
15           MS. OLSON: You can take a minute to read          15     A. Yes.
16     it.                                                     16     Q. And then if they miss another day, they
17           MR. SEDAEI: Yes, take your time.                  17 will be subjected to, Suspension or termination
18           THE WITNESS: Can you please repeat your           18 after management review.
19     question.                                               19         Correct?
20           MR. SEDAEI: Would you mind reading it             20     A. Yes.
21     back.                                                   21     Q. Okay, thanks. We may revisit the handbook
22                 (Record read as requested.)                 22 again. For now we're done.
23     A. Yes.                                                 23         Let me switch gears s little bit. How do
24                                                             24 you know Mr. Jacobsen? Let me back up.
                                                     Page 54                                                          Page 56
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                               Michael
  Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                  53-3 Filed: - 6/26/2019
                                                       Page 18 of 73 PageID #:534
                                     Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1        Do you know Mr. Jacobsen?                             1     A. I do not believe he has.
 2     A. No, I do not.                                         2     Q. Can you tell me what The Kev is?
 3     Q. Have you -- so you have never spoken with             3     A. The Kev is a golf outing in memory of a
 4 him?                                                         4 former J.C. Anderson employee to raise money for the
 5     A. I was introduced to him briefly at the                5 family of Kevin.
 6 outing that day.                                             6     Q. That would be Kevin Radoha?
 7     Q. So you do know him?                                   7     A. Radoha, yes.
 8     A. (No response.)                                        8     Q. When did he pass away?
 9     Q. You know who he is, right?                            9     A. December of 2012.
10     A. I know who he is. I'm not personal                   10     Q. And has The Kev event been occurring every
11 friends with him.                                           11 year since?
12     Q. No, I didn't ask you if you were friends.            12     A. Yes, I believe so. I believe the first
13 I just asked you if you knew who he was -- or you           13 year was 2013.
14 knew him -- you know him -- you know of him?                14     Q. And you were already at JCA in 2013?
15     A. I know of him.                                       15     A. Yes.
16     Q. And you have talked to him?                          16     Q. Have you been in attendance of each Kev
17     A. Very briefly, yes.                                   17 event since its inception?
18     Q. You first were introduced to him at The              18     A. Yes, I have.
19 Kev outing?                                                 19     Q. You said Mr. Radoha was a former
20     A. Yes.                                                 20 President?
21     Q. And then you had a conversation with him             21     A. Yes, President and CFO. There was a
22 at that time, probably?                                     22 little change. There were two gentlemen with
23     A. No. I was introduced and maybe exchanged 23 President on their title at the same time.
24 a few words. But I would not classify it as a full          24     Q. Okay. So that would Mr. Yazbec?
                                                     Page 57                                                      Page 59
 1 conversation.                                                1     A. No. At that time it was Mr. Bean.
 2     Q. Okay. Have you talked to him since?                   2     Q. Oh, Mr. Bean; got it. But there was a
 3     A. No, I have not.                                       3 short period of time, overlap time; would that be
 4     Q. Who introduced him to you or you to him?              4 accurate?
 5     A. Jim Schumacher.                                       5     A. (No response.)
 6     Q. Do you remember how he introduced you?                6     Q. There was a certain period -- a short
 7 Like, do you remember any specific comments he made          7 period of time when both Mr. Bean and Mr. Radoha
 8 about him to you or about you to him?                        8 were both Presidents?
 9     A. I believe he just said, This is Mike                  9     A. No. It was an extended period of time.
10 Power, our CFO.                                             10 They both --
11     Q. And how did he introduce him to you; how             11     Q. Oh, extended.
12 did Mr. Schumacher describe him?                            12     A. From the day I started until the day Kevin
13     A. This is Peter Jacobsen.                              13 passed away, they both shared that title.
14     Q. And you already had seen the name before             14     Q. To your knowledge they had the same
15 so that when you heard "Peter Jacobsen," you already        15 responsibilities?
16 knew why he was there and what his role was?                16     A. No. Mr. Bean oversaw all the operations.
17     A. Yes.                                                 17 Mr. Radoha oversaw the financial and administrative
18     Q. And I think you already answered my next             18 end.
19 question which is, Are you friends with                     19     Q. Do you know whose idea it was to invite
20 Mr. Jacobsen? You said, No.                                 20 Mr. Jacobsen to The Kev event?
21     A. No, I'm not.                                         21     A. I do not know.
22     Q. Do you know if Mr. Jacobsen has ever                 22     Q. And I mean specifically The Kev event in
23 participated in any JCA-sponsored or related events         23 2017.
24 in the past other than The Kev?                             24     A. Understood.
                                                     Page 58                                                      Page 60
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 Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                 53-3 Filed: - 6/26/2019
                                                      Page 19 of 73 PageID #:535
                                   Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1    Q. Okay. Do you know who actually invited                1     A. I do not know.
 2 him?                                                        2     Q. But you certainly didn't provide him with
 3       A. I believe Jim Schumacher did.                      3 one?
 4       Q. Are Mr. Jim Schumacher and Mr. Jacobsen            4     A. Correct, I did not.
 5   friends?                                                  5     Q. And you were not asked to provide him with
 6          MS. CRONIN: Objection, foundation.                 6 one?
 7   BY MR. SEDAEI:                                            7     A. I was not.
 8      Q. By the way, all my questions are only if            8     Q. You can go back to the handbook. On page
 9   you know the answer.                                      9 DZIUBLA 001053, towards the middle of the page,
10      A. I do not know.                                     10 there's a section entitled, Policy on Harassment.
11      Q. You don't know if they were friends, okay.         11        Do you see that?
12         Do you know if Mr. Jacobsen was                    12     A. Yes, I do.
13 compensated to attend The Kev event?                       13     Q. Is that JCA's sexual harassment policies?
14      MS. CRONIN: Objection, foundation.                    14     A. Yes.
15   A. He was offered compensation, which he                 15     Q. So just to confirm, you did not provide a
16 donated back.                                              16 copy of this policy to Mr. Jacobsen prior to him
17 BY MR. SEDAEI:                                             17 attending The Kev, correct?
18      Q. How much?                                          18     A. I did not.
19      A. I believe it was 10,000.                           19     Q. And you were not asked to provide him with
20      Q. He donated it back to who?                         20 one?
21      A. To the family they were raising money for.         21     A. I was not.
22      Q. The Radoha family?                                 22     Q. Okay, thanks.
23      A. Yes.                                               23        Are you a golfer?
24    Q. Was he also offered airfare or hotel or       24            A. Yes, I am.
                                               Page 61                                                           Page 63
 1 other accommodations to attend the event?            1            Q. For how long have you golfed?
 2    A. I do not know.                                 2            A. Since I was 14.
 3     Q. Was he given any instructions on how to              3     Q. Wow, that's almost as long as I have been
 4 properly interact with JCA employees?                       4 playing tennis.
 5     A. I do not know.                                       5        Are you good?
 6     Q. Do you know who was in charge of                     6     A. I was before I had tennis elbow surgery.
 7 communicating with Mr. Jacobsen about the various           7     Q. Oh, when did that happen?
 8 details of the event and his attendance at the              8     A. Two years ago.
 9 event?                                                      9     Q. Okay. So you no longer play golf?
10     A. I do not know.                                      10     A. I do. I'm just not as good.
11     Q. So at the time you were the                         11     Q. Okay. I think there are some nice places
12 H.R. Representative at J.C. Anderson, correct?             12 in Naperville, golf courses there. I've got a
13     A. Yes.                                                13 couple of cousins who play out there.
14     Q. And you certainly weren't asked to talk to          14        Do you know them?
15 Mr. Jacobsen about the proper way of interacting           15     A. I typically just play at the public
16 with JCA employees?                                        16 courses, but they're nice. There's a lot of options
17     A. No, I was not.                                      17 in the area.
18     Q. Okay. You were not asked to instruct                18     Q. So you said you were at The Kev, right?
19 Mr. Jacobsen on any JCA policies relating to               19     A. Yes, I was.
20 harassment?                                                20     Q. Can you just kind of describe to me your
21     A. No, I was not.                                      21 day at The Kev, the kinds of activities you engaged
22     Q. Was Mr. Jacobsen provided a copy of the             22 in? Just describe your day to me.
23 handbook, Exhibit 2 that we were just discussing,          23     A. Show up at the golf course. It's held at
24 before attending The Kev?                                  24 River Forest Country Club in Bensenville. I would
                                                    Page 62                                                      Page 64
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                              Michael
 Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                 53-3 Filed: - 6/26/2019
                                                      Page 20 of 73 PageID #:536
                                      Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1 show up. Typically when we were getting there, they             1 event?
 2 serve a casual buffet-style lunch.                              2     A. Approximately 80 to 100.
 3           Show up, greet a few people, say hello as             3     Q. Of the 80 to 100, ballpark, how many of
 4 people are all arriving, eat lunch. Then after                  4 them were JCA employees, and how many were non-JCA
 5 lunch, go outside, maybe hit a couple of practice               5 employees? That would include subcontractors; you
 6 shots on the driving range, take a few putts, and               6 know, members of the family; Mr. Jacobsen.
 7 then get ready to start the golf portion of the day.            7     A. I don't know specifically. I would
 8       Q. How long was the -- what you call the golf             8 estimate roughly 10 to 15 JCA employees, possibly a
 9 portion of the day?                                             9 few more. Like I said, I don't remember
10       A. That's typically around four, four and a              10 specifically.
11 half hours. It starts -- usually it's a shotgun                11     Q. Were these 10 to 15 JCA employees all from
12 start at 1:00 p.m. I believe we're usually                     12 the office?
13 finishing around 5:00 p.m. with the golf portion.              13     A. Yes.
14       Q. And then there is a dinner?                           14     Q. Nobody from the field?
15       A. Yes. There is -- it's classified as heavy             15     A. No.
16 hors d'oeuvres. But yes, there's food afterwards.              16     Q. And was there a requirement that anybody
17       Q. What was Mr. Jacobsen's role at the event?            17 in attendance -- except, presumably, the Radoha
18       A. His role was to be a celebrity guest.                 18 family -- make a donation for attending?
19       Q. Is he a celebrity?                                    19     A. Yes. The groups that had signed up paid a
20       A. He's a well-known golfer.                             20 fee for the outing, paid an amount of money to be a
21       Q. Okay. I only know Tiger Woods. I'm not a              21 participant. And employees were asked if they would
22 golfer.                                                        22 like to contribute.
23           But you are a golfer; you have been a                23     Q. So contribution by employees was optional?
24 golfer for a long time. Had you heard of him before            24     A. Yes.
                                                        Page 65                                                        Page 67
 1 you were introduced to him?                                     1     Q. But not by subs?
 2       A. Yes. I was aware of who Peter Jacobsen                 2     A. No. They had to buy a foursome, pay to be
 3 is.                                                             3 part of the outing.
 4       Q. By the way, this should have been one of               4     Q. Okay. Do you remember seeing Ms. Dziubla
 5 my first questions. What is your date of birth?                 5 at the event?
 6       A. 6-30-1970.                                             6     A. I briefly saw her at lunch, and that's the
 7       Q. Other than being introduced to him, do you             7 only time I remember seeing her.
 8 recall spending any time with Mr. Jacobsen during               8     Q. So you didn't see her on the golf course?
 9 The Kev?                                                        9     A. I did not.
10       A. He briefly drove up to our group, took a              10     Q. So you said there were groups of people
11 group photo, and went on to the next group.                    11 golfing and Mr. Jacobsen was driving from group to
12       Q. Before I continue with the details of the             12 group?
13 event, who were -- And, again, I'm not asking for              13     A. Yes.
14 names, but just the categories of people.                      14     Q. He was by himself?
15           Who were in attendance at the event?                 15     A. No. He was --
16       A. J.C. Anderson employees and                           16     Q. Who was he with?
17 subcontractors, members of the Radoha family, and              17     A. He was with Jim Schumacher, Abby Radoha,
18 some friends of the Radoha family.                             18 and Chad Crane.
19       Q. And Mr. Jacobsen?                                     19     Q. Who is Chad Crane?
20       A. And Mr. Jacobsen.                                     20     A. Chad Crane is a golf professional who
21       Q. Anyone else; any other groups of people               21 helps us -- or helped the family put together the
22 that you recall?                                               22 outing.
23       A. Not that come to mind.                                23     Q. Who is Mr. Crane's connection at JCA?
24       Q. Approximately how many people attended the            24     A. Mr. Crane knows Jim Schumacher and Clint
                                                        Page 66                                                        Page 68
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 Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                 53-3 Filed: - 6/26/2019
                                                      Page 21 of 73 PageID #:537
                                    Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1 Hickman.                                                    1 and out of the office, so I don't remember.
 2     Q. Who is Mr. Hickman? What's his role?                 2     Q. Who else was there?
 3     A. He is our Business Development employee.             3     A.    Mike Yazbec.
 4     Q. So are you familiar, generally, with                 4     Q.    Anyone else?
 5 Ms. Dziubla's allegations in this case?                     5     A.    I don't believe so.
 6     A. Yes.                                                 6     Q.    What did you discuss specifically?
 7     Q. And you're familiar with what she has                7     A.    We discussed that it was a very serious
 8 alleged occurred while she was at the event?                8 complaint and that we needed to follow up on it.
 9     A. Yes.                                                 9     Q. Did somebody in attendance actually
10     Q. Did you witness any of the events that she          10 describe it as a serious incident or a serious
11 has described or any of her allegations personally?        11 complaint?
12     A. No, I have not personally.                          12     A. Yes.
13     Q. So as far as you were concerned, while you          13     Q.    Who?
14 were at the event -- Strike that.                          14     A.    Myself.
15        How did you first learn that there was an           15     Q.    Anyone else?
16 incident involving Ms. Dziubla and Mr. Jacobsen at         16     A.    Mr. Yazbec.
17 the event?                                                 17     Q.    Anyone else?
18     A. By the email Ms. Dziubla sent to Jim                18     A. I don't know.
19 Schumacher that I was copied on.                           19     Q. Do you recall Mr. Schumacher saying this
20        MR. SEDAEI: Would you mark the next                 20 was a serious incident or a serious complaint?
21     exhibit. I think it's 4.                               21     A. I don't recall.
22                (Power Exhibit No. 4                        22     Q. Nobody else was part of the conversation?
23                marked for identification.)                 23     A. Not at that time, no.
24                                                            24    Q. Okay. So you discussed that it was a
                                                    Page 69                                                   Page 71
 1 BY MR. SEDAEI:                                              1 serious complaint and you needed to follow up -- or
 2     Q. I'm showing you what is marked as JCA1257.           2 JCA needed to follow up on it.
 3 Have you seen -- So let me just say, you said that          3          Was there anything else that was discussed
 4 the first time you learned about Ms. Dziubla's              4 at the meeting?
 5 allegations was when there was an email from her to         5     A. No.
 6 Mr. Schumacher.                                             6     Q. How long was the meeting, approximately?
 7        If you look at the bottom of the page,               7     A. I don't recall.
 8 towards the middle of the page, it starts there. Is         8     Q. Would you describe it as a short or a long
 9 that the email you're talking about where it says --        9 meeting?
10 it starts with, Jim, I cannot even begin to express?       10     A. I don't recall.
11     A. Yes, it is.                                         11     Q. Same exhibit, do you recall seeing the
12     Q. Okay. The first time you saw this email,            12 email on top from Mr. Schumacher?
13 was it when you received it in your inbox?                 13     A. No. I don't recall seeing that part.
14     A. Yes. It was later that evening, though I            14     Q. Okay. But if you look at the "To:" Box,
15 didn't see it at the time.                                 15 would it be accurate to say that you're included as
16     Q. Later on you checked your emails and you            16 a recipient?
17 saw this?                                                  17     A. Yes.
18     A. Yes.                                                18     Q. The email, it seems like it went out on
19     Q. Okay. When was the first time you                   19 September 18, 2017, at 8:34 p.m. Correct?
20 discussed the incident with Mr. Schumacher?                20     A. Correct.
21     A. The following day.                                  21     Q. And if you look at the time stamp of
22     Q. Did you discuss it in person or on the              22 Ms. Dziubla's email, that went out at 7:35 p.m.,
23 phone?                                                     23 correct?
24     A. I don't recall the first time. He was in            24     A. Correct.
                                                    Page 70                                                       Page 72
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                               Michael
  Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                  53-3 Filed: - 6/26/2019
                                                       Page 22 of 73 PageID #:538
                                       Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1     Q. So Mr. Schumacher's email went out about              1     Q. When did Mr. Schumacher do that?
 2 one hour after Ms. Dziubla's email; isn't that               2     A. The event was the 18th. On the 19th.
 3 right?                                                       3     Q. How did Mr. Schumacher inform
 4     A. Yes.                                                  4 Mr. Jacobsen?
 5     Q. Okay. And Mr. Schumacher's email reads,               5     A. He called him.
 6 All, I do not want anyone to discuss this alleged            6     Q. Did he call him while you, Mr. Schumacher,
 7 issue with Rowena as there is no merit to it. Jim.           7 and Mr. Yazbec were meeting?
 8          Is that right?                                      8     A. No.
 9     A. That is what it reads.                                9     Q. Do you know if anybody was with
10     Q. So just to clarify, at this point no                 10 Mr. Schumacher when Mr. Schumacher made the call to
11 investigation had actually taken place regarding            11 Mr. Jacobsen?
12 Ms. Dziubla's allegations?                                  12     A. I do not know.
13          MS. CRONIN: Objection, foundation.                 13     Q. Do you know what Mr. Schumacher told
14     A. No. I wasn't aware of it until I read                14 Mr. Jacobsen?
15 this.                                                       15     A. He told him of the contents of this email.
16 BY MR. SEDAEI:                                              16     Q. Do you know if he actually shared a copy
17     Q. You were the person that actually                    17 of Ms. Dziubla's email with Mr. Jacobsen?
18 conducted the investigation, correct?                       18     A. I do not know.
19     A. Yes.                                                 19     Q. Have you ever discussed The Kev
20     Q. So you would have knowledge of whether an            20 incident -- the incident involving Ms. Dziubla --
21 investigation had taken place or not at the time?           21 with Mr. Boulukos?
22     A. Yes.                                                 22     A. Yes.
23     Q. And no investigation had taken place at              23     Q. When was the first time you discussed the
24 the time Mr. Schumacher sent this email?                    24 event with him?
                                                     Page 73                                                          Page 75
 1     A. No.                                                   1     A. The morning of the 19th.
 2     Q. So, as you said before, you are familiar              2     Q. Did you discuss it with him in person?
 3 with Ms. Dziubla's allegations in this case,                 3     A. Yes.
 4 correct?                                                     4     Q. What did you discuss specifically?
 5     A. Yes.                                                  5     A. The complaint that was emailed over. And
 6     Q. Let take out the dispute about whether the            6 he had received a phone call from somebody who was
 7 incident actually happened as Ms. Dziubla described.         7 in the group at the time of the incident that Ro had
 8         But if it did, would you say that                    8 reached out to.
 9 Mr. Jacobsen's actions violated JCA's harassment             9     Q. And who was that person?
10 policy?                                                     10     A. Kacper.
11          MS. OLSON: Objection, calls for                    11     Q. Okay. And what had Kacper -- as you
12     speculation.                                            12 recall, based on what Mr. Boulukos told you, what
13          MS. CRONIN: Join.                                  13 had Kacper said about the event?
14     A. I don't know.                                        14     A. He just said he was part of the group at
15 BY MR. SEDAEI:                                              15 that time.
16     Q. Just to confirm, you haven't spoken with             16     Q. He just called to say he was part of the
17 Mr. Jacobsen regarding the incident at any point; is        17 group? Did he have anything to say about the
18 that right?                                                 18 incident?
19     A. That is accurate; I have not.                        19     A. He said that Ro had reached out and was
20     Q. Do you know if anybody at JCA ever                   20 not happy with event; she felt something happened
21 informed Mr. Jacobsen that there was an incident            21 and wanted to talk to him about it, I believe. I
22 that related to him?                                        22 don't remember specifically what was said to Kacper,
23     A. Jim informed him. Jim Schumacher informed            23 whether it was via phone or email. I just know that
24 him of this email.                                          24 she had reached out to Kacper.
                                                     Page 74                                                          Page 76
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                              Michael
 Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                 53-3 Filed: - 6/26/2019
                                                      Page 23 of 73 PageID #:539
                                     Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1    Q. Okay. What was Kacper's title?                        1     Q. So the bottom part of page 1 -- or the
 2    A. He works for one of our subcontractors.               2 first page, that's the email we were just
 3    Q. Okay. So you talked to Mr. Boulukos. Did              3 discussing, the email from Ms. Dziubla to a group of
 4 he reach out to you and wanted to talk to you, or           4 individuals at JCA.
 5 did you reach out to him the morning after the              5          Correct?
 6 event?                                                      6     A. Yes.
 7    A. Kacper reached out to Mr. Boulukos because            7     Q. Okay. And then the top part is another
 8 he knows him personally --                                  8 email from Ms. Dziubla to the group of individuals.
 9    Q. My question was -- I'm taking about the               9 I believe it's the same group of individuals at JCA;
10 conversation you had with Mr. Boulukos.                    10 is that correct?
11        Did the conversation happen because you             11     A. Yes.
12 went to Mr. Boulukos and said, Hey, I want to talk         12     Q. When was the first time you saw this
13 about Ro's email; or did he come to you?                   13 document -- or this email, the top one?
14    A. He came to me.                                       14     A. On the 19th of -- September 19, 2017.
15    Q. And he came to you specifically because              15     Q. Okay. After receiving this email, do you
16 Kacper had contacted him?                                  16 recall having another conversation with anyone at
17    A. Yes.                                                 17 JCA about the email?
18    Q. Okay. Have you ever had a conversation               18     A. I don't recall a specific conversation
19 about the incident with Mr. Garland?                       19 regarding this email.
20    A. I don't believe so.                                  20     Q. Did you have any other conversation with
21    Q. Never? I'm not talking about just the day            21 anyone at JCA in which Ms. Dziubla's comment that
22 after or anything. Have you ever talked to him             22 she had filed a claim with the EEOC was discussed?
23 about the incident?                                        23     A. Yes.
24    A. Yes.                                                 24     Q. Was there more than one such conversation?
                                                    Page 77                                                           Page 79
 1    Q. When was the first time you recall talking            1     A. I don't recall.
 2 to Mr. Garland about the incident?                          2     Q. Okay. But you do recall at least one?
 3    A. I don't recall.                                       3     A. Yes.
 4    Q. Do you recall if it was during your                   4     Q. Okay. When was that conversation?
 5 investigation of the incident?                              5     A. On the 19th of September, 2017.
 6    A. I don't recall.                                       6     Q. Who was the conversation with?
 7        MS. CRONIN: Counsel, I'm going to make an            7     A. Mike Yazbec and Jim Schumacher.
 8    objection to your reference to "the incident."           8     Q. So I understand you met with these
 9    I'd ask you to rephrase it to "the alleged               9 individuals after you received Ms. Dziubla's first
10    incident" for clarification.                            10 email.
11        MR. SEDAEI: Okay.                                   11          This discussion you're talking about where
12        MS. CRONIN: Thank you. And that's a                 12 Ms. Dziubla's EEOC complaint was mentioned, is this
13    continuing objection throughout the course of           13 during the same conversation that we've previously
14    the deposition.                                         14 talked about, or did you have another conversation
15        MR. SEDAEI: Sure. We understand that                15 after you received this email?
16    these are allegations.                                  16     A. It was a second conversation.
17        MS. CRONIN: Correct.                                17     Q. Okay. Was the second meeting in person?
18        MR. SEDAEI: Mark this as 5, please.                 18     A. Yes.
19              (Power Exhibit No. 5                          19     Q. Do you remember around what time of the
20               marked for identification.)                  20 day that was? And if it helps, you can see what
21 BY MR. SEDAEI:                                             21 time the email went out.
22    Q. Mr. Power, I'm showing you what's marked             22     A. I don't remember exactly. I know it was
23 as Exhibit 5. Have you seen this document before?          23 shortly after. I would estimate maybe 12:30-ish,
24    A. Yes.                                                 24 but I don't know specifically.
                                                    Page 78                                                           Page 80
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                               Michael
  Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                  53-3 Filed: - 6/26/2019
                                                       Page 24 of 73 PageID #:540
                                      Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1     Q. Okay. What do you recall about that                     1     Q. And how do you know that they know?
 2 meeting; what was said?                                        2     A. Because they come to me for benefits
 3     A. We had already addressed that we knew it                3 questions.
 4 was a serious issue and we had to take it serious,             4     Q. Okay.
 5 which we were. And Jim was drafting a response to              5          MR. SEDAEI: Number 6, please.
 6 get back to Ro.                                                6               (Power Exhibit No. 6
 7     Q. He was drafting a response while the three              7               marked for identification.)
 8 of you were meeting?                                           8 BY MR. SEDAEI:
 9     A. Yes. He said he was in the process of                   9     Q. Showing you what's marked as Exhibit 6,
10 drafting it. He wasn't, like, drafting it as we               10 have you seen this document before?
11 were meeting.                                                 11     A. Yes.
12     Q. And was he asking you to give your                     12     Q. Is that, again, an email chain -- a chain
13 feedback on what should go in the response?                   13 of three different emails from Ms. Dziubla?
14     A. No, he did not ask me.                                 14     A. Yes.
15     Q. Okay. So other than him telling you that               15     Q. Okay. Based on the time stamp, it looks
16 he was drafting the response to Ms. Dziubla, what             16 like the email on top on page 1 went out pretty much
17 else was discussed at this meeting?                           17 one minute after Ms. Dziubla's previous email; is
18     A. I don't recall.                                        18 that right?
19     Q. All you recall from the meeting was him                19     A. Yes. That appears accurate.
20 saying that he was drafting the response?                     20     Q. Okay. So during the second conversation
21     A. No. I previously answered that, that we                21 you had with Mr. Yazbec and Mr. Schumacher, did you
22 discussed that it was very serious in nature and we           22 also discuss Ms. Dziubla's statement that she was
23 were discussing how to handle it.                             23 taking PTO for the remainder of the day?
24     Q. I thought that was the first conversation.             24     A. I do not recall if that was specifically
                                                       Page 81                                                          Page 83
 1 So you again talked about it --                                1 discussed.
 2     A. Yes.                                                    2          MR. SEDAEI: Number 7, please.
 3     Q. -- at the second conversation?                          3                (Power Exhibit No. 7
 4     A. Yes.                                                    4                marked for identification.)
 5     Q. Anything else you recall from that second               5 BY MR. SEDAEI:
 6 conversation?                                                  6     Q. I'm showing you what's marked as
 7     A. No.                                                     7 Exhibit 7. Have you seen this document before?
 8     Q. And it seems like it was the same                       8     A. Yes, I have.
 9 individuals at the second conversation that were               9     Q. On the top of page 1, is that an email
10 there at the first conversation, correct?                     10 from Mr. Schumacher to Ms. Dziubla, and you were
11     A. Yes.                                                   11 cc:'d?
12     Q. When you became the H.R. person at JCA,                12     A. (No response.)
13 was there any kind of announcement to the employees           13          MR. SEDAEI: Do you want to re-read the
14 that you are the H.R. person now and anybody who has          14     question. I think he didn't hear me.
15 issues should go to you relating to H.R. matters?             15                (Record read as requested.)
16     A. I don't recall if there was a specific                 16     A. I'm sorry. I did not hear you say "is."
17 announcement. The Policies and Procedures book was            17 I didn't realize you were asking a question.
18 updated to include my name as the                             18 BY MR. SEDAEI:
19 H.R. Representative.                                          19     Q. Yes.
20     Q. Do people come to you with H.R. matters?               20     A. Yes, it is.
21 Do they know -- do the JCA employees, you believe,            21     Q. The email was sent out the afternoon of
22 know by and large that you are the H.R. person at             22 the day after The Kev alleged incident?
23 JCA?                                                          23     A. Yes, at 3:05 p.m.
24     A. Yes, they do; they know.                               24     Q. Okay. During that day, my understanding
                                                       Page 82                                                          Page 84
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                               Michael
  Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                  53-3 Filed: - 6/26/2019
                                                       Page 25 of 73 PageID #:541
                                       Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1 is that you already had two conversations with                 1     A. Yes.
 2 Mr. Schumacher about the incident; isn't that right?           2     Q. Okay. First, can you tell me who made the
 3       A. Yes.                                                  3 decision to -- Well, let me see. Let's go in order
 4       Q. Did you have any other conversations with             4 here.
 5 Mr. Schumacher prior to him sending out this email?            5         Just to confirm, Ms. Dziubla was an
 6       A. I don't recall. I don't believe so.                   6 employee at the time the suspension request
 7       Q. Now, as you recall, the day before                    7 occurred, correct?
 8 Mr. Schumacher had sent out an email saying that               8     A. Yes.
 9 there was no merit to Ms. Dziubla's allegations.               9     Q. Why was her access being suspended?
10 I'm paraphrasing, but I showed the exhibit to you.            10     A. Based on comments she had made to myself
11          But you know which email I'm talking                 11 earlier in the day, we suspended her access until we
12 about?                                                        12 knew what the result of our investigation was and
13       A. Yes, I know which email you're speaking              13 when she was coming back to work.
14 of.                                                           14     Q. Okay. What comments had she made that led
15       Q. Okay. During any of those two                        15 JCA to suspend her access?
16 conversations you had with Mr. Schumacher on the              16     A. When I met with Rowena on the morning of
17 19th, did he restate what he had said in the email?           17 the 20th to discuss the outing with her in person,
18       A. No, I don't recall that.                             18 she said that she felt JCA was very toxic. And she
19       Q. Okay. Do you recall him saying something             19 used that phrase many times. She also shared many
20 to the effect that there was no merit to                      20 other complaints about the company.
21 Ms. Dziubla's allegations but we needed to do an              21     Q. Okay. Any other comments that you recall
22 investigation anyway?                                         22 that led you to -- led JCA to suspend her access?
23       A. No, I do not recall.                                 23     A. I don't recall others, just the ones I
24       Q. Was Ms. Dziubla's access to client files             24 stated.
                                                       Page 85                                                        Page 87
 1 and emails terminated at some point?                           1    Q. Who made the decision to suspend
 2       A. Yes. It was not terminated; it was                    2 Ms. Dziubla's access to her email and --
 3 suspended.                                                     3         Client files too?
 4       Q. Was it ever restored, to your knowledge?              4    A. Just her email and server access.
 5       A. Not to my knowledge.                                  5    Q. And server access.
 6       Q. When was her access suspended?                        6         Who made the decision to suspend her
 7       A. I believe it was at some point in time on             7 access?
 8 September 20th.                                                8    A. The conversation included myself, Mike
 9          MR. SEDAEI: Number 8, please.                         9 Yazbec, Jim Schumacher, and Tom Schumacher.
10               (Power Exhibit No. 8                            10    Q. So this conversation occurred when?
11                marked for identification.)                    11    A. On the 20th.
12   BY MR. SEDAEI:                                              12    Q. Would that be in the morning of the 20th?
13     Q. I'm showing you what's marked as                       13    A. It would probably have been around -- in
14   Exhibit 8. Have you seen this document before?              14 the 11:00 to 12:00o'clock, 11:00 a.m. to 12:00 p.m.
15      A. Yes.                                                  15 range.
16      Q. Can you describe to me what it is.                    16    Q. And when did you meet with Ms. Dziubla on
17      A. It is asking our third-party IT consultant            17 the 20th?
18   to change Ro's password.                                    18    A. At 10:00 a.m.
19      Q. And by changing Ro's password, you were               19    Q. What do you recall about the conversation
20 effectively suspending her access?                            20 among you, both Mister Schumachers, and Mr. Yazbec?
21    A. Correct.                                                21 What was discussed in that conversation?
22    Q. And are you asking also that the IT person              22    A. We discussed Ro's statements of being very
23 give you and Mr. Boulukos access to her email                 23 disappointed with the company and calling the
24 account?                                                      24 company toxic repeatedly, her concerns about some of
                                              Page 86                                                                 Page 88
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  Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                  53-3 Filed: - 6/26/2019
                                                       Page 26 of 73 PageID #:542
                                     Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1 her coworkers.                                                 1 outsiders?
 2     Q. Anything else?                                          2     A. Not to my knowledge.
 3     A. Not that I recall.                                      3     Q. Does JCA have some kind of an Executive
 4     Q. What was discussed specifically about                   4 Committee or a certain number of individuals who get
 5 Ms. Dziubla's access to the email and server at that           5 together on a regular basis and discuss the affairs
 6 meeting?                                                       6 of JCA and make decisions for the entire company?
 7     A. It was discussed that, since she was not                7     A. Yes, there's an Executive team.
 8 presently working at that time and she was unhappy             8     Q. Okay. Can you tell me who are on the
 9 with the company and very upset about the alleged              9 Executive team?
10 incident, that we should suspend her email account            10     A. Jim Schumacher, Tom Schumacher, Mike
11 until things had cleared up.                                  11 Yazbec, Steve Boulukos, William Burfeind --
12     Q. Was it somebody specifically who made that             12 B-u-r-f-e-i-n-d -- and myself.
13 decision and said that, That's what we are going to           13     Q. Six individuals?
14 do?                                                           14     A. Yes.
15     A. I don't recall who specifically said to do             15     Q. All men?
16 that.                                                         16     A. Yes.
17     Q. You don't recall it being Mr. Jim                      17     Q. Of the 27 -- Okay. You said there were
18 Schumacher?                                                   18 about 27 people working in the office at JCA; is
19     A. I do not recall.                                       19 that right?
20     Q. Did she, in your meeting -- and we'll talk             20     A. Correct.
21 about the meeting you had with Ms. Dziubla in the             21     Q. So that --
22 morning.                                                      22     A. That was the estimate I gave, yes.
23         But did she -- Okay. Just explain to me               23     Q. So that's an estimate, and that's your
24 the connection between the complaints she had about           24 estimate as of now. Correct?
                                                       Page 89                                                         Page 91
 1 the company and why that should lead to a suspension           1     A. Correct.
 2 of her email account and the server.                           2     Q. Would you give the same estimate for when
 3         What is the connection between the two?                3 Ms. Dziubla was employed at JCA?
 4    A. The connection is she said a lot of                      4     A. Yes.
 5 negative things about the company and she wasn't               5     Q. Of the 27 ballpark, can you tell me the
 6 presently at work.                                             6 male to female ratio?
 7    Q. She hadn't resigned from the company?                    7     A. I believe there are four females in the
 8    A. No, she had not. That's why it was                       8 company.
 9 suspended.                                                     9     Q. Four females, 23 males in the office?
10    Q. Right. But what was it that JCA was                     10     A. Yes.
11 trying to prevent? Was JCA trying to prevent                  11     Q. How many females in the field?
12 something bad from happening by her having continued          12     A. At this time I don't believe there are
13 access to her email and server?                               13 any.
14    A. I don't know specifically what the                      14     Q. Okay. And you said there were about
15 conversation was. But they were probably trying to            15 70 people in the field?
16 prevent her from using that email account to send             16     A. It can range from 40 to 70. I'd say, on
17 negative emails to subcontractors and other contacts          17 average, probably closer to mid 50s.
18 she had.                                                      18     Q. Okay.
19    Q. But had she threatened to do that?                      19     A. If we're slow, it's 40. If we're busy,
20    A. She had not.                                            20 it's 70. And anywhere --
21    Q. Had she ever, throughout her employment,                21     Q. So, on average --
22 used her JCA email account -- or any other email              22     A. -- in between.
23 account, to your knowledge -- to say something                23     Q. I'm sorry, I didn't mean to cut you off.
24 negative about JCA to subcontractors or other                 24        So, on average -- I'm sorry. Were you
                                                       Page 90                                                         Page 92
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                               Michael
  Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                  53-3 Filed: - 6/26/2019
                                                       Page 27 of 73 PageID #:543
                                       Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1 finished?                                                      1 about issues they had or a problem they had working
 2     A. Yes.                                                    2 with somebody at JCA?
 3     Q. So, on average, total number of                         3    A. No.
 4 JCA employees in the office and in the field, on               4    Q. So as far as you were concerned, you
 5 average, would be about 80-something total, on                 5 believed everybody was getting along well?
 6 average? I know it goes up and down, depending on              6    A. Correct, yes.
 7 who is in the field.                                           7        THE WITNESS: Is now a good time to run
 8     A. Correct.                                                8    down the hall?
 9     Q. And of the 80-some employees, there are                 9        MS. OLSON: Can we take a break?
10 four females?                                                 10        MR. SEDAEI: Yes, absolutely.
11     A. Four.                                                  11               (Whereupon a recess was taken
12     Q. And the rest are males?                                12               from 12:14 p.m. to 12:25 p.m.,
13     A. Yes.                                                   13               after which the following
14     Q. Okay. Currently, the four females who are              14               proceedings were had:)
15 in the office, can you tell me their names and                15        MR. SEDAEI: Back on the record.
16 titles?                                                       16        We are moving on to the next exhibit.
17     A. Kristn Robertazzo; K-r-i-s-t-n, Robert,                17               (Power Exhibit No. 9
18 a-z-z-o, Office Manager/Receptionist.                         18               marked for identification.)
19           Rachael Weil; W-e-i-l, R-a-c-h-a-e-l,               19 BY MR. SEDAEI:
20 Project Coordinator.                                          20    Q. Mr. Power, I'm showing you what's marked
21       Lauren Saunders; S-a-u-n-d-e-r-s,                       21 as Exhibit 9. Have you seen this document before?
22 Marketing Director.                                           22    A. Yes, I have.
23           And Kayla McKinney; M-c-K-i-n-n-e-y,                23    Q. Can you tell me what it is?
24 Assistant Project Manager.                                    24    A. It is my email to Ro, letting her know
                                                       Page 93                                                         Page 95
 1     Q. In case you're afraid I'm going to ask you              1 that I will be investigating the matter and looking
 2 to name all the male employees --                              2 to get in touch with her, when I can speak to her or
 3     A. I'm not going to; I'm sorry.                            3 meet with her to get her firsthand account because
 4     Q. -- I'm not going to ask you.                            4 it was a very serious issue and we wanted to speak
 5           All right, going back to what we were                5 to her.
 6 talking about. Had Ms. Dziubla -- while she was                6     Q. Okay. So there was a decision sometime
 7 employed at JCA, had Ms. Dziubla ever said or done             7 before this email that there was going to be an
 8 anything that had reflected badly on JCA?                      8 investigation into Ms. Dziubla's allegations,
 9     A. Not to my knowledge.                                    9 correct?
10     Q. Not as part of this alleged incident at                10     A. Yes.
11 The Kev, but just generally during the time she was           11     Q. And who asked you to conduct an
12 employed at JCA, had she ever threatened to do                12 investigation?
13 anything that would reflect badly on JCA?                     13     A. Jim and Tom. And it was decided because
14     A. Not to my knowledge.                                   14 of my role.
15     Q. Remind me for how long you've been the                 15     Q. Do you know whose suggestion it was that
16 H.R. Representative.                                          16 there should be an investigation?
17     A. Since sometime in 2013.                                17     A. We all agreed on that in our first
18     Q. Okay. During this time, can you think                  18 conversation in the morning.
19 of -- Other than Ms. Dziubla, can you think of any            19     Q. Okay. And then did JCA -- or you,
20 other employees who ever came to you and they had --          20 actually -- conduct an investigation into the outing
21 they were upset about something that happened or              21 incident or alleged incident?
22 related to JCA?                                               22     A. Yes.
23     A. No, I cannot recall.                                   23     Q. And you led the investigation?
24     Q. Do you recall anybody ever coming to you               24     A. Yes.
                                                       Page 94                                                         Page 96
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                               Michael
  Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                  53-3 Filed: - 6/26/2019
                                                       Page 28 of 73 PageID #:544
                                     Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1   Q. Was there any discussion at any point at                1     A. It's in my notes. Kacper, Tim Le, Adam
 2 JCA about the possibility of hiring a third party to         2 Scheitel, Chad Crane, Abby Radoha, and Joe Maguire.
 3 do the investigation versus you, a JCA employee?             3     Q. Who is the JCA employee that you said Ro
 4     A. I do not recall.                                      4 had spoken with afterwards in the parking lot?
 5     Q. Do you know if JCA ever tried to get a                5     A. That was Joe Maguire.
 6 third-party individual to do the investigation?              6     Q. To your knowledge, Mr. Maguire was also
 7     A. I do not recall.                                      7 personally a witness to the incident?
 8       Q. But you certainly didn't try to reach out           8     A. No, he was not.
 9   to a third party to do the investigation, correct?         9     Q. Oh, okay. Because you listed him as part
10       A. I did not.                                         10 of the witnesses.
11       Q. Would you say that an investigation by a           11     A. I'm sorry. I thought you said witnesses
12   third party who is not a JCA employee would have          12 or anyone you spoke to. I was trying to be
13 been more impartial?                                        13 all-encompassing, all-inclusive.
14       MS. OLSON: Objection to the extent it                 14     Q. No problem. How did you come up with this
15   calls for speculation.                                    15 list of who you believed were the witnesses to the
16   A. I don't know if that's accurate.                       16 alleged incident?
17 BY MR. SEDAEI:                                              17     A. When we were discussing the email in the
18      Q. Did you feel like you were under pressure           18 morning --
19 to make sure that the investigation yielded a               19     Q. "We" being who?
20 specific result?                                            20     A. Myself, Mike Yazbec, and Jim Schumacher.
21      A. Not at all.                                         21 During our conversation on the morning of the 19th,
22      Q. Do you think you were fully fair and                22 we had conversation of who all was present at the
23 impartial in your investigation?                            23 time.
24      A. Yes.                                                24     Q. And who among you knew the answer to that
                                                     Page 97                                                           Page 99
 1     Q. And who did you interview or speak with as            1 question?
 2 part of your investigation?                                  2     A. Jim.
 3     A. I spoke with the witnesses who were                   3     Q. Jim Schumacher?
 4 present at the time of the interaction between Ro            4     A. Yes.
 5 and Peter.                                                   5     Q. How did he know?
 6     Q. Who else?                                             6     A. He was present.
 7     A. I also spoke with a JCA employee that Ro              7     Q. So he was also a witness?
 8 saw in the parking lot afterwards.                           8     A. Yes.
 9     Q. I'm sorry. What employee?                             9     Q. Okay. Did you speak to these
10     A. A J.C. Anderson employee.                            10 individuals -- Kacper, Tim, Adam, Chad, and Abby --
11     Q. Okay. I'll ask you for specific names of             11 all on the same day?
12 these groups of people. But first, who else did you         12     A. Yes.
13 speak with as part of the investigation?                    13     Q. Do you remember what day that was?
14     A. Ro.                                                  14     A. The 19th.
15     Q. Who else?                                            15     Q. Did you talk to all of them all at once or
16     A. That's all.                                          16 one at a time?
17     Q. Okay. Let's talk about the witnesses.                17     A. No, one at a time.
18 Who are the witnesses that you spoke with as part of        18     Q. Do you remember about how long each
19 the investigation?                                          19 meeting took, approximately?
20     A. Kacper. And I'm not sure how to pronounce            20     A. Approximately 10 to 15 minutes.
21 his last name properly. It's Stojowski or                   21     Q. Were they in-person meetings or on the
22 something. I don't -- I'm sorry.                            22 phone?
23     Q. It's fine. We'll find the last name.                 23     A. Kacper was on the phone. Joe Maguire was
24        Who else?                                            24 on the phone. Abby Radoha was on the phone. Chad
                                                     Page 98                                                          Page 100
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                              Michael
 Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                 53-3 Filed: - 6/26/2019
                                                      Page 29 of 73 PageID #:545
                                  Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1 Crane was on the phone. Adam Scheitel and Tim Le          1     Q. You didn't think asking follow-up
 2 were in person.                                           2 questions or asking him to clarify anything was
 3     Q. Did any of these witnesses claim that they         3 necessary?
 4 heard specifically what comment Mr. Jacobsen had          4     A. Not at that time, no.
 5 made to Ms. Dziubla that had caused her offense,          5     Q. Do you now believe it would have been
 6 according to her?                                         6 helpful or productive to the investigation if you
 7        MS. OLSON: I'm going to object based on            7 had the chance to directly speak with him?
 8     foundation.                                           8     A. No.
 9        You can answer.                                    9     Q. What were the results of the
10     A. Not specifically. They heard something,           10 investigation?
11 but nobody seemed to hear it in its entirety. And        11     A. Speaking to all of the individuals --
12 Chad Crane said he did not hear it.                      12 except Joe Maguire. His conversation was slightly
13 BY MR. SEDAEI:                                           13 different because Joe wasn't present.
14     Q. He did not hear any of it?                        14        The other individuals were asked what they
15     A. He did not hear; that he was at a                 15 witnessed. They shared that they -- that there was
16 distance. He was observing the interaction, but at       16 interaction with Peter; he came upon the group.
17 the distance he was, he could not hear.                  17 They were handing out golf flags that were
18     Q. And Ms. Dziubla's allegations were made           18 autographed by Peter. He took a picture with the
19 against who?                                             19 group, and he was also offering lessons or advice on
20     A. Peter Jacobsen.                                   20 chipping to the parties of the group.
21     Q. Did you interview Mr. Jacobsen?                   21        I asked them if they felt they observed
22     A. No, I did not.                                    22 anything -- if they felt they witnessed any
23     Q. Why not?                                          23 inappropriate behavior or actions by Peter. And all
24     A. Jim spoke to him, and I took the message          24 parties asked that question said no.
                                               Page 101                                                            Page 103
 1 from Jim; took Peter's statement through Jim.             1       Q. Parties being witnesses?
 2      Q. But you were the investigator, correct?           2       A. The witnesses, yes.
 3      A. Yes.                                              3       Q. Did you write a report that stated the
 4      Q. Did you ask to speak with Mr. Jacobsen?           4   findings, or your findings?
 5      A. I did not.                                        5       A. Yes. I took notes on the -- a formal
 6      Q. Did Mr. Schumacher tell you that you              6   report, no. I took notes on the witnesses'
 7 cannot reach out to him?                                  7   statements.
 8      A. Not at all; no, he did not.                       8       Q. Did you give the report to anyone?
 9      Q. Why didn't you think it was necessary for         9          MS. OLSON: Objection --
10 you personally to talk to Mr. Jacobsen to get his        10          MR. SEDAEI: I'm sorry.
11 side of the story?                                       11   BY MR. SEDAEI:
12      A. I didn't think his answer would change           12       Q. The notes. Did you give the notes to
13 from what he told Jim. I felt it would have been         13   anybody?
14 redundant to call him.                                   14       A. No.
15       Q. But didn't you think it would be more           15          MR. SEDAEI: Was that going to be your
16   effective for you to directly talk to him rather       16       objection?
17   than have a middle person tell you what he heard       17          MS. OLSON: You said report.
18   Mr. Jacobsen say to him?                               18          MR. SEDAEI: Okay.
19       A. I didn't think of it that way.                  19          We are at 10?
20       Q. And by not talking to Mr. Jacobsen              20                 (Power Exhibit No. 10
21   directly, you never really had a chance to ask him     21                  marked for identification.)
22   any questions or ask any follow-up questions,          22   BY MR. SEDAEI:
23   correct?                                               23       Q. Showing you what's marked as Exhibit 10,
24       A. Correct.                                        24   have you seen this document before?
                                                 Page 102                                                    Page 104
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                               Michael
  Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                  53-3 Filed: - 6/26/2019
                                                       Page 30 of 73 PageID #:546
                                     Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1     A. Yes, I have.                                            1 BY MR. SEDAEI:
 2     Q. So the bottom email is from you. I think                2      Q. I'm showing you what's marked as
 3 it's the email we just discussed, correct?                     3 Exhibit 11. Do you recognize this document?
 4     A. Correct.                                                4        A. Yes, I do.
 5     Q. And the top email is an email reply to                  5        Q. Would it be accurate, it's an email chain,
 6 your email, and that's from Ms. Dziubla. Correct?              6   emails from various people to various people?
 7     A. Correct.                                                7           It's basically an email chain; is that
 8     Q. After receiving this email -- Well, first               8   accurate?
 9 let me back up.                                                9        A. Yes, that's accurate.
10        Ms. Dziubla is stating that she had                    10        Q. The bottom email is an email from
11 reached out to an attorney, correct?                          11   Ms. Dziubla to you, is that right, from
12     A. Yes. That's what it states.                            12   September 19, 2017, at 6:51 p.m.?
13     Q. And she's providing you with a name and a              13        A. Yes.
14 phone number in that email; isn't that right?                 14        Q. Okay. And then there's an email on top --
15     A. That's accurate.                                       15   or toward the middle of the page. And I believe
16     Q. Okay. And after you received this email                16   it's from you --
17 from Ms. Dziubla, did you discuss it with anyone at           17        A. It's from me to Mike.
18 JCA?                                                          18        Q. -- to Mr. Yazbec, Mike Yazbec?
19     A. I don't specifically recall. I'm sure we               19        A. (No response.)
20 did, but I don't specifically recall the                      20        Q. Yes?
21 conversation.                                                 21        A. Yes.
22     Q. You don't recall the conversation in which             22        Q. Okay. And were you asking, FYI - Are you
23 you told, for example, Mr. Yazbec or Mr. Schumacher           23   available or is this cutting it too close with your
24 that Ms. Dziubla had told you she was talking or              24   appointment?
                                                      Page 105                                                       Page 107
 1 consulting with an attorney?                                   1         What are you asking if he's available for?
 2     A. I know I made the statement. I don't                    2      A. To join me to meet with Ro.
 3 recall specifically when and what time and where I             3      Q. Okay. When you met with Ms. Dziubla, was
 4 was at when I did such. I don't know if I simply               4 Mr. Yazbec there too?
 5 forwarded this email or if I called them or if I               5      A. No, he was not.
 6 walked down the hall and talked to them. That I                6      Q. Okay. But on top Mr. Yazbec says, I
 7 honestly don't remember.                                       7 should be good.
 8     Q. Did you actually make contact with this                 8         So at some point he decided that -- or
 9 individual, Ross Peters?                                       9 somebody decided he wasn't going to be at the
10     A. I did not.                                             10 meeting with Ro?
11     Q. Did you consider doing that as a                       11      A. The next morning he was unavailable. I
12 possibility?                                                  12 don't recall specifics of why.
13     A. No. I think I just forwarded that to our               13      Q. Okay. And then towards the middle of the
14 counsel.                                                      14 page in that email from you to Mr. Yazbec, you're
15     Q. And who is your counsel?                               15 saying, One thing that is noteworthy for me sitting
16     A. Gene Boyle and Michelle Olson. At the                  16 down with her.
17 time, Gene was -- They're now with Vedder Price. At 17                   "With her," are you talking about Ro?
18 the time Gene was with a different firm.                      18      A. Yes.
19     Q. He was with Neal, Gerber?                              19      Q. (Reading) She is friends with one of my
20     A. Correct.                                               20 cousins so she might be a little more willing to
21        MR. SEDAEI: Exhibit 11.                                21 open up to me. And then in parentheses it says, for
22                (Power Exhibit No. 11                          22 what it's worth, Ro doesn't know I don't care much
23                marked for identification.)                    23 for that particular cousin.
24                                                               24         Did I read that accurately?
                                                      Page 106                                                       Page 108
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                               Michael
  Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                  53-3 Filed: - 6/26/2019
                                                       Page 31 of 73 PageID #:547
                                    Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1     A. Yes, you read that accurately.                        1 BY MR. SEDAEI:
 2     Q. Which cousin are you talking about?                   2     Q. Why did you start the paragraph with, One
 3     A. My cousin Tracy.                                      3 thing that is noteworthy? Why did you say it was
 4     Q. What's her last name?                                 4 noteworthy?
 5     A. Power.                                                5     A. I don't recall why I typed that at the
 6     Q. So this would be a paternal cousin?                   6 moment.
 7     A. Correct.                                              7     Q. Did you ever tell Ms. Dziubla that you
 8     Q. And then you say -- you start with -- in              8 were mad at Tracy or you didn't care much for her at
 9 parentheses you say, for what it's worth. And then           9 the time?
10 you continue to say that you don't care much for            10     A. No.
11 that cousin.                                                11     Q. Why not?
12        Can you explain to me what you mean by               12     A. It was not relevant.
13 that comment, "for what it's worth," and then you're        13     Q. But you thought it was relevant to her --
14 disclosing the fact that the cousin who is -- that          14 "her" being Ro -- opening up to you because she was
15 you believe was Ms. Dziubla's friend, that you don't        15 friends with your cousin; that's what you're saying
16 care much for that cousin.                                  16 in the email, isn't it?
17     A. I was just upset with that cousin at that            17         You thought it was -- Let me read the
18 point in time because of family matters.                    18 statement: She is friends with one of my cousins so
19     Q. But are you implying in that email that              19 she might be a little more willing to open up to me.
20 you're not going to tell Ms. Dziubla that you don't         20     A. That's what I said.
21 care much for that cousin?                                  21     Q. And that's what you believe?
22     A. It was irrelevant at that time.                      22     A. At the time I typed that? Yes, that's why
23     Q. What was irrelevant at the time? You said            23 it was typed.
24 it was irrelevant?                                          24     Q. Okay. Does Ms. Power work at JCA?
                                                    Page 109                                                       Page 111
 1      A. My feelings toward my cousin -- to tell Ro           1     A. No, not at all.
 2 my feelings toward my cousin was irrelevant.                 2     Q. Do you know how Ms. Dziubla is friends
 3      Q. So why do you say it was noteworthy, that            3 with your cousin?
 4 you're including this fact to Mr. Yazbec? Why was            4     A. She had stated that they worked out
 5 it noteworthy?                                               5 together. Based on the common last name, at one
 6         MS. OLSON: Objection. I'm going to say               6 point Ro asked me if I knew her.
 7      that mischaracterizes his testimony.                    7         MR. SEDAEI: Exhibit 12.
 8 BY MR. SEDAEI:                                               8                (Power Exhibit No. 12
 9      Q. I'm referring to the email. Does the                 9                marked for identification.)
10 email -- does the second paragraph, does it start           10 BY MR. SEDAEI:
11 with, One thing that is noteworthy.                         11     Q. Showing you what is marked as Exhibit 12,
12         And then you're disclosing information              12 have you seen this document before?
13 about your cousin?                                          13     A. Yes.
14      A. Uh-huh.                                             14     Q. Is that an email from you to Mr. Boyle?
15      Q. That was a yes? The answer to the                   15     A. Yes, it is.
16   previous question, was it yes?                            16     Q. And is the document that starts on the
17      A. What was the previous question?                     17 second page, Bates number JCA1895 and goes to
18          MR. SEDAEI: Can you just repeat that. I            18 JCA1897, is that the attachment to the email?
19      think he said uh-huh. I want to get that               19     A. Yes, it is.
20   corrected.                                                20     Q. If you look at the third page, JCA1896,
21            (Record read as requested.)                      21 there are a number of bullets and sub bullets. So
22   A. Yes, I disclosed information about my                  22 the first bullet, there's a discussion about Kacper
23 cousin.                                                     23 and the statements that you're saying he made about
24                                                             24 the alleged incident.
                                                    Page 110                                                       Page 112
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                              Michael
 Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                 53-3 Filed: - 6/26/2019
                                                      Page 32 of 73 PageID #:548
                                       Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1         Correct?                                               1 BY MR. SEDAEI:
 2     A. Correct.                                                2      Q. I'm showing you what's marked as
 3     Q. I'm sorry for my repetitive questions.                  3 Exhibit 13. Have you seen this document before?
 4 But what was Kacper's title at the time?                       4    A. Yes, I have.
 5     A. He works for one of our subcontractors. I               5    Q. Is that an email from Ms. Dziubla to you
 6 don't know his specific title there.                           6 on September 25th?
 7     Q. Okay. Did you have to reach out to                      7    A. Correct.
 8 Kacper's supervisor before you had the chance to               8      Q. I believe you met with Ms. Dziubla on
 9 talk to Kacper, or did you just reach out to him               9   September 20th in that cafe, correct?
10 directly?                                                     10      A. Yes.
11     A. He was just contacted directly.                        11      Q. Did you have any communications with her
12     Q. And you were the one who made the contact              12   between that meeting and this email the following
13 directly?                                                     13 Monday?
14     A. Steve Boulukos called him with Mike Yazbec 14                A. I don't recall. I don't believe so.
15 and myself in the room and basically made an                  15    Q. If there were any communications, it would
16 introduction because neither Mike nor myself                  16 have been in the form of emails?
17 personally knew Kacper.                                       17    A. Yes.
18     Q. And Adam Scheitel, can you tell me again               18      Q. But no conversations in person or on the
19 who that is.                                                  19 phone?
20     A. He was a J.C. Anderson employee who was                20      A. No, correct.
21 present at the time of the alleged incident.                  21      Q. Do you recall seeing this email from
22     Q. What was his title?                                    22 Ms. Dziubla on the 25th?
23     A. Assistant Project Manager.                             23      A. Yes, I do.
24     Q. If we look at the comments about                       24      Q. And the 25th, just to confirm, is one week
                                                      Page 113                                                    Page 115
 1 Mr. Scheitel, that last sub bullet, kind of like               1 after the alleged incident?
 2 two-thirds of the way of down, it says, Adam does              2     A. Yes.
 3 not feel he witnessed any inappropriate behavior,              3     Q. And she is saying that she would like to
 4 but he did admit he can see how she -- "she" being             4 discuss her options.
 5 Ro -- might have taken the "wood" comment the wrong            5        Did you have a chance to talk with her at
 6 way.                                                           6 any point about, you know, her options or what she
 7        Do you recall now him saying that to you?               7 meant by "my options"?
 8     A. I don't specifically recall. But yes, he                8     A. She came in the following day.
 9 said that because it's in my notes.                            9     Q. She came in on September 26th?
10     Q. Right. And you wrote these notes,                      10     A. Yes.
11 correct?                                                      11     Q. Around what time of the day was that?
12     A. Yes, I wrote these notes.                              12     A. It was in the morning. It was either 9:00
13     Q. Okay. If you go to the next page -- so                 13 or 10:00 a.m. It's noted somewhere.
14 that's JCA1897 -- you talk about Joe Maguire and              14     Q. So you replied to this email and said,
15 Abby Radoha.                                                  15 Okay, why don't you come in the next morning and
16        Would that be Kevin's wife or daughter?                16 we'll discuss it?
17     A. That's his daughter.                                   17     A. Yes. There was a response to this email.
18     Q. And Chad Crane was the golf professional,              18     Q. Okay. And she did come in the following
19 correct?                                                      19 morning?
20     A. Correct.                                               20     A. Yes.
21        MR. SEDAEI: Number 13.                                 21     Q. And you were at that meeting?
22                (Power Exhibit No. 13                          22     A. Yes, I was.
23                marked for identification.)                    23     Q. And who else was at the meeting other than
24                                                               24 you and Ms. Dziubla?
                                                      Page 114                                                     Page 116
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                              Michael
 Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                 53-3 Filed: - 6/26/2019
                                                      Page 33 of 73 PageID #:549
                                   Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1     A. Mike Yazbec.                                          1 paid.
 2     Q. Anybody else?                                         2     Q. So just to back up, you met with
 3      A. No.                                                  3 Ms. Dziubla on September 20th and -- By the way, you
 4      Q. What did you discuss at that meeting?                4 can correct me if I'm wrong, if I mischaracterize
 5      A. At that meeting we discussed our                     5 anything you said.
 6   investigation to Ro.                                       6         But I believe you said that she had made
 7      Q. So at that time the investigation had                7 certain critical comments about JCA during that
 8 concluded?                                                   8 meeting on the 20th, right?
 9    A. Yes.                                                   9     A. Yes.
10    Q. Can you tell me when the investigation                10     Q. She, as you recall, said the environment
11 concluded?                                                  11 was toxic; she had issues with a number of
12    A. I believe the day prior.                              12 coworkers. Is that right?
13     Q. So that Monday, the 25th?                            13     A. That's accurate.
14     A. Yes, correct.                                        14     Q. There may have been other things.
15     Q. And you say it was concluded at that time.           15         Between that meeting on the 20th and this
16   Why do you say that, that it was that date?               16 meeting on the 26th, between that time period, do
17     A. We had discussed all the interviews and              17 you recall Ms. Dziubla making any other comments
18 witness statements.                                         18 that you perceived to be negative about JCA or
19   Q. "We" being who?                                        19 critical of JCA?
20   A. Mike Yazbec, myself, Jim and Tom                       20     A. No, I do not recall.
21 Schumacher.                                                 21     Q. Do you recall her making any negative
22     Q. And you had the conversation on the 25th?            22 comments about JCA while she was at this meeting on
23     A. I believe so.                                        23 September 26th?
24     Q. But you had pretty much done all the                 24     A. I don't believe so.
                                                    Page 117                                                          Page 119
 1 interviews relating to the investigation or part of          1     Q. Do you recall her making any negative
 2 the investigation by the time you sent the email to          2 comments about JCA since that time, not including
 3 Mr. Boyle, which was the 19th?                               3 anything she may have said as part of this ongoing
 4     A. No, because I still had to talk to Ro.                4 litigation?
 5     Q. Oh. But other than Ms. Dziubla --                     5     A. I don't recall. I don't believe so.
 6     A. Correct.                                              6     Q. Do you believe that -- you know, the
 7     Q. -- everybody else was included in this                7 comments that she made to you on -- Let me back up.
 8 email to Mr. Boyle?                                          8         We covered the comments she made to you
 9     A. Yes.                                                  9 during the September 20th meeting, the time between
10     Q. So you discussed the results of the                  10 September 20th and 26th, the meeting on the 26th,
11 investigation. What else do you recall from that            11 and the time since September 26, 2017.
12 meeting with Ms. Dziubla on September 26th? What            12         I didn't cover the period of time before
13 else was discussed?                                         13 September 20, 2017. Other than the comments that we
14     A. Ro had asked for what her options for time           14 have seen in the emails to various people at JCA
15 off were. We discussed that we did not have a               15 after The Kev incident, or alleged incident, do you
16 short-term disability policy. And based on our              16 know of any other time when Ms. Dziubla said
17 Policies and Procedures, her only option at that            17 anything negative about working at JCA or JCA
18 point would be to elect to take FMLA leave.                 18 itself; any time before September 20, 2017?
19     Q. And FMLA leave is unpaid?                            19     A. A coworker in the office, Lauren Graczyk
20     A. Yes.                                                 20 at the time, now Saunders, did state that Ro had
21     Q. And she was told that it was unpaid?                 21 gone to her and said she was unhappy and wanted to
22     A. Yes.                                                 22 leave the company.
23     Q. Did she make any remarks about that?                 23     Q. So you said Lauren is no longer at the
24     A. She did make a comment about needing to be 24 company?
                                                   Page 118                                                           Page 120
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                               Michael
  Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                  53-3 Filed: - 6/26/2019
                                                       Page 34 of 73 PageID #:550
                                     Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1     A. No, she is. She changed her last name.                  1 it?
 2 She got married. At the time I believe her last                2       A. I believe I do. And to answer it
 3 name was Graczyk, and now it's Saunders.                       3 properly, I'll say I learned of Ms. Dziubla's
 4     Q. Okay. What is Lauren's title?                           4 complaints about the company on September 20th. And
 5     A. Marketing Director.                                     5 that was the first time learning of such.
 6     Q. And did she come to you to say what                     6       Q. Did you think Ms. Dziubla's comments about
 7 Ms. Dziubla had allegedly said?                                7 JCA -- all the comments that you knew of as of
 8     A. Yes, after she learned of the allegations               8 September 26, 2017 -- made her unfit to be an
 9 in the lawsuit.                                                9 employee of JCA?
10     Q. Okay. When did Lauren speak with you?                  10       A. No.
11     A. I don't recall specifically. I would say               11       Q. But you -- or at least JCA -- thought it
12 sometime in the fall of 2017, possibly early 2018.            12 made her unfit to have access to her emails and the
13     Q. So was this --                                         13 server based on her comments?
14     A. I'm just trying to pinpoint, and I can't               14       A. Temporarily, yes.
15 recall the specific time.                                     15       Q. When you say temporarily, was there a
16     Q. But it was after Ms. Dziubla was already               16 decision that her access would be restored at some
17 gone?                                                         17 point to the emails and the server?
18     A. Yes.                                                   18       A. Yes. When she returned to work, it would
19     Q. So anything that Ms. Dziubla may have said             19 be restored.
20 to Lauren, you didn't know about it until after               20       Q. But if she were to work remotely, she
21 Ms. Dziubla was gone?                                         21 would have had to have access to the server and the
22     A. That is accurate.                                      22 email, correct?
23     Q. Okay. Can you think of any other                       23       A. Correct. But that would be returning to
24 instances before September 20th or September 26,              24 work.
                                                      Page 121                                                          Page 123
 1 2017, other than what we've already discussed, any             1       Q. Okay. So you don't mean physically return
 2 instances where Ms. Dziubla made any comments that             2 to the office?
 3 you perceived to be negative or critical of JCA?               3       A. Correct.
 4     A. No, I'm not aware of any.                               4       Q. Okay.
 5     Q. And same question, except this time do you              5          MR. SEDAEI: 14.
 6 know of any comments that Ms. Dziubla may have made            6                 (Power Exhibit No. 14
 7 in any context about any individuals working at JCA            7                  marked for identification.)
 8 other than what we have already discussed?                     8 BY MR. SEDAEI:
 9     A. No, I'm not aware.                                      9       Q. I'm showing you what's marked as
10     Q. So by September 20, 2016, you had -- with              10 Exhibit 14. Have you seen this document before?
11 the exception of the comment that Ms. Dziubla may             11       A. Yes, I have.
12 have made to Lauren, you knew of all the various              12       Q. We already discussed the email at the
13 comments Ms. Dziubla had made about JCA that you              13 bottom right, Ms. Dziubla's email to you?
14 perceived to be negative or critical?                         14       A. Yes.
15     A. Can you state that again. I didn't catch               15       Q. On top, is that an email, a reply from you
16 all of that.                                                  16 to Ms. Dziubla on September 25th at 4:28 p.m.?
17        MR. SEDAEI: At the risk of changing the                17       A. Yes, it is.
18     phrasing, would you mind reading the question             18       Q. And you're stating in the email -- Correct
19     back.                                                     19 me if I'm wrong. But on the 25th you were saying
20                (Record read as requested.)                    20 that, you know, We were actually expecting you to be
21        MS. OLSON: I'm going to just object to                 21 at work today, in the first line of your email.
22     form.                                                     22          Is that correct?
23 BY MR. SEDAEI:                                                23       A. That's accurate. That's what it reads.
24     Q. It's a long question. Do you understand                24       Q. Did you ever tell Ms. Dziubla that she was
                                                      Page 122                                                          Page 124
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                               Michael
  Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                  53-3 Filed: - 6/26/2019
                                                       Page 35 of 73 PageID #:551
                                      Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1 supposed to be at work on September 25th before                1 know, short-term disability -- and she was told that
 2 September 25th?                                                2 there is no such option for -- FMLA was the only
 3     A. No, not specifically.                                   3 other option.
 4     Q. But assuming that you were right, that she              4        Correct?
 5 was supposed to be at work on September 25th, were             5     A. Yes. She was told FMLA was her option, as
 6 you in this email pretty much assuming that she                6 her other time had been exhausted.
 7 already knew she was supposed to be back at work on            7     Q. Okay. And at the end of this email on
 8 September 25th?                                                8 September 26th, she is stating that, I'll save you
 9     A. I wasn't assuming anything.                             9 the trouble of the FMLA paperwork. I'll report to
10        MR. SEDAEI: 15.                                        10 work tomorrow a.m. as usual.
11               (Power Exhibit No. 15                           11        Is that right?
12                marked for identification.)                    12     A. Yes. That's what the email reads.
13 BY MR. SEDAEI:                                                13     Q. Do you recall how long after your meeting
14     Q. I'm showing you what's been marked as                  14 with Ms. Dziubla on the 26th you received this
15 Exhibit 15. It's a few pages. But if you want to              15 email? And I ask because the time stamp is 10:23.
16 flip through the pages and tell me if you have seen           16 And you're saying that at that point, you had
17 these emails before.                                          17 already met that day.
18     A. Yes, I have.                                           18     A. I believe we met with her at 9:00 a.m.
19     Q. So at this point she is using her personal             19 And I'm going based on the below email where I said,
20 email address to communicate with you, correct,               20 Mike Yazbec and I can meet with you at 9 am tomorrow
21 because she didn't have access to her work email?             21 morning.
22     A. Yes.                                                   22     Q. Okay. Do you recall how long your meeting
23     Q. Would you tell me approximately what                   23 was with Ms. Dziubla that day?
24 percentage of -- and this is all ballpark --                  24     A. Specifically, no. I would estimate it to
                                                      Page 125                                                        Page 127
 1 approximately how much of an Estimator's time is               1 be 25 minutes.
 2 spent doing walk-throughs and how much of it is                2     Q. So, ballpark, I believe she sent this
 3 spent, like, behind a computer?                                3 email about an hour after the conclusion of your
 4     A. I don't know. I'm on the accounting side.               4 meeting?
 5 I'm not that familiar with the estimating to give              5     A. Yes.
 6 that detailed of an answer.                                    6     Q. After receiving this email, did you
 7     Q. But you would agree that if she didn't                  7 discuss her email with anyone at JCA?
 8 have access to her emails or the server, she                   8     A. Yes. This email was discussed with Mike
 9 wouldn't have been able to work in any capacity as             9 Yazbec, Jim Schumacher, and Tom Schumacher.
10 an Estimator, either remotely or while in the                 10     Q. And when was that discussion?
11 office?                                                       11     A. Without trying to sound like a smartass,
12     A. I agree with that statement.                           12 after 10:23 a.m. It was sometime later that morning
13     Q. At the end of her email -- Just to back                13 after receiving this. I don't know specifically
14 up, did you write this email after you met with               14 what time.
15 her -- "her" being Ms. Dziubla -- on September 26,            15     Q. But it was in the morning; it was before
16 2017?                                                         16 noon?
17     A. Did I write what email? She wrote this                 17     A. I believe so, yes.
18 email.                                                        18     Q. What did you discuss in that meeting?
19     Q. I'm sorry. Did you receive this email                  19     A. We discussed whether or not we felt Ro
20 from Ms. Dziubla after you had met with her that              20 would be able to work comfortably in the office.
21 day?                                                          21 Because during our meeting on the 26th, Mike Yazbec
22     A. Yes.                                                   22 had asked her if she could come back to work and
23     Q. Okay. And during your meeting on the                   23 perform all the functions of her job as outlined in
24 26th, she was presented with various options -- you           24 her job description.
                                                      Page 126                                                        Page 128
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                               Michael
  Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                  53-3 Filed: - 6/26/2019
                                                       Page 36 of 73 PageID #:552
                                      Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1         And she said, Yes, as long as Jim                    1     A. That day.
 2 Schumacher is not allowed to talk to me.                     2     Q. And how was that discussed with her?
 3     Q. When she had said that, what did you or               3     A. Via a telephone call with Mike Yazbec and
 4 anybody else at that meeting say in response to her?         4 myself.
 5     A. We reminded her that Jim Schumacher owns              5     Q. Mike Yazbec and yourself?
 6 the company and that was a fairly unreasonable               6     A. Correct.
 7 request.                                                     7     Q. And this was discussed after you,
 8     Q. And you told her that you could not                   8 Mr. Yazbec, and the two Mr. Schumachers met?
 9 accommodate that request?                                    9     A. Yes.
10     A. Yes.                                                 10     Q. But Mr. Schumachers were not on the call,
11     Q. And knowing that information and your                11 were they?
12 answer, she wrote this email saying, I will be              12     A. They were not.
13 returning to work?                                          13     Q. They were not in the room?
14     A. Correct.                                             14     A. They were not. Mike and I called from my
15     Q. So would it be reasonable to say that she            15 office with the door closed. We were the only two
16 wasn't asking that that condition be met in order           16 in there.
17 for her to return to work, because you had already          17     Q. And at that point during your meeting with
18 told her that that's unacceptable?                          18 the four of you -- "the four of you" being you,
19         MS. OLSON: Objection, calls for                     19 Mr. Yazbec, and the two Schumachers -- there was a
20     speculation.                                            20 decision that Ms. Dziubla could not perform her
21     A. She did not restate that condition in her            21 functions at JCA if she comes back?
22 email.                                                      22     A. Based on her comments, we did not feel she
23         MR. SEDAEI: Would you read the question.            23 was ready to fully represent the company positively
24               (Record read as requested.)                   24 at that point in time.
                                                    Page 129                                                           Page 131
 1     A. I don't know. She did not restate that in             1     Q. And why did you feel that way?
 2 her email.                                                   2     A. One more time?
 3 BY MR. SEDAEI:                                               3     Q. Why did you feel that she could not
 4     Q. She did not restate, as a condition of her            4 represent the company?
 5 returning to work, that Mr. Schumacher not be                5     A. Based on her comments.
 6 allowed to speak with her?                                   6     Q. Okay. But again, just to clarify
 7     A. Correct, yes.                                         7 something that we went over before, she had never
 8     Q. Did you ever reach out to her to get a                8 said that she would say anything negatively about
 9 clarification on whether she was still demanding             9 JCA to any outsiders. Correct?
10 that Mr. Schumacher not speak with her, even after          10     A. On the meeting of the 20th, she said she
11 you had told her that that condition was                    11 was not in a position to go to -- yes, the 20th --
12 unacceptable?                                               12 was not in a position to go to walk-throughs and say
13     A. We did not reach out to her and question             13 she was a JCA employee; she could not represent the
14 that.                                                       14 company positively.
15     Q. Isn't it true that after receiving this              15     Q. She specifically said that last part, that
16 email, you presented Ms. -- "you" being JCA --              16 she couldn't represent the company positively?
17 presented Ms. Dziubla with a severance agreement?           17     A. Yes. She said, I cannot -- And she even
18     A. Yes. She was presented with -- she was               18 made a flag-waving motion with her arms saying, I
19 not presented -- Excuse me one second; take a sip of        19 can't say, Hey, I'm here from JCA (indicating). She
20 water.                                                      20 said, I can't do that.
21         She was not presented with a severance              21     Q. And before there was a call to Ms. Dziubla
22 agreement that day. The subject of a separation             22 to discuss the possibility of severance, did you
23 agreement was discussed with her.                           23 read this paragraph in the middle of her email where
24     Q. That day?                                            24 it starts with, I also don't appreciate, where she
                                                    Page 130                                                           Page 132
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                               Michael
  Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                  53-3 Filed: - 6/26/2019
                                                       Page 37 of 73 PageID #:553
                                       Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1 is trying to clarify what she said or meant?                    1        MR. SEDAEI: We're cutting it very close.
 2     A. I read that.                                             2     But yes, I don't think I have more than half an
 3     Q. Okay.                                                    3     hour.
 4     A. I disagreed with it.                                     4               (Whereupon a recess was taken
 5     Q. You disagreed with...                                    5               from 1:27 p.m. to 1:39 p.m.,
 6     A. Her statement.                                           6               after which the following
 7     Q. Okay. You disagreed that you had                         7               proceedings were had:)
 8 misrepresented what she had said previously?                    8               (Exit Mr. Pullos and Mr. Ruff.)
 9     A. Yes.                                                     9        MR. SEDAEI: Back on the record.
10     Q. But in any case, you're saying you saw her              10 BY MR. SEDAEI:
11 clarification on what she meant in this email,                 11     Q. So we were discussing the severance
12 right?                                                         12 agreement before the break. And there was a
13     A. I read the email.                                       13 discussion between you, Mr. Yazbec, and the two
14     Q. So after reading the email, would you say               14 Schumachers. And the four of you collectively
15 that you understood after reading the email what she           15 determined that if Ms. Dziubla were to come back to
16 meant?                                                         16 work, she would not be able to perform the functions
17     A. I can't guess on what she specifically                  17 of her job.
18 meant.                                                         18        Correct?
19     Q. I'm not asking you to guess. I'm just                   19        MS. OLSON: Object, mischaracterizes prior
20 saying, based on the plain words of her email, does            20     testimony.
21 this provide further -- whether the words of this              21 BY MR. SEDAEI:
22 email and this specific paragraph that I just                  22     Q. And feel free to clarify.
23 referenced provides clarification to you as far as             23     A. We had questions about her ability to do
24 what she meant?                                                24 so. We didn't concretely say she couldn't. We just
                                                       Page 133                                                      Page 135
 1     A. She further clarified what she said, yes.                1 questioned whether or not she would be able to.
 2     Q. And did this clarify things for you, the                 2     Q. Okay. So was there a decision actually
 3 explanation in this email?                                      3 made that Ms. Dziubla would not be allowed to come
 4     A. No.                                                      4 back to work immediately?
 5     Q. It did not?                                              5     A. Not at that time, no.
 6     A. No.                                                      6     Q. Okay. So why did JCA present Ms. Dziubla
 7     Q. So reading this email, you still --                      7 with a severance agreement after she said that she
 8     A. I understood -- Sorry.                                   8 wanted to come back to work, report back to work?
 9     Q. So reading this email, you still believed                9     A. I think I answered this already. But
10 that she might say something negative about JCA when           10 because of her negative comments is why it was
11 meeting with subcontractors or other outsiders?                11 decided to go in that direction.
12     A. We collectively did, yes.                               12     Q. So was this severance agreement offered to
13          MR. RUFF: Is this a good time to take a               13 Ms. Dziubla as an option?
14     break?                                                     14     A. Yes.
15          MR. SEDAEI: I think we were going to take             15     Q. And what do you mean by that, "as an
16     a break for lunch. I'm trying to speed it up               16 option"? What were the other options?
17     so we were done by 2:00.                                   17     A. Come back to work. Well, it was
18          MR. RUFF: I just want to take 5 minutes.              18 originally put at that point -- No, I'm sorry. Let
19          MR. SEDAEI: Okay, yes.                                19 me -- No. At that point there weren't other options
20          MR. RUFF: Do you think you're going to be             20 at that point. We were just presenting her with a
21     done by 2:00 with this witness?                            21 separation agreement.
22          MR. SEDAEI: Well, if we're taking 5, it               22     Q. To come back to work. Just to clarify
23     might go a little after 2:00.                              23 what you just said, coming back to work was not an
24          MR. RUFF: Yes, I understand.                          24 option as of September 26th?
                                                       Page 134                                                      Page 136
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                              Michael
 Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                 53-3 Filed: - 6/26/2019
                                                      Page 38 of 73 PageID #:554
                                     Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1    A. I shouldn't say that. That's incorrect,                  1 BY MR. SEDAEI:
 2 because we -- it was still an option. Hang on. Let             2     Q. So at this point, would it be accurate to
 3 me back up.                                                    3 say that you -- "you" being JCA -- and Ms. Dziubla
 4    Q. Sure.                                                    4 were engaging in a discussion about what the terms
 5    A. I know what I'm thinking. Just the words                 5 of an acceptable severance agreement would be?
 6 aren't there.                                                  6     A. Yes, that's accurate.
 7         We had not said that she cannot come back              7     Q. Okay. But was she ever told that, You can
 8 to work. We thought it was in the best interests of            8 reject this entire severance, take no severance and
 9 both parties at that point in time to offer a                  9 sign no severance agreement, and just come back to
10 separation agreement.                                         10 work as usual and do your job?
11    Q. So was it or was it not an option for her               11     A. Yes. I answered that. We said -- I mean,
12 to come back to work if she wanted to on                      12 we didn't phrase it exactly as you did. But we told
13 September 27th, which would have been the day after           13 her that she could take that offer or come back to
14 she sent this email?                                          14 work.
15         If she wanted to come back to work and                15     Q. And you said "we," being -- Who said that?
16 reject the separation agreement, would that have              16     A. Mike Yazbec.
17 been an option for her?                                       17     Q. Okay. Do you remember when? Do you know
18    A. Yes. That actually was said to her at                   18 when?
19 some point in time during the discussions of the              19     A. I'm trying to make sure I get the dates
20 separation agreement.                                         20 right. I believe it was the 27th. At that point it
21    Q. When was that specifically told to her and              21 was the 27th, probably midday.
22 by whom?                                                      22     Q. This was on the phone?
23    A. By Mike Yazbec. We had a couple different               23     A. Yes.
24 conversations about it that spanned one evening into 24              Q. So there's no written record of it?
                                                      Page 137                                                       Page 139
 1 the following day. Because our original separation             1     A. No.
 2 agreement offer was for four weeks. She came back              2         MR. SEDAEI: This is going to be 16.
 3 and, I believe, asked for six months. We called her            3               (Power Exhibit No. 16
 4 back and said, Based on your tenure with the company           4                marked for identification.)
 5 of being less than two years -- approximately                  5 BY MR. SEDAEI:
 6 18 months -- we felt -- we would go up to six weeks.           6     Q. I'm showing you what's marked as
 7 That was what we felt was a very fair offer based on           7 Exhibit 16. Have you seen this document before?
 8 her tenure.                                                    8 And feel free to flip through it.
 9    Q. Okay.                                                    9     A. I believe I have; but give me a moment,
10    A. And then there was some additional -- You               10 please.
11 may have an email. There was an email in between.             11         Yes, I've seen this.
12         And then there was another conversation               12     Q. Okay. Are these JCA's Answers and
13 where we said, Six weeks is our best and final offer          13 Objections to Plaintiff's First Set of
14 for a separation agreement.                                   14 Interrogatories?
15         At that point in time, verbally on the                15     A. Yes.
16 phone, she said, Well, what if I don't take this?             16     Q. And on the last -- on the second-to-last
17         And she was told she could come back to               17 page, is that your signature?
18 work.                                                         18     A. Yes, it is.
19         And she said, I'll take the six weeks.                19     Q. Before these answers were submitted to
20 Send me the paperwork.                                        20 Plaintiff, did you have a chance to review all the
21         MR. SEDAEI: Would you mind reading back               21 answers and ensure that everything was accurate?
22    the last part, just the last few sentences of              22     A. Yes, I did review them.
23    the answer to me.                                          23     Q. I'm just going to flip through and see if
24               (Record read as requested.)                     24 I have any specific questions I haven't already
                                                      Page 138                                                       Page 140
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                              Michael
 Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                 53-3 Filed: - 6/26/2019
                                                      Page 39 of 73 PageID #:555
                                       Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1 asked.                                                           1         THE WITNESS: Yes, it was.
 2        Would you look at the Answer to                           2 BY MR. SEDAEI:
 3 Interrogatory Number 7. Interrogatory Number 7                   3     Q. It was exactly one week after The Kev?
 4 starts on page 4, and then the answer also starts on             4     A. Uh-huh.
 5 page 4 and goes on to page 5.                                    5 BY MR. SEDAEI:
 6        The specific question I have is, if you                   6     Q. Did JCA at some point ask Ms. Dziubla for
 7 look at page 5, the third line from the top, it says             7 assurance that Ms. Dziubla -- Strike that.
 8 that, Power, Yazbec, and J. Schumacher were involved             8        Did JCA or anyone at JCA ever ask
 9 in the investigation into Plaintiff's allegations.               9 Ms. Dziubla if she was able to perform her job and
10        I just want to make sure that I understand               10 represent JCA in a positive light?
11 the extent of Mr. Schumacher's and Mr. Yazbec's                 11     A. Yes. She was asked that question during
12 involvement. So basically you discussed a number of             12 the meeting on September 26th. And that's when she
13 meetings you had with them where you discussed the              13 responded with the comment about Jim can't talk to
14 allegations.                                                    14 her.
15        Other those meetings with you and the                    15     Q. Did she make any other comments in
16 meetings that we have discussed, did they have any              16 response to that?
17 other kind of involvement? Oh, and I believe                    17     A. No, not that I recall.
18 Mr. Schumacher spoke with Mr. Jacobsen.                         18     Q. And she didn't restate that condition in
19     A. Correct. Mr. Schumacher's other                          19 her email later when she said she was coming back to
20 involvement was speaking to Mr. Jacobsen.                       20 work?
21 Mr. Yazbec was present during all witness                       21     A. It's already been answered. But no, she
22 interviews, whether it be in person or on the phone.            22 did not.
23     Q. Okay. And do you recall him taking notes                 23     Q. You said you met with Ms. Dziubla two days
24 when listening to the witnesses?                                24 after The Kev alleged incident, correct?
                                                        Page 141                                                        Page 143
 1       A. I do not recall if he did or not.                       1     A. Yes.
 2       Q. Mr. Yazbec was present?                                 2     Q. And would you describe her -- Well, how
 3       A. Mr. Yazbec was present.                                 3 would you describe her, kind of, mood? Would you
 4       Q. The next line, fourth line from the top,                4 say she was upset?
 5   it says, JCA's investigation took place between                5     A. Yes, she was upset. She stated she was
 6   September 19, 2017, and September 27, 2017.                    6 upset.
 7          Do I recall correctly that when you met                 7     Q. And did she look upset?
 8   with Ms. Dziubla on the 25th, you already told her             8     A. Yes.
 9   the results of the investigation, which means that             9     Q. Did she cry?
10   the investigation had concluded at that point?                10     A. I don't think she did, but I don't recall.
11          MS. OLSON: Objection --                                11     Q. Did she seem angry?
12       A. We met with her on the 26th.                           12     A. She just seemed upset. I don't know if
13          MS. OLSON: -- mischaracterizes prior                   13 I'd use the word "angry."
14       testimony.                                                14         MR. SEDAEI: Next exhibit.
15   BY MR. SEDAEI:                                                15               (Power Exhibit No. 17
16       Q. Okay, go ahead. Was it not the 25th when               16               marked for identification.)
17   you --                                                        17 BY MR. SEDAEI:
18       A. Yes. Obviously, there's a discrepancy by               18     Q. Showing you what's marked as Exhibit 17,
19   two days.                                                     19 do you recognize this document?
20       Q. Okay. So September 27th is inaccurate?                 20     A. Yes, I do.
21       A. Reading this back now, yes. It probably                21     Q. This a copy of -- at least one of the
22   should be changed to the 25th.                                22 copies of the severance agreement that was presented
23          MS. OLSON: Just to clarify, the 25th was               23 to Ms. Dziubla?
24       that Monday; is that right?                               24     A. Yes.
                                                  Page 142                                                              Page 144
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                              Michael
 Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                 53-3 Filed: - 6/26/2019
                                                      Page 40 of 73 PageID #:556
                                     Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1    Q. Do you know by looking at it and the terms             1    A. I do not.
 2 included here, whether this was the first version            2        MR. SEDAEI: Okay, thanks.
 3 that was presented to her?                                   3        We're at 18, I believe.
 4    A. Yes. This was the only version we                      4              (Power Exhibit No. 18
 5 presented to her.                                            5               marked for identification.)
 6    Q. So after you engaged in kind of a                      6 BY MR. SEDAEI:
 7 back-and-forth with Ms. Dziubla regarding the                7    Q. Showing you what's marked as Exhibit 18,
 8 specific terms of the agreement, JCA didn't really           8 have you seen this document before?
 9 actually modify the terms and present her with a new         9    A. Yes, I have.
10 version of the agreement after your discussions with        10    Q. I want to draw your attention to the email
11 Ms. Dziubla?                                                11 on the top of page -- on the top of the only page on
12    A. Correct. First it was discussions only.               12 here. It's an email from you to Mr. Schumacher,
13 And then this document was sent to us when she              13 correct; Jim Schumacher?
14 agreed to it over the phone.                                14    A. Yes.
15    Q. Okay. Who drafted this document?                      15    Q. Okay. And you're stating that, She has to
16    A. Counsel.                                              16 be given 7 days to review and sign. We are lucky
17    Q. Counsel, being Mr. Boyle and his team?                17 she is under 40 years old or she would get 21 days
18    A. Yes.                                                  18 to review.
19    Q. When was it drafted?                                  19        Did I read that correctly?
20    A. On the 27th.                                          20    A. Yes, you read that correctly.
21    Q. When was it presented to Ms. Dziubla?                 21    Q. Why did you say that -- why did you
22    A. It may have been drafted on the 28th. I'm             22 consider yourself or JCA lucky that she had 7 days
23 trying to -- It was presented via email to                  23 instead of 21 days to review the agreement?
24 Ms. Dziubla on the 28th. And also a hard copy was           24    A. We just wanted to bring this matter to a
                                                    Page 145                                                   Page 147
 1 sent via UPS.                                                1 conclusion quicker.
 2     Q. When was -- Well, strike that.                        2    Q. Why did you want that?
 3        Did the severance agreement propose that              3    A. We just wanted to bring it to a resolution
 4 Ms. Dziubla release JCA from certain kinds of                4 and conclusion.
 5 liabilities? And you can look at it. You can look            5    Q. What harm would it have caused JCA if
 6 at Section 6 particularly, if it helps answer the            6 Ms. Dziubla had two additional weeks to review the
 7 question; page 2.                                            7 agreement?
 8     A. Yes, it does.                                         8    A. I don't know.
 9     Q. And is Mr. Jacobsen included in that                  9    Q. Did you want Ms. Dziubla gone as soon as
10 release?                                                    10 possible?
11     A. Yes. His name is listed here.                        11    A. No. I wanted the matter resolved.
12     Q. Why was he included in the severance                 12    Q. But you can't say why you wanted it
13 agreement?                                                  13 resolved in one week versus three weeks?
14        MS. OLSON: I'm going to object to the                14        MS. OLSON: Objection, asked and answered.
15     extent it calls for attorney/client privileged          15 BY MR. SEDAEI:
16     information.                                            16    Q. The answer was, I don't know?
17     A. I don't know the specific reason why. It             17    A. I don't know. We just wanted it resolved,
18 was drafted by Counsel.                                     18 period.
19 BY MR. SEDAEI:                                              19        MR. SEDAEI: Okay, done with that one.
20     Q. Did Mr. Schumacher tell you that he wanted           20        19.
21 Mr. Jacobsen to be included in the agreement?               21              (Power Exhibit No. 19
22     A. I do not recall that.                                22               marked for identification.)
23     Q. Do you recall Mr. Yazbec or anybody else             23 BY MR. SEDAEI:
24 from JCA telling you that?                                  24    Q. Showing you what's marked as Exhibit 19,
                                                    Page 146                                                   Page 148
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                               Michael
  Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                  53-3 Filed: - 6/26/2019
                                                       Page 41 of 73 PageID #:557
                                       Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1 do you recognize this document?                               1     Q. What would be the other option?
 2     A. Yes, I do.                                             2     A. The letter you're holding that she was
 3     Q. Is it an email chain between you and                   3 terminated.
 4 Mr. Schumacher, Jim Schumacher; the one -- at least           4     Q. Okay. After there was a discussion on --
 5 the email in the middle of the first page?                    5 was there a definitive conversation you had --
 6     A. Yes, in response to an email received from             6 again, you or anybody at JCA -- with Ms. Dziubla in
 7 Ro.                                                           7 which it was determined that, Okay, we have reached
 8     Q. Okay. And if you look at the third page,               8 the end of the road on the negotiations with the
 9 a document titled, JCA -- or Bates stamped JCA1920.           9 severance agreement, and we are not going to reach
10 And it goes to 1924.                                         10 an agreement on the terms?
11        Is that the attachment to the email?                  11     A. I do not recall a conversation like that
12     A. Yes.                                                  12 with Ms. Dziubla.
13     Q. Is that the severance agreement with                  13     Q. Okay. Do you remember or do you know of
14 Ms. Dziubla's proposed edits?                                14 you or anybody at JCA ever telling Ms. Dziubla,
15     A. Yes.                                                  15 Okay, at this point, since it seems like an
16     Q. On the email in the middle of the page to             16 agreement on the severance agreement is not an
17 Mr. Schumacher, you're saying, Jim, Here is what she         17 option anymore, you can come back to work as the
18 sent back -- it's ridiculous.                                18 only other option to preserve your job?
19        Did I read that correctly?                            19     A. I'm not aware of such conversation.
20     A. Yes. That's what I wrote at that time.                20     Q. And then you said that Ms. Dziubla was
21     Q. Okay. What did you find ridiculous about              21 actually terminated?
22 her edits?                                                   22     A. Yes.
23     A. Asking for one year's salary.                         23     Q. When was she terminated -- when was she
24     Q. Why did you think that was ridiculous?                24 told that she was terminated?
                                                     Page 149                                                       Page 151
 1     A. I thought it was very excessive.                       1     A. I believe it was October 2nd.
 2     Q. Anything else that you find ridiculous                 2        MR. SEDAEI: 20.
 3 about her edits?                                              3             (Power Exhibit No. 20
 4     A. I don't believe so.                                    4                marked for identification.)
 5     Q. When we were discussing earlier, I was                 5 BY MR. SEDAEI:
 6 asking you if Ms. Dziubla was presented with the              6     Q. I'm showing you what's marked as
 7 option to return to work.                                     7 Exhibit 20. Have you seen this document before?
 8        And you said that she was, correct?                    8     A. Yes.
 9     A. Yes.                                                   9     Q. Can you tell me what it is?
10     Q. If she didn't want to sign the agreement              10     A. It is a letter from J.C. Anderson signed
11 that we're discussing, the severance agreement?              11 by Mike Yazbec, President, sent to Rowena,
12     A. Uh-huh, yes.                                          12 terminating her employment.
13     Q. So what happened? You engaged in certain              13     Q. Okay. Who drafted this letter?
14 back-and-forth on the severance agreement.                   14     A. I do not recall.
15        And JCA and Ms. Dziubla didn't reach an               15     Q. Who made the decision to terminate
16 agreement on the terms?                                      16 Ms. Dziubla?
17     A. Correct.                                              17     A. Mike Yazbec, myself, Jim Schumacher, and
18     Q. Okay. So at that point, it seems like                 18 Tom Schumacher.
19 severance was no longer an option because there was          19     Q. When did you make the decision?
20 no agreement on the terms, correct?                          20     A. I don't recall if it was made on Friday,
21     A. Correct.                                              21 the 29th or Monday, the 2nd. I believe it was
22     Q. So then the only option that would be left            22 Monday, the 2nd.
23 would be for Ms. Dziubla to come back to work?               23     Q. Did you all meet regarding this decision?
24     A. That's not the only option.                           24     A. Yes. Tom Schumacher was not present; he
                                                     Page 150                                                  Page 152
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                               Michael
  Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                  53-3 Filed: - 6/26/2019
                                                       Page 42 of 73 PageID #:558
                                       Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1 was on the phone.                                                1     A. She may have had language like that in one
 2     Q. Okay. Tell me what you remember about the                 2 of her emails. I don't specifically recall it. But
 3 discussion.                                                      3 I can't say no to that either.
 4     A. The discussion centered around                            4     Q. Okay. Had she ever said, alternatively,
 5 Ms. Dziubla's markup comments back to us and seeing              5 that she was asking for this amount of money as part
 6 what she had marked up and knowing we wouldn't be                6 of her severance because she was angry with JCA?
 7 able to mutually agree on a separation. And reading              7     A. No.
 8 through that, we didn't feel that she was going to               8     Q. Was there any discussion during your
 9 be a good employee coming back, and we thought it                9 meeting on either September 29th or October 2nd, the
10 was best to terminate employment.                               10 meeting when the decision was made to terminate
11     Q. Would it be accurate to say that during                  11 Ms. Dziubla, that she be presented an opportunity to
12 that conversation, you decided that her coming back             12 come back to work and kind of -- on a probationary
13 to work could not be an option?                                 13 basis, based on her comments, to see if she can
14     A. At that point in time, yes.                              14 represent JCA in a positive light and go back to her
15     Q. Did something happen between                             15 old routine?
16 September 26th and September 29th or September 26th             16     A. No. That was not discussed.
17 and October 2nd -- whenever the decision was made to            17     Q. Do you believe JCA creates an environment
18 terminate Ms. Dziubla -- that led this group of                 18 for employees where everyone can feel respected?
19 individuals you just mentioned to conclude that                 19     A. Yes.
20 returning to work should not be an option for                   20     Q. And that it would include women?
21 Ms. Dziubla?                                                    21     A. Yes.
22     A. Yes. It was based on the receipt of her                  22     Q. Minorities?
23 comments back on the markup.                                    23     A. Yes.
24     Q. What was it about the comments that led                  24     Q. Are there any employees at JCA who are not
                                                        Page 153                                                         Page 155
 1 the group to decide that she should no longer have               1 Caucasian? First start with the office.
 2 the option to return to work if she wanted?                      2     A. I'm just trying to think through.
 3     A. I don't recall -- for starters, it was the                3        MS. OLSON: Current employees?
 4 dollar amount she was asking for.                                4        MR. SEDAEI: Yes, current employees.
 5     Q. But that was for -- if she were to agree                  5     A. I believe all office employees are
 6 to separate. But if not, had she asked for some                  6 Caucasian.
 7 kind of a raise for, like, you know -- or any change             7 BY MR. SEDAEI:
 8 in her terms and conditions of employment if she                 8     Q. Okay, now let's go to the field. Can you
 9 returned to work?                                                9 think of any JCA employees who are not Caucasian?
10     A. Had she asked? No, she had not.                          10     A. Yes. There are a number of non-Caucasian
11     Q. Okay. So why would her markup on the                     11 field employees.
12 severance agreement be relevant to whether she would            12     Q. A number...
13 be a good employee at JCA?                                      13     A. A fair number. I'm trying to quantify it
14     A. To change from six weeks to $80,000, we                  14 for you. I would estimate at least 20.
15 could tell she appeared to be angry with us -- that             15     Q. And when you say they're not Caucasian,
16 was our interpretation -- and we did not feel she               16 like, what ethnicities are we talking about?
17 would be a good employee coming back.                           17     A. African-American or Hispanic.
18     Q. But hadn't she presented you reasons for                 18     Q. Of those minorities, are they pretty much
19 why she wanted a longer term of pay as part of the              19 half and half split between the two; or is there
20 severance? And, specifically, I'm talking about her             20 more of one than the other? Or is there another
21 saying that, It's -- something along the lines of,              21 ethnicity that you didn't mention?
22 It's a tough job market and I have to look for a new            22     A. I don't know specifically.
23 job, and she wanted some kind of security in that               23     Q. Okay. Are you aware of any JCA employees
24 regard?                                                         24 making racially insensitive comments at the office
                                                        Page 154                                                         Page 156
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                               Michael
  Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                  53-3 Filed: - 6/26/2019
                                                       Page 43 of 73 PageID #:559
                                     Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1 in your presence?                                         1 topic at JCA?
 2     A. No, I'm not aware of any comments in my            2     A. Not to my knowledge.
 3 presence.                                                 3     Q. Okay. So, to your knowledge, JCA hasn't
 4     Q. Has anybody ever brought any comments they         4 specifically definitively decided that, We're not
 5 heard that they considered to be sensitive to your        5 going to engage -- or that JCA is not going to
 6 attention?                                                6 engage Mr. Jacobsen in future events?
 7     A. No, not prior to this matter.                      7     A. Correct.
 8     Q. Do you ever spend any time in the lunch            8     Q. Did you ever ask -- Oh, okay.
 9 room?                                                     9        So I disclosed a copy of the handbook,
10     A. I spend very minimal time in there.               10 correct? Do you remember that?
11     Q. Okay. Are you ever there when people are          11     A. Yes.
12 watching T.V.?                                           12     Q. I think it's Exhibit 2.
13     A. Not usually, no.                                  13     A. Yes.
14     Q. Have you ever been there while people are         14     Q. And you stated that -- Let me just back
15 watching T.V.?                                           15 up.
16     A. Have I been? Yes.                                 16        Was Ms. Dziubla provided with a copy of
17     Q. Do you ever recall seeing them watching a         17 the handbook -- When was she provided with a copy?
18 show called "The Cheaters"?                              18     A. When she was hired.
19     A. I don't recall what was on the T.V.               19     Q. So the first day, maybe?
20     Q. Do you recall hearing any employees refer         20     A. Yes.
21 to black people on T.V. as orangutans while you were     21     Q. Okay. And did you ever ask her to turn in
22 in the lunch room?                                       22 this handbook to you when she left?
23     A. No, I have not heard that.                        23     A. I don't recall specifically asking for
24     Q. Are you aware -- are JCA's clients aware          24 that. I believe we sent a statement that said,
                                                 Page 157                                                          Page 159
 1 of this lawsuit?                                          1 Please return all company property, including --
 2     A. I don't know.                                      2 that we outlined.
 3     Q. Have you personally had a conversation             3        We said, (Reading) Please return all
 4 with anyone from any of your clients' companies           4 company property to J.C. Anderson, Inc., including
 5 regarding this lawsuit?                                   5 keys, gate fob, cell phone, laptop computer, and any
 6     A. No, I have not.                                    6 other company property you have in your possession.
 7     Q. Have you had any discussions with anyone           7        So yes, we did.
 8 during this lawsuit, period, other than the               8     Q. But "handbook" wasn't specifically
 9 individuals at JCA?                                       9 mentioned, right?
10     A. No.                                               10     A. It was not specifically -- well, it was,
11     Q. Have you ever had any discussions with            11 because it's company property.
12 Andy Stegman regarding this lawsuit? Is it Stegman?      12     Q. Yes. But there were a number of items --
13     A. I believe so. I know who he is. I don't           13     A. Did it say "handbook" on there? No, it
14 know him personally.                                     14 did not.
15     Q. Okay.                                             15     Q. Okay. But a number of other items were
16     A. So no, I have not had any conversations           16 specifically mentioned?
17 with him.                                                17     A. Yes.
18     Q. Do you know if anyone at JCA has had any          18        MR. SEDAEI: Mark this as the next
19 such conversations with him?                             19     exhibit.
20     A. I don't know for sure, no.                        20                (Power Exhibit No. 21
21     Q. Is JCA planning to engage Mr. Jacobsen in         21                marked for identification.)
22 other events in the future?                              22 BY MR. SEDAEI:
23     A. Not to my knowledge.                              23     Q. Showing you what was marked as Exhibit 21.
24     Q. Has there been a specific decision on the         24     A. Okay.
                                                 Page 158                                                          Page 160
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                               Michael
  Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                  53-3 Filed: - 6/26/2019
                                                       Page 44 of 73 PageID #:560
                                        Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1      Q. Have you seen this document before?                  1 she was not distraught?
 2      A. Yes.                                                 2     A. I'm not implying anything.
 3     Q. Is that an email exchange between you and             3     Q. So tell me what that means, then. Are you
 4   Ms. Dziubla?                                               4 saying that somebody who is distraught would be
 5     A. Yes.                                                  5 looking -- working and soliciting JCA subs?
 6     Q. And toward the top of that page, on                   6     A. I was saying that we were -- I was
 7   Tuesday, October 3, 2017, at 9:22 a.m., is that an         7 surprised to receive this email forwarded that she
 8 email from you to Ms. Dziubla?                               8 was soliciting our subs because she had said she was
 9    A. It appears to be.                                      9 very distraught and couldn't work or sleep or eat
10    Q. Okay. And does the email read, Please                 10 much.
11 send your keys, gate fob and phone in the UPS               11     Q. So you believe that her working -- if she
12 envelope already provided. We will include                  12 was, in fact, working and soliciting JCA subs, that
13 packaging materials for your laptop with your               13 was inconsistent with being distraught?
14 personal items.                                             14     A. Yes.
15        Did I read that correctly?                           15     Q. What do you think would have been the
16      A. Yes.                                                16 appropriate or expected way to act if she was
17      Q. Was that the entire email?                          17 distraught?
18      A. It appears to be.                                   18     A. I don't think she would be working one day
19      Q. Would it be fair to say that there is no            19 later.
20 reference of the manual, the JCA manual, in this            20     Q. You don't think she would be looking for a
21 email?                                                      21 new job after she was told she was terminated?
22      A. Not in this email. It was previously                22     A. No. I didn't say that.
23 covered in her termination letter as company                23     Q. Okay.
24 property.                                                   24     A. I said I didn't think she would be
                                                    Page 161                                                         Page 163
 1     Q. I understand; we already discussed that.              1 working. Looking and working are two different
 2 I'm just talking about this email.                           2 things.
 3     A. Okay.                                                 3     Q. Okay. Why do you think that?
 4         MR. SEDAEI: 22.                                      4     A. Why do I think that?
 5               (Power Exhibit No. 22                          5     Q. Yes.
 6                marked for identification.)                   6     A. Because they are.
 7 BY MR. SEDAEI:                                               7     Q. That if somebody was distraught, they
 8     Q. Showing you what's marked as Exhibit 22,              8 can't be working while distraught?
 9 do you recognize this document?                              9     A. She told us she couldn't work when she was
10     A. Yes, I do.                                           10 distraught, so no. And I'm speaking specifically to
11     Q. Is that an email from you on top, from you           11 her comments to us, not making a generalization.
12 to a number of individuals; Mr. Yazbec, I believe,          12     Q. But she had already told JCA that she was
13 and Mr. Boulukos, and then cc:'d is Jim Schumacher?         13 ready to work at JCA. She had told you that in an
14     A. Yes, it is.                                          14 email that she sent in late September.
15     Q. Okay. And does the email read, She is so             15          We already discussed that, didn't we?
16 distraught she is already working and soliciting our        16     A. Yes, we discussed it.
17 subs.                                                       17     Q. So what makes you think that -- so what
18     A. That's accurate.                                     18 are you talking about when you say she had said
19     Q. And that's on October 3rd?                           19 something that made you conclude she wasn't ready to
20     A. (No response.)                                       20 work?
21     Q. I'm sorry. The date of the email is                  21     A. She had previously told us she wasn't
22 October 3rd?                                                22 ready to work.
23     A. Yes.                                                 23     Q. And any comments that she had made about
24     Q. Okay. In the email are you implying that             24 her ability to work, wasn't that related to her
                                                    Page 162                                                         Page 164
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                               Michael
  Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                  53-3 Filed: - 6/26/2019
                                                       Page 45 of 73 PageID #:561
                                        Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1 working at JCA?                                              1     A. Yes.
 2     A. Yes. But we didn't feel they were genuine             2     Q. And on top Mr. Garland is forwarding the
 3 because she ended it with, I need a paycheck.                3 message to you; is that right?
 4     Q. When she said that she needed a paycheck,             4     A. Correct.
 5 didn't she say that in response to the options she           5     Q. Do you know why Mr. Stegman was sending
 6 was presented, the only one of which was -- other            6 that email to Mr. Garland?
 7 than her returning to work was the FMLA option --            7     A. Just sharing what he had received from Ro.
 8     A. Yes.                                                  8 And Greg is one of his main contacts in our office.
 9     Q. -- which was a non-paid option?                       9     Q. Do you know if Mr. Garland had asked
10     A. Correct.                                             10 Mr. Stegman to share any communications coming from
11     Q. Okay. If she was reaching to JCA subs                11 Ro with him?
12 after her termination, was there anything wrong with        12     A. I do not know.
13 that?                                                       13     Q. Do you know why Mr. Garland is forwarding
14     A. (No response.)                                       14 this message to you?
15     Q. Was she not supposed to do that, according           15     A. Just so I can be aware of what was sent
16 to what you believe?                                        16 out or what he received.
17     A. Personally, I don't know if there was                17     Q. Had you asked any JCA employees to forward
18 anything wrong with it. She could have been                 18 any communications coming from Ms. Dziubla to you?
19 reaching out to someone who was a personal contact 19              A. I don't recall specifically asking that.
20 prior to coming to J.C. Anderson.                           20     Q. Do you recall anybody else asking JCA
21     Q. And that would have been okay?                       21 employees to do that?
22     A. If it's been a long-standing contact, yes.           22     A. I do not recall.
23     Q. What if it was not a long-standing                   23        MR. SEDAEI: 24.
24 contact, but it was a contact she had before she            24
                                                    Page 165                                                        Page 167
 1 joined JCA?                                                  1               (Power Exhibit No. 24
 2     A. Yes.                                                  2                marked for identification.)
 3     Q. And JCA didn't have any specific policy               3 BY MR. SEDAEI:
 4 that prohibited all former employees of JCA from             4     Q. Showing you what's marked as Exhibit 24,
 5 communicating with any of JCA's subcontractors after         5 have you seen this chain of emails between you and
 6 the former employee departs JCA?                             6 Rachael Weil?
 7     A. There is a confidentiality agreement and              7     A. I see it now in front of me. I don't
 8 document -- I don't know the specific title of it --         8 remember it back at that time.
 9 that covers non-compete and confidentiality. But Ro          9     Q. Okay. And is it accurate that Rachael
10 was not subject to that document. Some of our               10 Weil is reaching out to you and saying that
11 Project Managers are.                                       11 Ms. Dziubla had tried to recruit her?
12     Q. Okay. You said Ms. Dziubla was not                   12     A. Yes, that's accurate.
13 subject to that contract, correct?                          13     Q. Okay. And on October 18th, towards the
14     A. Correct. She did not sign one.                       14 middle of the page, you're sending an email to
15         MR. SEDAEI: 23.                                     15 Ms. Weil saying, Can you share with me what she sent
16               (Power Exhibit No. 23                         16 you? Legally we can't do anything about it. I'm
17                marked for identification.)                  17 just curious to see what she is doing.
18 BY MR. SEDAEI:                                              18        Did I read that accurately?
19     Q. I'm showing you what's marked as                     19     A. Yes, it's accurate.
20 Exhibit 23. Have you seen this document before?             20     Q. So this is weeks after Ms. Dziubla was
21     A. Yes.                                                 21 terminated, right?
22     Q. The bottom part of the page on                       22     A. Correct.
23 October 3rd, is that an email from Andy Stegman to          23     Q. So why were you curious to see what she
24 Mr. Garland?                                                24 was doing?
                                                    Page 166                                                        Page 168
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                               Michael
  Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                  53-3 Filed: - 6/26/2019
                                                       Page 46 of 73 PageID #:562
                                     Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1     A. I was just curious; that's all.                      1 shouldn't say defense. That's the wrong word.
 2     Q. No specific reason?                                  2     Q. The email is from you to Mr. Yazbec?
 3     A. No.                                                  3     A. Yes.
 4        MR. SEDAEI: 25.                                      4     Q. And it is on July 7, 2018?
 5               (Power Exhibit No. 25                         5     A. Correct.
 6               marked for identification.)                   6     Q. How --
 7 BY MR. SEDAEI:                                              7     A. I was going to answer your next question.
 8     Q. I'm showing you what is marked as                    8 I don't recall how I was made aware of this.
 9 Exhibit 25. Have you seen this email before?                9     Q. Okay, that wasn't going to be my next
10     A. Yes.                                                10 question.
11     Q. So this is an -- at the bottom it's an              11     A. That's what I thought.
12 email from Ms. Dziubla to a number of individuals,         12     Q. Thank you for adding details.
13 correct; Emily Armstrong, John Watts. I think those        13        My question was going to be, Why did you
14 are the individuals I see.                                 14 forward this to Mr. Yazbec?
15        Do you see that?                                    15     A. I just thought he would be interested to
16     A. Yes, I do.                                          16 see it.
17     Q. Do you know those individuals, Emily                17     Q. Why do you think he would be interested?
18 Armstrong and John Watts?                                  18     A. Because he's the President of the company
19     A. No, I do not.                                       19 and this was her statements about the company or her
20     Q. So they're not JCA employees?                       20 lawsuit against the company.
21     A. No, they are not.                                   21     Q. She doesn't mention the company
22     Q. And then towards the middle, it seems like          22 specifically, correct?
23 the message is being forwarded from Mr. Stegman to         23     A. No, she does not.
24 Mr. Garland; is that right?                                24     Q. Okay. Did you have a discussion with
                                                   Page 169                                                      Page 171
 1     A. Yes.                                                 1 Mr. Yazbec about this?
 2     Q. And on top Mr. Garland is again forwarding           2     A. I don't recall having a full discussion
 3 the message to you?                                         3 about it. I think it was more informative. But,
 4     A. Yes.                                                 4 like I said, I don't recall a specific discussion.
 5     Q. So, again, you didn't ask for                        5     Q. You just forwarded an email and you didn't
 6 communications from Ms. Dziubla to be forwarded to          6 talk about it afterwards?
 7 you?                                                        7     A. He may have made a comment to me of Oh,
 8     A. No. I do not recall asking specifically              8 that's interesting, or something along those lines.
 9 for that.                                                   9 But, like I said, I don't remember a full
10     Q. Mr. Garland was just doing that on his own          10 conversation about it.
11 accord?                                                    11           MR. SEDAEI: 27.
12     A. Yes.                                                12                 (Power Exhibit No. 27
13        MR. SEDAEI: 26.                                     13                 marked for identification.)
14               (Power Exhibit No. 26                        14 BY MR. SEDAEI:
15               marked for identification.)                  15     Q. This is just an email, now three days
16 BY MR. SEDAEI:                                             16 later. So I'm talking about Exhibit 27 that we just
17     Q. I'm showing you what's marked as                    17 presented to you. This is three days after you sent
18 Exhibit 26. Have you seen this document before?            18 the email to Mr. Power [sic] and this email to
19     A. Yes, I have.                                        19 Mr. Boulukos.
20     Q. Can you tell me what it is?                         20           And on top you're saying, FYI, Per our
21     A. It is me forwarding a link and some --              21 discussion.
22 part of the page of a form of a GoFundMe-type page         22     A. This email is not from me.
23 that Ro had set up, looking for people to help her         23     Q. Oh, I'm sorry. You're right, it's not
24 contribute to a defense fund -- or a legal fund. I         24 from you.
                                                   Page 170                                                      Page 172
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                              Michael
 Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                 53-3 Filed: - 6/26/2019
                                                      Page 47 of 73 PageID #:563
                                        Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1        But it's an -- Yes, I misstated. I'm                   1 on the 20th and when Mike Yazbec and I met with her
 2 sorry. I meant to say it's from Mr. Yazbec to                 2 on the 26th.
 3 Mr. Boulukos. Right?                                          3     Q. So can you tell me which part of the notes
 4     A. Yes.                                                   4 relates to which meeting?
 5     Q. But he's referencing a discussion?                     5     A. Would you like me to go by the number on
 6     A. Correct.                                               6 the bottom right; 1931.
 7     Q. FYI, Per our discussion.                               7     Q. Let me just back up. It seems like first
 8        I just presented that to you to see if                 8 there are two pages of handwritten notes.
 9 that refreshes your memory as far as whether you              9        The first two pages, correct, JCA1929
10 were part of that discussion, if such a discussion           10 JCA1930. Correct?
11 actually took place?                                         11     A. Yes.
12     A. I do not recall being part of a                       12     Q. So first focus on the handwritten notes.
13 discussion.                                                  13     A. Okay.
14     Q. Okay.                                                 14     Q. When did you write these notes?
15     A. And I was not part of this email.                     15     A. I wrote these while sitting talking with
16     Q. Have you discussed Ms. Dziubla's GoFundMe             16 Ro.
17 page at any point with anyone at JCA?                        17     Q. Okay. So now we go to the third page,
18     A. I don't recall.                                       18 which is Bates stamped JCA001931. Do you see that?
19        MR. SEDAEI: Let me just have a quick chat             19     A. Yes.
20     with my client, and then I'm done.                       20     Q. And then those -- JCA1931, JCA1932, and
21        MS. OLSON: Okay.                                      21 JCA1933 are typewritten. Correct?
22        MR. SEDAEI: Are you going to have any                 22     A. Yes.
23     follow-ups?                                              23     Q. And when did you write these notes, these
24        MS. OLSON: Minor.                                     24 typewritten notes?
                                                     Page 173                                                        Page 175
 1               (Whereupon a recess was taken                   1     A. Right after, on -- the ones from the 20th
 2                   from 2:39 p.m. to 2:46 p.m,                 2 I typed on the 20th. And the 26th I typed on the
 3                   after which the following                   3 26th. I just added to the existing file.
 4                   proceedings were had:)                      4     Q. Okay. So everything in this exhibit was
 5        MR. SEDAEI: So I'm done. I don't have                  5 written on or before September 26, 2017?
 6     any other questions.                                      6     A. Yes, I believe so.
 7        MS. OLSON: I just have a brief                         7     Q. Do you know why, when we -- when
 8     redirect --                                               8 Ms. Dziubla initially sent her document request,
 9        MR. SEDAEI: Sorry to interrupt you. I                  9 that this document was not included as part of JCA's
10    just saw that there's just one thing that I               10 original document production to us?
11     wanted to run by Mr. Power just one more time.           11     A. I do not know. I forwarded it to Counsel
12        MS. OLSON: Okay, sure.                                12 very early on in the process.
13        MR. SEDAEI: This is a document that was               13     Q. Okay. I don't think I have any specific
14     sent last night. I had it on the side, so I              14 questions about -- I just had questions about the
15     didn't have it in my notes.                              15 notes.
16        This will be the last exhibit.                        16          And I do want to confirm that you are the
17               (Power Exhibit No. 28                          17 author of everything in this exhibit, correct?
18                   marked for identification.)                18     A. Yes.
19 BY MR. SEDAEI:                                               19          MR. SEDAEI: Okay, I have no other
20     Q. Mr. Power, I'm showing you what's marked              20     questions.
21 as Exhibit 28. Have you seen this document before?           21              CROSS-EXAMINATION
22     A. Yes, I have.                                          22 BY MS. OLSON:
23     Q. Can you tell me what it is?                           23     Q. I'm going to turn your attention to
24     A. These are notes I took when I met with Ro             24 Exhibit No. 2, the employee handbook.
                                                     Page 174                                                        Page 176
                                               Worldwide Litigation Services
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                               Michael
  Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                  53-3 Filed: - 6/26/2019
                                                       Page 48 of 73 PageID #:564
                                       Rowena Dziubla vs. J.C. Anderson, Inc., et al.
 1     A. Okay.                                                  1 discussion?
 2     Q. Page 1062.                                             2     A. That I just shared with them what Ro had
 3     A. Okay.                                                  3 told me about her day at The Kev and her
 4     Q. This goes through the Attendance policy,               4 interactions with Peter Jacobsen.
 5 correct?                                                      5     Q. So I want to direct your attention to a
 6     A. Yes.                                                   6 conversation that you had with Mike Yazbec, Jim
 7     Q. And earlier on Counsel was asking you                  7 Schumacher, Tom Schumacher, and yourself after you
 8 about the three bulleted points in the middle of the          8 had received Ms. Dziubla's markup of the separation
 9 policy, correct?                                              9 agreement.
10     A. Yes.                                                  10     A. Okay.
11     Q. I want to draw your attention to the third            11     Q. I believe that conversation, you said,
12 paragraph, the second sentence, where it says, The           12 occurred either on 9-29 or 10-2 --
13 Company reserves the right, depending on the                 13     A. Correct.
14 severity of the conduct and/or the individual                14     Q. -- does that sound correct? Okay.
15 circumstances of a particular situation, to skip             15        And Counsel had asked you what led the
16 some or all of the steps outlined above, or to issue         16 group -- or words to that effect -- what led the
17 alternative discipline. The exercise of this right           17 group to conclude that the termination was
18 may result in termination without any prior warning.         18 appropriate at that time.
19        Did I read that correctly?                            19        Do you recall him asking you about that?
20     A. Yes, you did.                                         20     A. Yes.
21     Q. So is it your understanding that under the            21     Q. And I believe your response was that,
22 policy, it is not necessary to follow the three              22 based on her receipt -- based on the company's
23 bulleted points in every instance?                           23 receipt of her comments, you had considered her
24     A. Correct, yes.                                         24 markup of the severance agreement in the
                                                     Page 177                                                            Page 179
 1     Q. Okay. I want to revisit briefly a                      1 conversation of whether termination was appropriate?
 2 conversation that you had either late morning or              2     A. Yes.
 3 early afternoon on 9-20 after you had met with                3     Q. Is it also fair to say that, during that
 4 Ms. Dziubla on site.                                          4 conversation, the group also considered her
 5     A. Uh-huh.                                                5 inability or unwillingness up to that point to give
 6     Q. I believe you said you came back and you               6 any assurances that she could perform the duties of
 7 spoke with Mike Yazbec, Jim Schumacher, and Tom               7 her job and positively represent the company?
 8 Schumacher; is that correct?                                  8     A. Yes.
 9     A. Yes.                                                   9        MS. OLSON: No further questions.
10     Q. And Counsel had asked you what was                    10        MR. SEDAEI: Okay, nothing from me.
11 discussed during the course of that meeting,                 11        MS. OLSON: We'll reserve.
12 correct?                                                     12        MR. SEDAEI: Electronic, please.
13     A. Yes.                                                  13        MS. OLSON: We'll order a copy;
14     Q. And if I recall correctly, you had said               14     electronic.
15 that you discussed Plaintiff's statements regarding          15        MS. CRONIN: Electronic, please.
16 the company being toxic; you discussed her                   16               (WITNESS EXCUSED.)
17 complaints regarding the company; and her concerns           17
18 regarding coworkers?                                         18
19     A. Yes.                                                  19
20     Q. Did you also discuss your discussion with             20
21 her earlier that day about the incident that                 21
22 occurred at The Kev?                                         22
23     A. Yes, we did.                                          23
24     Q. And what do you recall about that                     24
                                                     Page 178                                                            Page 180
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                             Michael
Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                53-3 Filed: - 6/26/2019
                                                     Page 49 of 73 PageID #:565
                       Rowena Dziubla vs. J.C. Anderson, Inc., et al.

 1               IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
 2                         EASTERN DIVISION
 3
      ROWENA DZIUBLA,                                              )
 4                                                                 )
                            Plaintiff,                             )
 5                                                                 )
             vs.                                                   ) Case No.
 6                                                                 ) 1:18-cv-4542
      J.C. ANDERSON, INC., and                                     )
 7    PETER ERLING JACOBSEN,                                       )
                                                                   )
 8                          Defendants.                            )
 9

10                   I, MICHAEL J. POWER, JR., being first duly
11    sworn, on oath say that I am the deponent in the
12    aforesaid deposition taken on June 26, 2019; that I
13    have read the foregoing transcript of my deposition,
14    consisting of pages 1 through 180 inclusive, and
15    affix my signature to same.
16                        _____        No corrections have been made.
17                        _____        Corrections have been made and
                                       are included with the following
18                                     errata sheet(s).
19                                         _____________________________
20                                              MICHAEL J. POWER, JR.
21
      SUBSCRIBED AND SWORN TO
22    before me this ________
      day of _________ 20 .
23    _______________________
24           Notary Public

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                             Michael
Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                53-3 Filed: - 6/26/2019
                                                     Page 50 of 73 PageID #:566
                       Rowena Dziubla vs. J.C. Anderson, Inc., et al.

 1    STATE OF ILLINOIS                       )
                                              ) SS.
 2    COUNTY OF COOK                          )
 3

 4                   I, GABRIELLE PUDLO, Certified Shorthand
 5    Reporter No. 084-004173, and Notary Public within
 6    and for the County of Cook and State of Illinois, do
 7    hereby certify that on June 26, 2019, at 9:30 a.m.,
 8    20 South Clark Street, Suite 500, in the City of
 9    Chicago, Illinois, the deponent, MICHAEL J. POWER,
10    JR., personally appeared before me.
11                   I further certify that MICHAEL J. POWER,
12    JR. Was by me duly sworn to testify the truth and
13    that the foregoing is a true record of the testimony
14    given by MICHAEL J. POWER, JR.
15                   I further certify that the deposition
16    terminated at 2:55 p.m.
17                   I further certify that there were present
18    at the taking of the said deposition the persons and
19    parties as indicated on the appearance page made a
20    part of this deposition transcript.
21                   I further certify that the signature of
22    the witness to the foregoing deposition was reserved
23    by agreement of counsel; and that I am not counsel
24    for nor in any way related to any of the parties to

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                             Michael
Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                53-3 Filed: - 6/26/2019
                                                     Page 51 of 73 PageID #:567
                       Rowena Dziubla vs. J.C. Anderson, Inc., et al.

 1     this suit, nor am I in any way interested in the
 2    outcome thereof.
 3                   IN TESTIMONY WHEREOF, I have hereunto set
 4    my hand and affixed my notarial seal on this
 5    12th day of July, 2019.
 6
      /s/ Gabrielle Pudlo
 7                                     _______________________________
                                       GABRIELLE PUDLO, CSR
 8                                     Notary Public
                                       License No. 084-004173
 9                                     Expiration Date: May 31, 2021
10

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                             Michael
Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                53-3 Filed: - 6/26/2019
                                                     Page 52 of 73 PageID #:568
                         Rowena Dziubla vs. J.C. Anderson, Inc., et al.

WORD INDEX             124 3:20                  2:39 174:2               26 1:19 4:9 36:21
                       125 3:21                  2:46 174:2                53:13, 17 120:11
< >                    12th 183:5                2:55 182:16               121:24 123:8
 183:5                 13 3:19 114:21, 22        20 1:17 2:3 4:3           126:15 170:13, 14,
                        115:3                     120:13, 18 122:10       18 176:5 181:12
<$>                    14 3:20 9:7 64:2           152:2, 3, 7 156:14       182:7
$80,000 154:14          124:5, 6, 10              181:22 182:8            26th 116:9 118:12
                       140 3:22                  2003 15:3                 119:16, 23 120:10,
<0>                    144 3:23                  2010 14:10               10 126:24 127:8, 14
001053 63:9            147 4:1                   2011 9:7                  128:21 136:24
084-004173 182:5       148 4:2                   2012 9:18 59:9            142:12 143:12
 183:8                 15 3:21 52:4 67:8,        2013 10:13 59:13,         153:16, 16 175:2
                       11 100:20 125:10,         14 94:17                  176:2, 3
<1>                    11, 15                    2016 9:12 22:19          27 4:10 26:3
1 2:13 3:7 36:13,      152 4:3                    122:10                   91:17, 18 92:5
14, 18, 22 52:5 79:1   16 3:22 52:4, 8, 9,       2017 28:4, 4 34:5         142:6 172:11, 12, 16
 83:16 84:9 181:14     13, 13 140:2, 3, 7         52:1, 14, 22 53:13,     27th 137:13 139:20,
1:00 65:12             16.0 52:10                17 60:23 72:19           21 142:20 145:20
1:18-cv-4542 1:6       160 4:4                    79:14 80:5 107:12       28 4:11 174:17, 21
 181:6                 162 4:5                    120:11, 13, 18          28th 145:22, 24
1:27 135:5             166 4:6                    121:12 122:1            29th 152:21 153:16
1:39 135:5             168 4:7                    123:8 126:16             155:9
10 3:16 67:8, 11       169 4:8                    142:6, 6 161:7          2nd 55:14 152:1,
 100:20 104:19, 20,    17 3:23 144:15, 18         176:5                   21, 22 153:17 155:9
23                     170 4:9                   2018 24:14 36:1
10,000 61:19           172 4:10                   121:12 171:4            <3>
10:00 88:18 116:13     174 4:11                  2019 1:19 181:12         3 3:9 51:10, 11, 21
10:23 127:15           176 3:4                    182:7 183:5              53:12 161:7
 128:12                18 4:1 72:19              2021 183:9               3:05 84:23
10:37 44:1              138:6 147:3, 4, 7        20th 86:8 87:17          31 183:9
10:46 44:1             180 181:14                 88:11, 12, 17 115:9     312 2:4, 9, 14, 19
100 67:2, 3            1879 15:10                 119:3, 8, 15 120:9,     31st 2:18
10-2 179:12            18th 75:2 168:13          10 121:24 123:4          332-6733 2:4
104 3:16               19 4:2 79:14               132:10, 11 175:1        36 3:7
106 3:17                107:12 142:6              176:1, 2                39 3:8
1061 54:5               148:20, 21, 24           21 4:4 147:17, 23        3rd 55:14 162:19,
1062 54:4, 6 177:2     1924 149:10                160:20, 23              22 166:23
1094 42:8, 18          1931 175:6                22 4:5 162:4, 5, 8
11 3:17 106:21, 22     1999 15:4                 222 2:8                  <4>
 107:3                 19th 75:2 76:1            23 4:6 92:9              4 3:10 69:21, 22
11:00 88:14, 14         79:14 80:5 85:17          166:15, 16, 20           141:4, 5
112 3:18                99:21 100:14 118:3       24 4:7 167:23            4:28 124:16
114 3:19               1st 55:14 56:3             168:1, 4                40 26:4 92:16, 19
12 3:18 112:7, 8, 11                             25 4:8 128:1              147:17
12:00 88:14            <2>                        169:4, 5, 9
12:00o'clock 88:14     2 3:8 39:2, 3, 7          2500 2:13                <5>
12:14 95:12             43:19 54:3 62:23         25th 115:6, 22, 24       5 3:3, 11 43:21
12:25 95:12             146:7 159:12              117:13, 22 124:16,       78:18, 19, 23 134:18,
12:30-ish 80:23         176:24                   19 125:1, 2, 5, 8        22 141:5, 7
120 2:18               2:00 134:17, 21, 23        142:8, 16, 22, 23       5:00 65:13


                               Worldwide Litigation Services
                           (312) 528-9111 | info@worldwidelit.com                          Page 1
                             Michael
Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                53-3 Filed: - 6/26/2019
                                                     Page 53 of 73 PageID #:569
                         Rowena Dziubla vs. J.C. Anderson, Inc., et al.

500 1:18 2:3 182:8      127:10, 18 128:12        Adam 33:5 99:1            96:8 101:18 121:8
50s 92:17               161:7 182:7               100:10 101:1             141:9, 14
51 3:9                 Abby 68:17 99:2            113:18 114:2            alleged 17:21 18:2
578-7458 2:14           100:10, 24 114:15        add 26:18, 21             69:8 73:6 78:9
                       ability 7:7, 12           added 12:2 176:3          84:22 89:9 94:10
<6>                     135:23 164:24            adding 171:12             96:21 99:16
6 3:12 42:20 83:5,     able 31:14 32:22          addition 38:3             112:24 113:21
6, 9 146:6              34:10 126:9              additional 10:4, 6        116:1 120:15
6:00 7:5                128:20 135:16             48:16, 24 49:1, 3        143:24
6:51 107:12             136:1 143:9 153:7         55:11 138:10 148:6      allegedly 121:7
60601 2:8              above-entitled 1:12       address 125:20           all-encompassing
60602 2:19             absent 55:3 56:1          addressed 81:3            99:13
60603 2:3              absolutely 95:10          addresses 48:8           all-inclusive 99:13
60606 2:14             acceptable 139:5          administrative 60:17     allowed 42:11 46:6
609-7569 2:9           access 85:24 86:6,        admit 114:4               129:2 130:6 136:3
6-30-1970 66:6         20, 23 87:9, 11, 15,      advice 103:19            alternative 177:17
69 3:10                22 88:2, 4, 5, 7 89:5     affairs 91:5             alternatively 155:4
                        90:13 123:12, 16, 21     affix 181:15             amount 46:24
<7>                     125:21 126:8             affixed 183:4             67:20 154:4 155:5
7 3:13 84:2, 3, 7      accommodate 129:9         aforesaid 181:12         ANDERSON 1:6
 141:3, 3 147:16, 22   accommodations            afraid 94:1               2:11 9:5, 6 59:4
 171:4                  62:1                     African-American          62:12 66:16 98:10
7:35 72:22             accord 24:8 170:11         156:17                   113:20 152:10
70 26:4 92:15, 16,     account 86:24             afternoon 28:24           160:4 165:20 181:6
20                      89:10 90:2, 16, 22,       84:21 178:3             Anderson's 39:10
78 3:11                23 96:3                   age 8:23                 Andrew 32:3, 4
                       Accountancy 8:13          ago 17:15 30:12           33:5, 20 34:1
<8>                    Accountant 13:6            49:5 64:8               Andy 13:10 158:12
8 3:14 86:9, 10, 14     14:1, 21                 agree 126:7, 12           166:23
8:34 72:19             Accountant's 13:9          153:7 154:5             Angelovich 33:4, 19
80 67:2, 3             accounting 11:19          agreed 96:17              34:23 49:20, 23, 24
80-some 93:9            12:10 26:14 126:4         145:14                   50:1
80-something 93:5      accurate 10:9 11:2,       agreement 41:17, 20      A-n-g-e-l-o-v-i-c-h
83 3:12                4 15:13 19:17              51:8 130:17, 22, 23      33:4
84 3:13                 25:17 54:14 56:4          135:12 136:7, 12, 21    angry 144:11, 13
86 3:14                 60:4 72:15 74:19          137:10, 16, 20 138:2,    154:15 155:6
899-9090 2:19           83:19 97:16              14 139:5, 9 144:22       announcement
                        105:15 107:5, 8, 9        145:8, 10 146:3, 13,     82:13, 17
<9>                     119:13 121:22            21 147:23 148:7          answer 6:9, 21 7:7
9 3:15 95:17, 21        124:23 139:2, 6           149:13 150:10, 11,       16:5 19:22 20:23
 127:20                 140:21 153:11            14, 16, 20 151:9, 10,     33:9 53:10, 19
9:00 116:12 127:18      162:18 168:9, 12, 19     16, 16 154:12 166:7       61:9 99:24 101:9
9:22 161:7             accurately 108:24          179:9, 24 182:23         102:12 110:15
9:30 1:19 182:7         109:1 168:18             ahead 16:5 46:2           123:2 126:6
9-20 178:3             Achilles 30:15 34:1        53:10 142:16             129:12 138:23
9-29 179:12            acquire 21:6              airfare 61:24             141:2, 4 146:6
95 3:15                act 163:16                Airlines 16:7, 9, 10      148:16 171:7
                       actions 74:9 103:23       alcohol 6:24             answered 6:6, 16
<A>                    activities 64:21          allegations 69:5, 11      58:18 81:21 136:9
a.m 1:19 7:5 44:1,     actual 40:10 41:2          70:5 73:12 74:3          139:11 143:21
1 88:14, 18 116:13      48:4                      78:16 85:9, 21

                               Worldwide Litigation Services
                           (312) 528-9111 | info@worldwidelit.com                         Page 2
                             Michael
Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                53-3 Filed: - 6/26/2019
                                                     Page 54 of 73 PageID #:570
                          Rowena Dziubla vs. J.C. Anderson, Inc., et al.

 148:14                  148:14 154:6, 10         average 92:17, 21,         Bean 19:5 60:1, 2,
answering 6:6, 10        167:9, 17 178:10         24 93:3, 5, 6              7, 16
answers 6:11 7:13        179:15                   award 17:7                 B-e-a-n 19:5
 26:18 32:11            asking 6:5 48:2, 3        aware 17:2, 9, 17          Bears 16:7, 8, 18
 140:12, 19, 21          66:13 81:12 84:17         66:2 73:14 122:4,         beginning 45:17
anybody 7:18             86:17, 22 103:1, 2       9 151:19 156:23            behalf 2:4, 9, 16, 21
 13:14 22:9 27:6         107:22 108:1              157:2, 24, 24 167:15       5:3
 28:19 67:16 74:20       129:16 133:19             171:8                     behavior 103:23
 75:9 82:14 94:24        149:23 150:6             a-z-z-o 93:18               114:3
 104:13 117:2            154:4 155:5                                         believe 18:22 24:15,
 129:4 146:23            159:23 167:19, 20        <B>                        18 27:12, 13, 22
 151:6, 14 157:4         170:8 177:7 179:19       Bachelor's 8:12             28:11, 18 30:23
 167:20                 aspect 23:5               back 44:5 54:2, 10,         31:16 34:5, 24
anymore 151:17          assigned 29:23            21 56:24 61:16, 20          36:19 39:21 41:3,
anyway 85:22            Assistant 34:13, 15        63:8 81:6 87:13           19 43:17 54:3
appearance 182:19        48:22 49:21 93:24         94:5 95:15 105:9           58:9 59:1, 12, 12
appeared 154:15          113:23                    119:2 120:7                61:3, 19 65:12
 182:10                 assistants 34:17           122:19 125:7               71:5 76:21 77:20
appears 83:19           assisted 12:10             126:13 128:22              79:9 82:21 85:6
 161:9, 18              assume 6:21                131:21 135:9, 15           86:7 92:7, 12
applied 55:16           Assuming 33:1              136:4, 8, 8, 17, 22, 23    103:5 107:15
apply 54:9               125:4, 6, 9               137:3, 7, 12, 15           109:15 111:21
appointment 107:24      assurance 143:7            138:2, 4, 17, 21           115:8, 14 117:12, 23
appreciate 132:24       assurances 180:6           139:9, 13 142:21           119:6, 24 120:5, 6
appropriate 163:16      attached 19:2              143:19 149:18              121:2 123:2
 179:18 180:1           attachment 112:18          150:23 151:17              127:18 128:2, 17
approval 43:16           149:11                    153:5, 9, 12, 23           138:3 139:20
 45:3, 5, 6 47:9, 16    attempting 6:3             154:17 155:12, 14          140:9 141:17
Approximate 15:1        attend 21:22 61:13         159:14 168:8               147:3 150:4 152:1,
 30:16                   62:1                      175:7 178:6               21 155:17 156:5
Approximately 9:11      attendance 11:15          back-and-forth              158:13 159:24
 18:15 30:23 66:24       54:5, 14 59:16            145:7 150:14               162:12 163:11
 67:2 72:6 100:19,       62:8 66:15 67:17         bad 90:12                   165:16 176:6
20 125:23 126:1          71:9 177:4               badly 94:8, 13              178:6 179:11, 21
 138:5                  attended 66:24            ballpark 67:3 92:5         believed 95:5 99:15
area 64:17              attending 62:24            125:24 128:2               134:9
arms 132:18              63:17 67:18              based 16:2 21:7            Bellin 33:5
Armstrong 169:13,       attends 21:15 34:14        76:12 83:15 87:10         benefits 23:11 83:2
18                      attention 147:10           101:7 112:5               Bensenville 64:24
arose 56:8               157:6 176:23              118:16 123:13             bereavement 46:5,
arrival 39:17            177:11 179:5              127:19 131:22             10, 20
arriving 65:4           attorney 5:10              132:5 133:20              best 137:8 138:13
aside 38:7               105:11 106:1              138:4, 7 153:22            153:10
asked 22:22 26:19        146:15                    155:13 179:22, 22         bid 17:4
 29:3, 5 47:13 51:5     attorneys 44:6            basic 5:23                 bids 17:4 21:6
 57:13 62:14, 18        at-will 38:12             basically 107:7            bigger 29:20
 63:5, 19 67:21         August 14:10               113:15 141:12             Bill 14:17
 96:11 103:14, 21, 24   author 176:17             basis 91:5 155:13          birth 66:5
 112:6 118:14           autographed 103:18        Bates 51:14 112:17         birthday 44:16
 128:22 138:3           available 107:23           149:9 175:18               52:5, 16
 141:1 143:11            108:1

                                Worldwide Litigation Services
                            (312) 528-9111 | info@worldwidelit.com                           Page 3
                             Michael
Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                53-3 Filed: - 6/26/2019
                                                     Page 55 of 73 PageID #:571
                           Rowena Dziubla vs. J.C. Anderson, Inc., et al.

bit 29:18 56:23                                    CFO 9:9, 10, 15          classify 57:24
black 157:21             <C>                        11:18 12:1, 10, 12,     clause 42:3
board 40:7               cab 31:13                 13, 22 13:5 14:18        cleared 89:11
book 8:1, 2 10:7         cabs 31:8                  26:13 58:10 59:21       client 22:11, 15
 41:1, 1, 14 82:17       cafe 115:9                Chad 68:18, 19, 20        85:24 88:3 146:15
booklet 41:11, 12        calculated 44:18           99:2 100:10, 24          173:20
bottom 52:2 54:5         California 8:23            101:12 114:18           clients 16:1, 16, 24
 70:7 79:1 105:2         call 44:13 47:9, 12       chain 83:12, 12           157:24 158:4
 107:10 124:13            65:8 75:6, 10 76:6        107:5, 7 149:3          CLIFFORD 2:16
 166:22 169:11            102:14 131:3, 10          168:5                   Clint 68:24
 175:6                    132:21                   Chairman 19:10, 12       close 107:23 135:1
bought 15:19, 22         called 5:3 10:19           20:7                    closed 131:15
Boulukos 50:3, 10         75:5 76:16 106:5         chance 102:21            closer 92:17
 53:21 75:21 76:12        113:14 131:14             103:7 113:8 116:5       Club 64:24
 77:3, 7, 10, 12 86:23    138:3 157:18              140:20                  Code 1:15
 91:11 113:14            calling 88:23             change 12:4, 5           collaborative 30:2
 162:13 172:19           calls 48:1 74:11           59:22 86:18             collectively 134:12
 173:3                    97:15 129:19              102:12 154:7, 14         135:14
B-o-u-l-u-k-o-s 50:3      146:15                   changed 39:22            come 16:13 26:16
Boulukos's 50:4          capacity 126:9             40:2, 7 121:1            66:23 77:13 82:20
Bowen 23:23 25:2         care 108:22 109:10,        142:22                   83:2 99:14 116:15,
 35:5                    16, 21 111:8              changes 40:5, 8, 10      18 121:6 128:22
Box 72:14                carpenter 35:24           changing 86:19            135:15 136:3, 8, 17,
Boyle 106:16             carpenters 26:10           122:17                  22 137:7, 12, 15
 112:14 118:3, 8         Case 1:5 5:11             charge 62:6               138:17 139:9, 13
 145:17                   17:16 37:19 43:19        chart 53:2, 15            150:23 151:17
break 6:14, 15 95:9       50:15 69:5 74:3          chat 173:19               155:12
 134:14, 16 135:12        94:1 133:10 181:5        Cheaters 157:18          comes 26:20 38:5
brief 174:7              casual 29:4 65:2          checked 70:16             131:21
briefly 19:8 57:5,       catch 45:17 122:15        Chicago 1:18 2:3, 8,     comfortably 128:20
17 66:10 68:6            categories 43:2           14, 19 16:7, 8 182:9     coming 87:13
 178:1                    66:14                    Chief 50:5                94:24 136:23
bring 27:6 43:15         Caucasian 156:1, 6,       chipping 103:20           143:19 153:9, 12
 147:24 148:3            9, 15                     CHTD 2:12                 154:17 165:20
broadly 37:13            cause 1:12                circumstances             167:10, 18
brother 20:3             caused 101:5 148:5         177:15                  comment 79:21
brought 157:4            cc:'d 84:11 162:13        City 1:18 182:8           101:4 109:13
buck 19:21               celebrity 65:18, 19       Civil 1:15                114:5 118:24
buffet-style 65:2        cell 160:5                claim 79:22 101:3         122:11 143:13
building 22:12           centered 153:4            clarification 37:14       172:7
bullet 42:22 55:13       CEO 20:5, 7                78:10 130:9             comments 58:7
 112:22 114:1            certain 12:2 46:24         133:11, 23               87:10, 14, 21 113:24
bulleted 177:8, 23        60:6 91:4 119:7          clarified 134:1           119:7, 17, 22 120:2,
bullets 112:21, 21        146:4 150:13             clarify 37:6 73:10       7, 8, 13 122:2, 6, 13
Burfeind 91:11           certainly 62:14            103:2 132:6 133:1        123:6, 7, 13 131:22
B-u-r-f-e-i-n-d 91:12     63:2 97:8                 134:2 135:22             132:5 136:10
Business 17:10           Certified 182:4            136:22 142:23            143:15 153:5, 23, 24
 30:1 69:3               certify 182:7, 11, 15,    Clark 1:17 2:3            155:13 156:24
busy 26:5 92:19          17, 21                     182:8                    157:2, 4 164:11, 23
buy 68:2                 CFMA 11:9                 classified 65:15          179:23


                                  Worldwide Litigation Services
                              (312) 528-9111 | info@worldwidelit.com                         Page 4
                             Michael
Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                53-3 Filed: - 6/26/2019
                                                     Page 56 of 73 PageID #:572
                            Rowena Dziubla vs. J.C. Anderson, Inc., et al.

commercial 15:8           concluded 117:8, 11,       170:24                    124:3, 18, 22 125:20
Committee 91:4            15 142:10                 contribution 67:23         127:4 129:14
common 112:5              conclusion 128:3          Controller 9:22            130:7 131:6 132:9
communicate 125:20         148:1, 4                  12:7, 9, 23 13:15         135:18 141:19
communicating             concretely 135:24          14:2, 19, 22, 24          143:24 145:12
 62:7 166:5               condition 7:11            conversation 6:1, 4        147:13 150:8, 17, 20,
communications             129:16, 21 130:4, 11      27:13, 17 28:1, 14,      21 159:7, 10 165:10
 115:11, 15 167:10,        143:18                   17, 20 29:4, 10, 13        166:13, 14 167:4
18 170:6                  conditions 154:8           57:21 58:1 71:22          168:22 169:13
companies 43:2, 8, 9,     conduct 96:11, 20          77:10, 11, 18 79:16,      171:5, 22 173:6
12 158:4                   177:14                   18, 20, 24 80:4, 6, 13,    175:9, 10, 21 176:17
company 10:2, 8, 17       conducted 73:18           14, 16 81:24 82:3, 6,      177:5, 9, 24 178:8,
 11:20 12:14 13:19        conference 29:2           9, 10 83:20 88:8, 10,     12 179:13, 14
 14:4, 9, 15 15:12, 15,   confidentiality           19, 21 90:15 96:18        corrected 110:20
17, 19, 22 18:6, 14        166:7, 9                  99:21, 22 103:12         corrections 181:16,
 20:6, 17, 20 23:9        confirm 63:15              105:21, 22 117:22        17
 35:23 48:20 87:20         74:16 87:5 115:24         138:12 151:5, 11, 19     correctly 142:7
 88:23, 24 89:9            176:16                    153:12 158:3              147:19, 20 149:19
 90:1, 5, 7 91:6          conflict 42:3, 10, 14      172:10 178:2              161:15 177:19
 92:8 120:22, 24           43:3                      179:6, 11 180:1, 4        178:14
 123:4 129:6              connection 68:23          conversations 85:1,       correspondence 7:24
 131:23 132:4, 14, 16      89:24 90:3, 4            4, 16 115:18 137:24       cost 21:3
 138:4 160:1, 4, 6, 11    consider 106:11            158:16, 19               counsel 7:17 78:7
 161:23 171:18, 19,        147:22                   COO 26:13                  106:14, 15 145:16,
20, 21 177:13             considered 157:5          Cook 1:14 182:2, 6        17 146:18 176:11
 178:16, 17 180:7          179:23 180:4             Coordinator 93:20          177:7 178:10
company's 54:13           consisting 181:14         copied 69:19               179:15 182:23, 23
 179:22                   construction 15:8         copies 144:22             count 32:9, 21
compensated 61:13         consultant 86:17          copy 40:16, 19             52:24
compensation 12:5         consulting 106:1           56:12 62:22 63:16        Country 64:24
 61:15                    consumed 6:24              75:16 144:21             County 1:14 182:2,
competes 16:23            contact 17:11              145:24 159:9, 16, 17     6
competitors 41:18          106:8 113:12              180:13                   couple 64:13 65:5
complained 31:21           165:19, 22, 24, 24       correct 14:22              137:23
 36:9 50:19               contacted 77:16            19:20 22:7, 8            course 64:23 68:8
complaint 71:8, 11,        113:11                    25:20 27:4 33:3           78:13 178:11
20 72:1 76:5 80:12        contacts 90:17             35:1, 11 37:24           courses 64:12, 16
complaints 87:20           167:8                     50:17 56:14, 19          COURT 1:1, 16
 89:24 123:4 178:17       Cont'd 3:24                62:12 63:4, 17            6:3 24:23 181:1
complete 37:4, 12,        contents 75:15             72:19, 20, 23, 24        cousin 108:23
20                        context 122:7              73:18 74:4 78:17          109:2, 3, 6, 11, 14, 16,
completely 46:7           continue 44:9              79:5, 10 82:10           17, 21 110:1, 2, 13,
computer 126:3             66:12 109:10              86:21 87:7 91:20,        23 111:15 112:3
 160:5                    continued 90:12           24 92:1 93:8 95:6         cousins 64:13
concerned 69:13           continues 54:6             96:9 97:9 102:2,          108:20 111:18
 95:4                     continuing 78:13          23, 24 105:3, 4, 6, 7,    cover 120:12
concerns 27:20            contract 38:10            11 106:20 109:7           covered 120:8
 88:24 178:17              166:13                    113:1, 2 114:11, 19,      161:23
conclude 153:19           contractor 15:7           20 115:7, 9, 20           covers 166:9
 164:19 179:17            contribute 67:22           117:14 118:6             coworker 120:19
                                                     119:4 123:22, 23

                                  Worldwide Litigation Services
                              (312) 528-9111 | info@worldwidelit.com                             Page 5
                             Michael
Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                53-3 Filed: - 6/26/2019
                                                     Page 57 of 73 PageID #:573
                         Rowena Dziubla vs. J.C. Anderson, Inc., et al.

coworkers 89:1          137:13 138:1             deponent 181:11          discriminating 17:22
 119:12 178:18          159:19 163:18             182:9                   discrimination 11:3
Crane 68:18, 19, 20,    178:21 179:3             deposed 5:15             discuss 70:22 71:6
24 99:2 101:1, 12       181:22 183:5             deposition 1:11 3:6       73:6 76:2, 4 83:22
 114:18                days 44:11, 17 45:2,       5:22 6:1 7:16            87:17 91:5 105:17
Crane's 68:23          11, 14 46:6, 9, 10, 11,    78:14 181:12, 13         116:4, 16 117:4
creates 155:17         14, 15 47:1, 4, 7, 20,     182:15, 18, 20, 22       128:7, 18 132:22
critical 119:7, 19     21 48:13, 13 51:24        describe 16:22            178:20
 122:3, 14              52:13, 14, 18, 22         55:15 58:12 64:20,      discussed 38:18
CRONIN 2:12             53:1, 13, 17, 24 55:4,   22 71:10 72:8             70:20 71:7, 24
 61:6, 14 73:13        5, 10, 10, 24 56:1         86:16 144:2, 3           72:3 75:19, 23
 74:13 78:7, 12, 17     142:19 143:23            described 55:18           79:22 81:17, 22
 180:15                 147:16, 17, 22, 23        69:11 74:7               84:1 88:21, 22
CROSS-EXAMINAT          172:15, 17               description 128:24        89:4, 7 105:3
ION 176:21             dealing 36:6              detailed 126:6            117:5, 17 118:10, 13,
cry 144:9              deals 48:5                details 11:14 62:8       15 122:1, 8 124:12
CSR 1:13 183:7         death 46:4, 15, 18         66:12 171:12             128:8, 19 130:23
curious 168:17, 23     December 59:9             determined 135:15         131:2, 7 141:12, 13,
 169:1                 decide 154:1               151:7                   16 155:16 162:1
current 17:18          decided 96:13             Development 13:19         164:15, 16 173:16
 156:3, 4               108:8, 9 136:11           14:3, 7, 8, 14 17:10     178:11, 15, 16
currently 9:2 32:8      153:12 159:4              69:3                    discussing 55:8
 35:1, 17 93:14        decision 87:3 88:1,       differences 6:2           62:23 79:3 81:23
customer 17:6          6 89:13 96:6              different 83:13           99:17 135:11
cut 92:23               123:16 131:20             103:13 106:18            150:5, 11
cutting 107:23          136:2 152:15, 19, 23      137:23 164:1            discussion 41:9
 135:1                  153:17 155:10            dinner 65:14              80:11 97:1 112:22
CX 3:1                  158:24                   DIRECT 5:6 23:15          128:10 135:13
                       decisions 91:6             25:18 45:5, 9            139:4 151:4 153:3,
<D>                    Defendant 2:9, 16,         49:19 179:5             4 155:8 171:24
dad 15:18, 19          21                        direction 136:11          172:2, 4, 21 173:5, 7,
daily 7:8 25:23        Defendants 1:8            directly 17:11 27:1      10, 10, 13 178:20
Dan 35:21, 22, 23       181:8                     50:16, 17 102:16, 21     179:1
date 10:14 15:4        defense 170:24             103:7 113:10, 11, 13    discussions 137:19
 24:16 30:6, 16         171:1                    Director 93:22            145:10, 12 158:7, 11
 34:6 66:5 117:16      defenses 36:24             121:5                   dispute 74:6
 162:21 183:9          defined 42:14             disability 118:16        distance 101:16, 17
dates 11:12 139:19     definitive 151:5           127:1                   distraught 162:16
daughter 114:16, 17    definitively 159:4        disagreed 133:4, 5, 7     163:1, 4, 9, 13, 17
day 23:1 40:20         degree 8:11, 12           disappointed 88:23        164:7, 8, 10
 45:14, 20 46:8        degrees 8:15              discipline 54:12         DISTRICT 1:1, 1,
 47:10, 22 48:14       demanding 130:9            55:16 177:17            16, 16 181:1, 1
 52:16 55:11 56:2,     department 25:8           disciplined 50:22        DIVISION 1:2, 17
11, 16 57:6 60:12,      45:9                     disclosed 110:22          181:2
12 64:21, 22 65:7, 9   departs 166:6              159:9                   document 36:18
 70:21 77:21 80:20     departure 24:6            disclosing 109:14         39:7, 12, 15, 18, 24
 83:23 84:22, 24       DePaul 8:13 16:6           110:12                   40:5 51:21 52:17,
 85:7 87:11 100:11,    depend 45:22              disclosures 36:21        20 53:5 78:23
13 116:8, 11 117:12    depending 26:4            discoverable 37:18        79:13 83:10 84:7
 126:21 127:17, 23      93:6 177:13              discrepancy 142:18        86:14 95:21
 130:22, 24 131:1                                                          104:24 107:3

                                Worldwide Litigation Services
                            (312) 528-9111 | info@worldwidelit.com                          Page 6
                             Michael
Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                53-3 Filed: - 6/26/2019
                                                     Page 58 of 73 PageID #:574
                          Rowena Dziubla vs. J.C. Anderson, Inc., et al.

 112:12, 16 115:3        109:20 111:7             effective 102:16            172:5, 15, 18, 18, 22
 124:10 140:7            112:2 115:5, 8, 22       effectively 86:20           173:15
 144:19 145:13, 15       116:24 118:5, 12         effort 30:2                emailed 76:5
 147:8 149:1, 9          119:3, 17 120:16         EHRLICH 2:2                emails 70:16 83:13
 152:7 161:1 162:9       121:7, 16, 19, 21        eight 18:12                 86:1 90:17 107:6
 166:8, 10, 20 170:18    122:2, 6, 11, 13         either 20:13 116:12         115:16 120:14
 174:13, 21 176:8, 9,    124:16, 24 126:15,        126:10 155:3, 9            123:12, 17 125:17
10                      20 127:14, 23              178:2 179:12               126:8 155:2 168:5
documents 7:20, 22       130:17 131:20            elbow 64:6                 Emily 169:13, 17
 23:12 51:16             132:21 135:15            elect 118:18               employed 9:2
d'oeuvres 65:16          136:3, 6, 13 139:3       Electronic 180:12,          13:17 25:14, 22
doing 21:11, 11          142:8 143:6, 7, 9, 23    14, 15                      35:10 39:19 41:22
 106:11 126:2            144:23 145:7, 11, 21,    Eleven 13:21 32:16          42:2, 12 49:10, 15
 168:17, 24 170:10      24 146:4 148:6, 9         eliminated 14:5             92:3 94:7, 12
dollar 154:4             150:6, 15, 23 151:6,     Elmwood 8:18               employee 20:17
donated 61:16, 20       12, 14, 20 152:16         email 7:23 47:12            38:12 40:24 42:11
donation 67:18           153:18, 21 155:11         69:18 70:5, 9, 12          43:14 44:18 45:1,
door 131:15              159:16 161:4, 8           72:12, 18, 22 73:1, 2,    13, 18 46:11, 21
downturn 14:6            166:12 167:18            5, 24 74:24 75:15,          47:19 48:13 54:12
drafted 145:15, 19,      168:11, 20 169:12        17 76:23 77:13              55:2, 9, 23 59:4
22 146:18 152:13         170:6 176:8 178:4         79:2, 3, 8, 13, 15, 17,    69:3 87:6 97:3, 12
drafting 81:5, 7, 10,    181:2                    19 80:10, 15, 21            98:7, 9, 10 99:3
10, 16, 20              Dziubla's 5:21             83:12, 16, 17 84:9,        113:20 123:9
draw 147:10 177:11       23:15 26:23 69:5         21 85:5, 8, 11, 13, 17      132:13 153:9
Drive 2:13               70:4 72:22 73:2,          86:23 88:2, 4 89:5,        154:13, 17 166:6
driving 65:6 68:11      12 74:3 75:17             10 90:2, 13, 16, 22,        176:24
drove 66:10              79:21 80:9, 12           22 95:24 96:7              employees 17:18
due 14:5                 83:17, 22 85:9, 21,       99:17 105:2, 3, 5, 5,      21:20 26:1 42:1
duly 5:4 181:10         24 88:2 89:5 96:8         6, 8, 14, 16 106:5          44:10, 19 47:4
 182:12                  101:18 109:15             107:5, 7, 10, 10, 14       53:1 62:4, 16
Dunn 33:7 35:21          123:3, 6 124:13           108:14 109:19              66:16 67:4, 5, 8, 11,
D-u-n-n 35:21            149:14 153:5              110:9, 10 111:16          21, 23 82:13, 21
duties 11:17, 22, 24     173:16 179:8              112:14, 18 115:5, 12,      93:4, 9 94:2, 20
 12:2, 8 180:6                                    21 116:14, 17 118:2,        155:18, 24 156:3, 4,
DX 3:1                  <E>                       8 123:22 124:12, 13,       5, 9, 11, 23 157:20
DZIUBLA 1:2             earlier 55:8 87:11        15, 18, 21 125:6, 20,       166:4 167:17, 21
 2:21 5:11 7:24          150:5 177:7 178:21       21 126:13, 14, 17, 18,      169:20
 20:14 22:18, 24        early 28:4, 4             19 127:7, 12, 15, 19       employee's 56:13
 23:17 25:14, 16, 22     121:12 176:12             128:3, 6, 7, 8 129:12,    employment 38:9
 28:13 33:12, 17         178:3                    22 130:2, 16 132:23         41:21 42:1 43:15,
 35:10 38:9 40:16       EASTERN 1:2, 17            133:11, 13, 14, 15, 20,   16 90:21 152:12
 41:16, 20 42:8, 18      24:17 181:2              22 134:3, 7, 9              153:10 154:8
 52:14 53:23 54:4       eat 65:4 163:9             137:14 138:11, 11         encountered 48:6
 63:9 68:4 69:16,       Ed 23:22 35:5              143:19 145:23             encouraged 41:14
18 74:7 75:20           edits 149:14, 22           147:10, 12 149:3, 5,      ended 165:3
 79:3, 8 81:16           150:3                    6, 11, 16 161:3, 8, 10,    engage 158:21
 83:13 84:10 87:5       education 8:9, 10         17, 21, 22 162:2, 11,       159:5, 6
 88:16 89:21 92:3       EDWARD 2:13               15, 21, 24 163:7           engaged 64:21
 94:6, 7, 19 101:5      EEOC 79:22 80:12           164:14 166:23              145:6 150:13
 105:6, 10, 17, 24      effect 85:20 179:16        167:6 168:14              engaging 139:4
 107:11 108:3                                      169:9, 12 171:2

                                 Worldwide Litigation Services
                             (312) 528-9111 | info@worldwidelit.com                            Page 7
                             Michael
Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                53-3 Filed: - 6/26/2019
                                                     Page 59 of 73 PageID #:575
                           Rowena Dziubla vs. J.C. Anderson, Inc., et al.

ensure 140:21            events 58:23 69:10          20 168:1, 4 169:5, 9   felt 76:20 87:18
Enter 44:4                158:22 159:6                170:14, 18 172:12,     102:13 103:21, 22
entire 18:8, 21          everybody 95:5              16 174:16, 17, 21       128:19 138:6, 7
 25:13, 16 27:4           118:7                       176:4, 17, 24         female 92:6
 30:8 33:17 91:6         everyday 12:10              EXHIBITS 3:6           females 92:7, 9, 11
 139:8 161:17            exact 10:13 15:4,           existing 176:3          93:10, 14
entirety 101:11          20 18:23 20:13              Exit 135:8             fewer 31:11
entitled 46:11            24:16 25:11, 12            expected 163:16        field 26:4, 6, 9
 52:14 63:10              30:6, 10 34:6              expecting 124:20        35:24 67:14 92:11,
envelope 161:12          exactly 29:19 42:19         Expiration 183:9       15 93:4, 7 156:8, 11
environment 119:10        80:22 139:12 143:3         explain 23:10          fifteen 30:9
 155:17                  EXAMINATION                  89:23 109:12          file 56:13 176:3
Erlich 33:4, 19           3:1 5:6                    explanation 134:3      filed 79:22
 34:16, 22               examined 5:4                express 70:10          files 85:24 88:3
ERLING 1:7 2:16,         example 48:12, 15           expression 19:21       final 138:13
21 181:7                  55:22 105:23               extended 60:9, 11      finalize 30:4
errata 181:18            examples 42:16, 23          extent 48:1 97:14      financial 11:19
established 15:9, 16,     43:1, 7 46:4                141:11 146:15          60:17
18                       exceed 52:4, 13             extra 48:14            find 98:23 149:21
estate 14:6, 7           exception 122:11                                    150:2
estimate 20:24           excessive 150:1             <F>                    findings 104:4, 4
 21:1, 3, 14 28:3        exchange 161:3              fact 109:14 110:4      fine 15:1, 5 98:23
 29:24 30:4 67:8         exchanged 57:23              163:12                finish 6:5 46:2
 80:23 91:22, 23, 24     Excuse 130:19               fair 97:22 138:7        53:8, 9
 92:2 127:24 156:14      EXCUSED 180:16               156:13 161:19         finished 93:1
estimated 29:22          Executive 14:17              180:3                 finishing 65:13
estimates 27:15           91:3, 7, 9                 fairly 129:6           firm 14:7 106:18
Estimating 25:8          Executives 34:19            fall 121:12            first 5:4 6:2, 23
 26:13 41:4 126:5        exercise 177:17             familiar 69:4, 7        9:21 20:18 22:24
estimation 21:11, 12     exhausted 127:6              74:2 126:5             23:1 36:22 40:20
Estimator 20:21          Exhibit 3:7, 8, 9, 10,      family 15:16, 17        45:9 56:2 57:18
 23:18, 24 24:24         11, 12, 13, 14, 15, 16,      46:5, 16 59:5          59:12 66:5 69:15
 25:5, 7, 10 33:12, 18   17, 18, 19, 20, 21, 22,      61:21, 22 66:17, 18    70:4, 12, 19, 24
 35:10 126:10            23 4:1, 2, 3, 4, 5, 6, 7,    67:6, 18 68:21         75:23 78:1 79:2,
Estimators 20:22         8, 9, 10, 11 36:13, 14,      109:18                12 80:9 81:24
 21:18 22:6 23:18        18 38:7 39:2, 3, 7          far 38:21 69:13         82:10 87:2 96:17
 29:20 30:3 31:1          42:6 43:19 51:10,           95:4 133:23 173:9      98:12 105:8
 35:1, 6, 18 50:12       11, 21 53:12 54:3           father 15:23            112:22 123:5
Estimator's 126:1         62:23 69:21, 22            February 9:7            124:21 140:13
ethnicities 156:16        72:11 78:19, 23            Federal 1:15            145:2, 12 149:5
ethnicity 156:21          83:6, 9 84:3, 7            fee 67:20               156:1 159:19
European 24:18            85:10 86:10, 14            feedback 81:13          175:7, 9, 12 181:10
evening 70:14             95:16, 17, 21 104:20,      feel 6:8 97:18         firsthand 96:3
 137:24                  23 106:21, 22 107:3          114:3 131:22          fit 29:20
event 59:10, 17           112:7, 8, 11 114:22         132:1, 3 135:22       flags 103:17
 60:20, 22 61:13          115:3 124:6, 10             140:8 153:8           flag-waving 132:18
 62:1, 8, 9 65:17         125:11, 15 140:3, 7         154:16 155:18         flip 125:16 140:8,
 66:13, 15 67:1           144:14, 15, 18 147:4,       165:2                 23
 68:5 69:8, 14, 17       7 148:21, 24 152:3,         feelings 110:1, 2      Floor 2:18
 75:2, 24 76:13, 20      7 159:12 160:19, 20,                               FMLA 118:18, 19
 77:6                    23 162:5, 8 166:16,

                                  Worldwide Litigation Services
                              (312) 528-9111 | info@worldwidelit.com                        Page 8
                             Michael
Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                53-3 Filed: - 6/26/2019
                                                     Page 60 of 73 PageID #:576
                           Rowena Dziubla vs. J.C. Anderson, Inc., et al.

 127:2, 5, 9 165:7       friends 57:11, 12         given 21:8 29:15         Greg 23:16, 22, 24
fob 160:5 161:11          58:19 61:5, 11            40:13, 24 41:11, 14      28:18 33:6 35:4
focus 175:12              66:18 108:19              42:16 44:19 51:2         53:21 167:8
focused 41:10             111:15, 18 112:2          62:3 147:16 182:14      ground 5:23
focuses 36:22            front 33:8, 10            go 5:23, 23, 24 6:7      group 66:10, 11, 11
follow 71:8 72:1, 2       43:19 52:8, 9, 10         8:17 16:5 17:5           68:11, 12 76:7, 14,
 177:22                   168:7                     21:9, 13 23:2           17 79:3, 8, 9 103:16,
following 44:2           full 5:12 6:11 21:2        30:24 31:3, 6, 11       19, 20 153:18 154:1
 70:21 95:13              57:24 172:2, 9            32:16 34:10 35:3         179:16, 17 180:4
 115:12 116:8, 18        fully 97:22 131:23         44:5 45:8 46:2          groups 11:9 66:21
 135:6 138:1 174:3       function 17:12             53:9 54:2 63:8           67:19 68:10 98:12
 181:17                  functions 11:20            65:5 81:13 82:15        guess 133:17, 19
follows 5:5               12:11 128:23              87:3 114:13             guessing 49:8
follow-up 102:22          131:21 135:16             132:11, 12 134:23       guest 65:18
 103:1                   fund 170:24, 24            136:11 138:6
follow-ups 173:23        further 11:14              142:16 155:14           <H>
food 65:16                133:21 134:1              156:8 175:5, 17         H.R 10:8, 10, 16, 20,
foregoing 181:13          180:9 182:11, 15, 17,    goes 32:10 37:5          23 11:11 17:21
 182:13, 22              21                         93:6 112:17 141:5        18:1 27:3 45:7
Forest 64:24             future 158:22 159:6        149:10 177:4             49:12 62:12 82:12,
form 43:5 55:6, 15       FYI 107:22 172:20         GoFundMe 173:16          14, 15, 19, 20, 22
 115:16 122:22            173:7                    GoFundMe-type             94:16
 170:22                                             170:22                  had: 44:3 95:14
formal 10:24 27:12       <G>                       going 8:8 16:2            135:7 174:4
 104:5                   Gabrielle 1:12             29:3, 6 32:20 37:6,     half 65:11 135:2
former 17:18 59:4,        182:4 183:5, 7           10 47:24 78:7             156:19, 19
19 166:4, 6              Garland 23:16, 22,         89:13 94:1, 3, 4, 5     hall 95:8 106:6
forms 54:12              24 25:4, 19 28:18          96:7 101:7 104:15       hand 183:4
formulate 20:23           35:4 50:15, 17            108:9 109:20            handbook 40:13, 22,
forward 5:24              53:21 77:19 78:2          110:6 122:21            23 42:4 54:2 56:5,
 167:17 171:14            166:24 167:2, 6, 9,       127:19 134:15, 20       21 62:23 63:8
forwarded 106:5, 13      13 169:24 170:2, 10        140:2, 23 146:14         159:9, 17, 22 160:8,
 163:7 169:23            gate 160:5 161:11          151:9 153:8 159:5,      13 176:24
 170:6 172:5 176:11      GC's 17:4                 5 171:7, 9, 13           handing 103:17
forwarding 167:2,        gears 56:23                173:22 176:23           handle 81:23
13 170:2, 21             Gene 106:16, 17, 18       GOLDMAN 2:2              handles 17:11
found 24:7               general 15:7 50:20        golf 59:3 64:9, 12,      handwritten 175:8,
foundation 61:6, 14      generalization            23 65:7, 8, 13 68:8,     12
 73:13 101:8              164:11                   20 103:17 114:18         Hang 137:2
founders 15:12, 14       generally 16:22           golfed 64:1              happen 34:4 56:9
Four 23:20 34:24          69:4 94:11               golfer 63:23 65:20,       64:7 77:11 153:15
 65:10, 10 92:7, 9       gentlemen 59:22           22, 23, 24               happened 74:7
 93:10, 11, 14 131:18,   genuine 165:2             golfing 68:11             76:20 94:21 150:13
18 135:14 138:2          Gerber 106:19             Good 5:8, 9 64:5,        happening 90:12
foursome 68:2            getting 65:1 95:5         10 95:7 108:7            happens 45:13
fourth 35:19, 20         give 7:13 23:11            134:13 153:9            happy 76:20
 142:4                    45:6 47:13, 16, 18        154:13, 17              harassment 62:20
free 135:22 140:8         55:20, 22 81:12          Graczyk 120:19            63:10, 13 74:9
Friday 152:20             86:23 92:2 104:8,         121:3                   hard 145:24
friend 109:15            12 126:5 140:9            grandfather 15:21        harm 148:5
                          180:5                    greet 65:3

                                  Worldwide Litigation Services
                              (312) 528-9111 | info@worldwidelit.com                        Page 9
                             Michael
Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                53-3 Filed: - 6/26/2019
                                                     Page 61 of 73 PageID #:577
                           Rowena Dziubla vs. J.C. Anderson, Inc., et al.

Hawkins 33:5, 20                                    82:18 155:20             29:19 62:4
head 6:12 9:1            <I>                        161:12                  interacting 62:15
hear 6:19 84:14, 16      idea 60:19                included 37:10           interaction 98:4
101:11, 12, 14, 15, 17   identification 36:15       40:23 42:6 72:15         101:16 103:16
heard 22:4 58:15          39:4 51:12 69:23          88:8 118:7 145:2        interactions 179:4
65:24 101:4, 10           78:20 83:7 84:4           146:9, 12, 21 176:9     interest 42:3, 11, 14
102:17 157:5, 23          86:11 95:18               181:17                   43:3
hearing 157:20            104:21 106:23            including 23:12          interested 171:15,
heavy 65:15               112:9 114:23              110:4 120:2 160:1,      17 183:1
heel 30:15 34:1           124:7 125:12             4                        interesting 172:8
held 64:23                140:4 144:16             inclusive 181:14         interests 137:8
hello 65:3                147:5 148:22             inconsistent 163:13      interior 15:8
help 170:23               152:4 160:21             incorrect 137:1          interpretation
helped 68:21              162:6 166:17             independent 46:13         154:16
helpful 103:6             168:2 169:6              indicated 182:19         Interrogatories
helps 21:2 35:4           170:15 172:13            indicating 132:19         140:14
68:21 80:20 146:6         174:18                   indirectly 50:13, 14     Interrogatory 141:3,
her, 108:17              identified 37:7           individual 13:1, 3       3
hereunto 183:3           III 2:13                   17:21 55:17 97:6        interrupt 6:4 174:9
Hey 77:12 132:19         ILLINOIS 1:1, 14,          106:9 177:14            interview 17:5 98:1
Hickman 69:1, 2          17, 18 2:3, 8, 14, 19     individuals 12:19         101:21
hierarchy 20:6            8:7, 19 17:13             13:13 14:15 21:17       interviews 117:17
high 8:14, 17             181:1 182:1, 6, 9         33:11 35:6, 14           118:1 141:22
highest 8:10 19:15       immediately 136:4          36:23 37:18 43:2        introduce 58:11
hire 23:11               impact 7:7                 79:4, 8, 9 80:9         introduced 57:5, 18,
hired 18:19, 20          impartial 97:13, 23        82:9 91:4, 13           23 58:4, 6 66:1, 7
19:2 20:19 22:18         implemented 21:10          100:10 103:11, 14       introduction 113:16
35:22 159:18             implying 109:19            122:7 153:19            investigating 96:1
hires 40:14               162:24 163:2              158:9 162:12            investigation 73:11,
hiring 19:6 22:20        Improvement 27:10          169:12, 14, 17          18, 21, 23 78:5
44:23 97:2                51:3                     influence 7:11            85:22 87:12 96:8,
Hispanic 156:17          inability 180:5           inform 75:3              12, 16, 20, 23 97:3, 6,
hit 65:5                 inaccurate 142:20         information 21:7         9, 11, 19, 23 98:2, 13,
hold 38:8                inappropriate              36:23 37:18             19 103:6, 10 117:6,
holding 151:2             103:23 114:3              110:12, 22 129:11       7, 10 118:1, 2, 11
holiday 44:16            inbox 70:13                146:16                   141:9 142:5, 9, 10
home 30:15, 22           inception 59:17           informative 172:3        investigator 102:2
34:8 36:2                incident 37:23            informed 74:21, 23,      invite 60:19
honestly 30:20            69:16 70:20 71:10,       23                       invited 61:1
106:7                    20 74:7, 17, 21           initial 36:21            involved 19:6
honeymoon 48:17           75:20, 20 76:7, 18       initially 176:8           21:17 22:20 23:5
hors 65:16                77:19, 23 78:2, 5, 8,    initials 32:21            27:1 28:17 141:8
hotel 61:24              10 84:22 85:2             in-person 100:21         involvement 141:12,
hour 1:19 73:2            89:10 94:10 96:21,       insensitive 156:24       17, 20
128:3 135:3              21 99:7, 16 112:24        instance 177:23          involving 69:16
hours 7:1 47:14           113:21 116:1             instances 121:24          75:20
65:11                     120:15, 15 143:24         122:2                   irrelevant 109:22,
huh 8:24                  178:21                   instruct 62:18           23, 24 110:2
Human 10:1               include 11:1 37:11        instructions 62:3        issue 28:5, 8, 14
hypertension 7:3          52:17 55:2 67:5          interact 25:21            30:11, 12, 14 33:23


                                  Worldwide Litigation Services
                              (312) 528-9111 | info@worldwidelit.com                         Page 10
                             Michael
Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                53-3 Filed: - 6/26/2019
                                                     Page 62 of 73 PageID #:578
                            Rowena Dziubla vs. J.C. Anderson, Inc., et al.

 34:2 36:7 73:7            74:20 79:4, 9, 17, 21    24 69:18 70:10           Kev 37:23 57:19
 81:4 96:4 177:16          82:12, 21, 23 87:15,      73:7 74:23, 23           58:24 59:2, 3, 10, 16
issues 27:6, 10           18, 22 90:10, 11, 22,      80:7 81:5 88:9           60:20, 22 61:13
 31:19 50:24 82:15        24 91:3, 6, 18 92:3        89:17 91:10 96:13        62:24 63:17 64:18,
 95:1 119:11               93:4 94:7, 8, 12, 13,     99:20 100:2, 3          21 66:9 75:19
items 160:12, 15          22 95:2 96:19              101:24 102:1, 1, 13      84:22 94:11
 161:14                    97:2, 3, 5, 12 98:7       117:20 128:9             120:15 143:3, 24
its 59:17 101:11           99:3 105:18               129:1, 5 143:13          178:22 179:3
                           111:24 119:7, 18, 19,     147:13 149:4, 17        Kevin 12:24 59:5,
<J>                       22 120:2, 14, 17, 17       152:17 162:13           6 60:12
J.C 1:6 2:11 9:5, 6        122:3, 7, 13 123:7, 9,    178:7 179:6             Kevin's 114:16
 39:10 59:4 62:12         11 128:7 130:16           Jim's 15:21              keys 160:5 161:11
 66:16 98:10               131:21 132:9, 13, 19     job 24:7 38:15, 21       kind 6:12 10:1, 18,
 113:20 152:10             134:10 136:6              128:23, 24 135:17       22 23:2 25:5
 160:4 165:20 181:6        139:3 143:6, 8, 8, 10     139:10 143:9             26:18 38:14, 17, 22
JACOBSEN 1:7               145:8 146:4, 24           151:18 154:22, 23        40:21 41:9, 17
 2:16, 21 37:8             147:22 148:5              163:21 180:7             43:1 52:20 53:5
 56:24 57:1 58:13,         149:9 150:15             jobs 42:11                64:20 82:13 91:3
20, 22 60:20 61:4,         151:6, 14 154:13         Joe 29:16 33:3, 19        114:1 141:17
12 62:7, 15, 19, 22        155:6, 14, 17, 24         34:22 99:2, 5            144:3 145:6 154:7,
 63:16 66:2, 8, 19, 20     156:9, 23 158:9, 18,      100:23 103:12, 13       23 155:12
 67:6 68:11 69:16         21 159:1, 3, 5             114:14                  kinds 64:21 146:4
 74:17, 21 75:4, 11,       161:20 163:5, 12         John 33:3, 19            King 14:17, 17
14, 17 101:4, 20, 21       164:12, 13 165:1, 11      34:22 49:20             knew 57:13, 14
 102:4, 10, 18, 20         166:1, 3, 4, 6 167:17,    169:13, 18               58:16 81:3 87:12
 141:18, 20 146:9, 21     20 169:20 173:17          join 9:6 74:13            99:24 112:6
 158:21 159:6             JCA001931 175:18           108:2                    113:17 122:12
 179:4 181:7              JCA1257 70:2              joined 18:13, 15, 15      123:7 125:7
Jacobsen, 58:15           JCA1895 112:17             166:1                   know 6:15 10:13,
Jacobsen's 44:6           JCA1896 112:20            joining 44:7             15 11:14 15:9, 20
 65:17 74:9               JCA1897 112:18            JR 1:11 3:2 5:2,          18:17, 24 19:11, 13
JAMES 2:18                 114:14                   14 181:10, 20             20:9, 11, 13, 14, 16
Jason 33:4, 20            JCA1920 149:9              182:10, 12, 14           21:16 22:2, 4
JCA 9:23 13:18            JCA1929 175:9             July 171:4 183:5          25:11, 12 27:22
 15:6, 9 16:23            JCA1930 175:10            June 1:19 36:1            28:16, 18 29:12, 15
 17:12, 17, 22, 22        JCA1931 175:20             181:12 182:7             30:10 31:2, 12, 24
 18:2, 2, 9 19:15         JCA1932 175:20                                      33:10 34:13 37:11,
 20:10 21:20 22:6         JCA1933 175:21            <K>                      17 38:16, 17, 22, 24
 23:18, 19, 24 24:4       JCA930 51:16              Kacper 76:10, 11,         39:12, 15 43:15
 25:14, 17 26:1, 24       JCA's 15:24 36:21         13, 22, 24 77:7, 16       48:21 50:19 51:17
 30:5, 8 31:22 32:8        45:15, 21 47:23           98:20 99:1 100:10,       53:4, 6, 7, 11, 18, 19,
 35:1, 17 36:10, 11,       48:4 51:15 63:13         23 112:22 113:9, 17      19 56:24 57:1, 7, 9,
23 38:10, 15 39:20         74:9 140:12 142:5        Kacper's 77:1            10, 14, 14, 15 58:22
 40:1, 14 41:16, 18,       157:24 166:5 176:9        113:4, 8                 60:19, 21 61:1, 9, 10,
20, 22, 22, 24 42:2, 2,   JCA-sponsored             Kantro 33:6, 21          11, 12 62:2, 5, 6, 10
12, 12 43:3, 16            58:23                     48:16, 18 49:15          63:1 64:14 65:21
 44:10, 13 48:12          JCP@CliffordLaw.co         50:18, 22                67:6, 7 71:18
 49:10, 12, 15 50:20,     m 2:20                    Kayla 33:6 93:23          74:14, 20 75:9, 12,
20 53:1 59:14             Jim 12:18 15:11,          keep 5:24 52:24          13, 16, 18 76:23
 62:4, 16, 19 67:4, 8,    23 19:9 20:2, 9            53:3, 4                  80:22, 24 82:21, 22,
11 68:23 72:2              58:5 61:3, 4 68:17,                               24 83:1, 1 85:11, 13

                                   Worldwide Litigation Services
                               (312) 528-9111 | info@worldwidelit.com                         Page 11
                             Michael
Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                53-3 Filed: - 6/26/2019
                                                     Page 63 of 73 PageID #:579
                           Rowena Dziubla vs. J.C. Anderson, Inc., et al.

 90:14 93:6 95:24        lawsuit 121:9              111:19 134:23           management 11:21
 96:15 97:5, 16           158:1, 5, 8, 12          lived 8:19               26:13 29:23 30:3
 100:5 106:2, 4           171:20                   locations 11:12          56:18
 108:22 112:2            Le 23:22 24:2             long 9:10, 17 10:12      Manager 13:7
 113:6 116:6 120:6,       35:4, 12 99:1 101:1       13:20 18:11 19:11       29:17 32:3, 4
16 121:20 122:6          Lead 25:7, 10              20:9 25:9 30:5, 21      34:13 48:21, 23, 23
 124:20 126:4             34:20 90:1                34:7 64:1, 3 65:8,      49:17, 21 93:18, 24
 127:1 128:13            leads 34:21               24 72:6, 8 94:15         113:23
 130:1 137:5             learn 28:20 69:15          100:18 122:24           Managers 21:18, 19
 139:17 144:12           learned 70:4 121:8         127:13, 22 129:1        22:7 29:19 30:24
 145:1 146:17             123:3                    longer 35:12 64:9        32:7 33:2, 11, 17
 148:8, 16, 17 151:13    learning 123:5             120:23 150:19           34:17, 18 50:9
 154:7 156:22            leave 14:3, 8 24:10        154:1, 19               166:11
 158:2, 13, 14, 18, 20    46:20 51:5 118:18,       long-standing            Manual 39:11
 165:17 166:8            19 120:22                  165:22, 23              40:11, 17 42:15, 16
 167:5, 9, 12, 13        leaving 41:18             look 7:20, 22 36:21      43:14 161:20, 20
 169:17 176:7, 11        led 87:14, 22, 22          37:3 54:3 70:7          mark 36:13 51:10
knowing 129:11            96:23 153:18, 24          72:14, 21 112:20        69:20 78:18 160:18
 153:6                    179:15, 16                113:24 141:2, 7         MARKED 3:6
knowledge 28:5           left 24:8 45:14            144:7 146:5, 5          36:15, 17 39:4, 6
 36:10, 12 39:18, 23      47:20, 21 48:13, 14       149:8 154:22            51:12, 20 69:23
 40:3, 9, 12 50:18, 21    53:17, 24 150:22         looked 8:1               70:2 78:20, 22
 51:1, 2, 4 53:16         159:22                   looking 53:15 96:1       83:7, 9 84:4, 6
 60:14 73:20 86:4,       legal 8:23 170:24          145:1 163:5, 20         86:11, 13 95:18, 20
5 90:23 91:2 94:9,       Legally 168:16             164:1 170:23            104:21, 23 106:23
14 99:6 158:23           lessons 103:19            looks 83:15              107:2 112:9, 11
 159:2, 3                letter 151:2 152:10,      losartan 7:2             114:23 115:2
known 18:11              13 161:23                 lot 64:16 90:4           124:7, 9 125:12, 14
knows 68:24 77:8         letting 95:24              98:8 99:4               140:4, 6 144:16, 18
Kristn 93:17             level 8:10 19:15          lucky 147:16, 22         147:5, 7 148:22, 24
K-r-i-s-t-n 93:17        liabilities 146:5         lunch 65:2, 4, 5         152:4, 6 153:6
Krucek 33:6              License 183:8              68:6 134:16 157:8,      160:21, 23 162:6, 8
                         life 8:20                 22                       166:17, 19 168:2, 4
<L>                      light 143:10 155:14                                169:6, 8 170:15, 17
label 51:14              limit 7:12                <M>                      172:13 174:18, 20
laborers 26:10           line 124:21 141:7         mad 111:8                market 14:6 154:22
language 155:1            142:4, 4                 Maguire 29:16            Marketing 17:10
laptop 160:5 161:13      lines 154:21 172:8         30:5 31:18 33:1, 3,     26:14 93:22 121:5
large 82:22              link 170:21               19 34:22 99:2, 5, 6      markup 153:5, 23
Larry 33:5, 20           list 33:8, 10 37:3, 4,     100:23 103:12           154:11 179:8, 24
LaSalle 2:8, 18          12, 12, 17, 19, 20         114:14                  married 121:2
late 164:14 178:2         38:2 51:24 99:15         main 16:13 34:18         Mart 16:6
Lauren 93:21             listed 10:7 37:21          167:8                   MARY 2:12
 120:19, 23 121:10,       43:8, 11, 12 99:9        major 15:24              materials 161:13
20 122:12                 146:11                   making 119:17, 21        Matt 33:6, 20
Lauren's 121:4           listening 141:24           120:1 156:24            48:15, 18
Lavis 13:10              lists 40:6 54:11           164:11                  matter 96:1 147:24
L-a-v-i-s 13:10          litigation 120:4          male 92:6 94:2           148:11 157:7
LAW 2:16                 little 29:18 56:23        males 92:9 93:12         matters 82:15, 20
laws 11:3                 59:22 108:20                                      109:18


                                  Worldwide Litigation Services
                              (312) 528-9111 | info@worldwidelit.com                      Page 12
                             Michael
Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                53-3 Filed: - 6/26/2019
                                                     Page 64 of 73 PageID #:580
                           Rowena Dziubla vs. J.C. Anderson, Inc., et al.

McKinley 33:6            met 7:17 28:12             48:14 55:23              64:12
McKinney 93:23            80:8 87:16 108:3         misses 45:14             nature 18:24 81:22
M-c-K-i-n-n-e-y           115:8 119:2              missing 51:17            Neal 106:19
 93:23                    126:14, 20 127:17,       misstated 173:1          necessary 31:8
mcronin@pretzel-sto      18 129:16 131:8           Mister 88:20              102:9 103:3 177:22
uffer.com 2:15            142:7, 12 143:23         modify 145:9             need 6:14 24:19
mean 19:22 21:1           174:24 175:1 178:3       molson@vedderprice        29:8 41:13 47:9,
 24:22 37:9 47:12        MICHAEL 1:11              .com 2:9                 16, 16 165:3
 60:22 92:23              3:2 5:2, 14 33:6         moment 12:12 32:9        needed 71:8 72:1, 2
 109:12 124:1             40:6 181:10, 20           111:6 140:9              85:21 165:4
 136:15 139:11            182:9, 11, 14            Monday 115:13            needing 118:24
means 142:9 163:3        MICHELLE 2:7               117:13 142:24           needs 45:1
meant 116:7 133:1,        106:16                    152:21, 22              negative 90:5, 17, 24
11, 16, 18, 24 173:2     mid 28:4 92:17            money 11:20 59:4          119:18, 21 120:1, 17
medical 30:14 36:7       midday 139:21              61:21 67:20 155:5        122:3, 14 134:10
medication 7:6           Middle 10:13 63:9         months 18:16              136:10
medicine 6:24             70:8 102:17               138:3, 6                negatively 132:8
meet 20:18 22:24          107:15 108:13            mood 144:3               negotiate 44:20
 88:16 96:3 108:2         132:23 149:5, 16         morning 5:8, 9           negotiation 44:22
 127:20 152:23            168:14 169:22             76:1 77:5 87:16         negotiations 151:8
meeting 7:18 10:18        177:8                     88:12 89:22 96:18       neither 113:16
 29:3 72:4, 6, 9         Mike 23:22 24:17           99:18, 21 108:11        never 21:24 22:13
 75:7 80:17 81:2, 8,      27:18 28:22 35:5          116:12, 15, 19           50:18 57:3 77:21
11, 17, 19 89:6, 20,      40:7 58:9 71:3            127:21 128:12, 15        102:21 132:7
21 100:19 108:10          80:7 88:8 91:10           178:2                   new 6:7, 17 23:11,
 115:12 116:21, 23        99:20 107:17, 18         motion 132:18            17 40:13, 24 44:19
 117:4, 5 118:12          113:14, 16 117:1, 20     Mott 31:24 32:3, 5        145:9 154:22
 119:8, 15, 16, 22        127:20 128:8, 21          33:1, 5, 20, 22 34:1,    163:21
 120:9, 10 126:23         131:3, 5, 14 137:23      12 36:2, 9               nice 64:11, 16
 127:13, 22 128:4, 18,    139:16 152:11, 17        M-o-t-t 31:24            night 174:14
21 129:4 131:17           175:1 178:7 179:6        moving 95:16             nods 6:12
 132:10 134:11           mind 5:24 16:13           multiple 14:15           non-Caucasian
 143:12 155:9, 10         26:16, 20 38:5            16:19                    156:10
 175:4 178:11             54:20 66:23              mutually 153:7           non-compete 41:17
meetings 100:21           122:18 138:21                                      166:9
 141:13, 15, 16          minimal 157:10            <N>                      non-JCA 67:4
members 66:17            minor 7:3 173:24          name 5:10, 12 13:9       non-paid 165:9
 67:6                    Minorities 155:22          24:17 58:14 82:18       noon 128:16
memory 59:3 173:9         156:18                    94:2 98:21, 23          normally 21:15
men 91:15                minute 54:15 83:17         105:13 109:4            North 2:8, 18
mental 7:10              minutes 100:20             112:5 121:1, 3          NORTHERN 1:1,
mention 156:21            128:1 134:18              146:11                  16 181:1
 171:21                  mischaracterize           named 31:24 33:11        nos 6:11
mentioned 80:12           119:4                    names 15:24 21:16        notarial 183:4
 153:19 160:9, 16        mischaracterizes           23:21 26:7 32:15,       Notary 1:13 181:24
Merchandise 16:6          110:7 135:19             18, 23 35:3, 4, 5         182:5 183:8
merit 73:7 85:9, 20       142:13                    37:21, 22 40:2, 4       noted 116:13
message 101:24           misrepresented             43:8, 9, 10 66:14       notes 29:13 99:1
 167:3, 14 169:23         133:8                     93:15 98:11              104:5, 6, 12, 12
 170:3                   missed 32:17 45:22        Naperville 8:7            114:9, 10, 12 141:23


                                 Worldwide Litigation Services
                             (312) 528-9111 | info@worldwidelit.com                        Page 13
                             Michael
Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                53-3 Filed: - 6/26/2019
                                                     Page 65 of 73 PageID #:581
                           Rowena Dziubla vs. J.C. Anderson, Inc., et al.

 174:15, 24 175:3, 8,    Office 13:7 25:24          139:7, 17 140:12        options 64:16
12, 14, 23, 24 176:15     26:3, 11, 12 32:20        141:23 142:16, 20        116:4, 6, 7 118:14
noteworthy 108:15         35:24 39:10 67:12         145:15 147:2, 15         126:24 136:16, 19
 110:3, 5, 11 111:3, 4    71:1 91:18 92:9           148:19 149:8, 21         165:5
notice 47:13, 17, 18      93:4, 15, 18 120:19       150:18 151:4, 7, 13,    orangutans 157:21
 56:12                    124:2 126:11             15 152:13 153:2          order 87:3 129:16
number 44:10, 17          128:20 131:15             154:11 155:4             180:13
 46:11 47:5 52:13,        156:1, 5, 24 167:8        156:8, 23 157:11        orders 19:18
21, 24 83:5 84:2         Officer 50:5               158:15 159:3, 8, 21     organizations 11:9
 86:9 91:4 93:3          OFFICES 2:16               160:15, 24 161:10       orientation 23:3, 6
 105:14 112:17, 21       Oh 42:20 60:2, 11          162:3, 15, 24 163:23     38:18 40:22, 24
 114:21 119:11            64:7 99:9 118:5           164:3 165:11, 21        original 138:1
 141:3, 3, 12 156:10,     141:17 159:8              166:12 168:9, 13         176:10
12, 13 160:12, 15         172:7, 23                 171:9, 24 173:14, 21    originally 136:18
 162:12 169:12           Ohio 17:14                 174:12 175:13, 17       outcome 183:2
 175:5                   Okay 6:13 7:4, 6, 9,       176:4, 13, 19 177:1,    outing 57:6, 19
                         18 8:8 11:7 15:15         3 178:1 179:10, 14        59:3 67:20 68:3,
<O>                       16:22 21:1 22:5,          180:10                  22 87:17 96:20
oath 5:19 181:11         15 26:22 28:8, 13         old 147:17 155:15        outlined 128:23
object 16:2 43:5          30:11, 21 32:4, 22       OLSON 2:7 3:4             160:2 177:16
 47:24 55:6 101:7         33:14, 15 35:9, 12        16:2, 17 17:1 37:6      outside 41:21 42:1,
 122:21 135:19            36:6, 20 37:3, 22         43:5, 22 47:24          12 43:14 46:10
 146:14                   38:7 39:1 40:9            51:13, 18 54:15          47:1 65:5
objection 16:17           41:6, 16 42:10            55:6 74:11 95:9         outsiders 91:1
 17:1 61:6, 14            43:23 44:9 46:9,          97:14 101:7 104:9,       132:9 134:11
 73:13 74:11 78:8,       14, 21 47:19 50:15        17 106:16 110:6          overlap 60:3
13 97:14 104:9, 16        51:18 52:2, 12            122:21 129:19           override 19:19
 110:6 129:19             53:12 55:2 56:21          135:19 142:11, 13,      oversaw 60:16, 17
 142:11 148:14            58:2 59:24 61:1,         23 146:14 148:14         oversee 11:19
Objections 140:13        11 62:18 63:22             156:3 173:21, 24        owners 10:17 12:15
observed 103:21           64:9, 11 65:21            174:7, 12 176:22        owns 129:5
observing 101:16          68:4 70:12, 19            180:9, 11, 13
obtains 43:14             71:24 72:14 73:5         once 27:14 100:15        <P>
Obviously 142:18          76:11 77:1, 3, 18        ones 16:13 33:14,        p.m 65:12, 13
occurred 69:8 87:7        78:11 79:7, 15           16 35:9 87:23            72:19, 22 84:23
 88:10 178:22             80:2, 4, 17 81:1, 15      176:1                   88:14 95:12, 12
 179:12                   83:4, 15, 20 84:24       ongoing 120:3            135:5, 5 174:2, 2
occurring 59:10           85:15, 19 87:2, 14,      open 108:21 111:19       182:16
October 152:1            21 89:23 91:8, 17         opening 111:14           p.m. 107:12 124:16
 153:17 155:9             92:14, 18 93:14          Operating 50:5           packages 23:11
 161:7 162:19, 22         94:18 96:6, 19           operations 41:2          packaging 161:13
 166:23 168:13            98:11, 17 99:9            60:16                   page 36:22 37:5
Offense 55:14, 14,        100:9 104:18             opportunity 155:11       42:8, 17, 18 54:3
14 56:3 101:5             105:16 107:14, 22        option 118:17            63:8, 9 70:7, 8
offer 137:9 138:2,        108:3, 6, 13 111:24       127:2, 3, 5 136:13,     79:1, 2 83:16 84:9
7, 13 139:13              113:7 114:13             16, 24 137:2, 11, 17     107:15 108:14
offered 11:10             116:15, 18 121:4, 10,     150:7, 19, 22, 24       112:17, 20 114:13
 40:21 61:15, 24         23 124:1, 4 126:23         151:1, 17, 18 153:13,   140:17 141:4, 5, 5, 7
 136:12                   127:7, 22 132:6          20 154:2 165:7, 9        146:7 147:11, 11
offering 103:19           133:3, 7 134:19          optional 67:23           149:5, 8, 16 161:6
                          136:2, 6 138:9                                    166:22 168:14

                                  Worldwide Litigation Services
                              (312) 528-9111 | info@worldwidelit.com                       Page 14
                             Michael
Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                53-3 Filed: - 6/26/2019
                                                     Page 66 of 73 PageID #:582
                          Rowena Dziubla vs. J.C. Anderson, Inc., et al.

 170:22, 22 173:17      6 120:14 157:11, 14,       139:12                   118:16 166:3
 175:17 177:2           21 170:23                 phrased 37:13             177:4, 9, 22
 182:19                 perceived 119:18          phrasing 122:18          portion 65:7, 9, 13
pages 125:15, 16         122:3, 14                physical 7:10            position 14:5 17:20
 175:8, 9 181:14        percentage 125:24         physically 124:1          25:9 132:11, 12
Paid 44:10 45:19        perform 128:23            picture 29:21            positive 143:10
 47:2 67:19, 20          131:20 135:16             103:18                   155:14
 119:1                   143:9 180:6              pinpoint 121:14          positively 131:23
paperwork 23:12         performance 26:23         place 73:11, 21, 23       132:14, 16 180:7
 127:9 138:20            27:2, 7, 10, 11 31:18     142:5 173:11            possession 160:6
paragraph 42:24          50:24 51:3               placed 56:12             possibility 97:2
 110:10 111:2           period 14:11 36:3         places 64:11              106:12 132:22
 132:23 133:22           60:3, 6, 7, 9 119:16     plain 133:20             possible 148:10
 177:12                  120:12 148:18            Plaintiff 1:4 2:4        possibly 22:15 67:8
paraphrasing 85:10       158:8                     5:3, 11 37:8             121:12
parentheses 52:3, 9     person 14:16 19:15         140:20 181:4            post 8:14
 108:21 109:9            31:24 35:20 45:7         Plaintiff's 140:13       potential 21:4
Park 8:18                70:22 73:17 76:2,         141:9 178:15             22:15
parking 98:8 99:4       9 80:17 82:12, 14,        Plan 27:10, 13 51:3      POWER 1:11 3:2,
part 28:13 41:3         22 86:22 87:17            planning 158:21          7, 8, 9, 10, 11, 12, 13,
 68:3 71:22 72:13        101:2 102:17             play 64:9, 13, 15        14, 15, 16, 17, 18, 19,
 76:14, 16 79:1, 7       115:18 141:22            playing 64:4             20, 21, 22, 23 4:1, 2,
 94:10 98:2, 13, 18     personal 30:12            please 5:12 6:5, 10,     3, 4, 5, 6, 7, 8, 9, 10,
 99:9 118:1 120:3        33:23 44:16 53:16        15 8:6 23:21             11 5:2, 8, 14, 15
 132:15 138:22           57:10 125:19              37:14 54:18 78:18        36:14 39:3 44:9
 154:19 155:5            161:14 165:19             83:5 84:2 86:9           51:11, 20 58:10
 166:22 170:22          personally 69:11, 12       140:10 160:1, 3          69:22 78:19, 22
 173:10, 12, 15 175:3    77:8 99:7 102:10          161:10 180:12, 15        83:6 84:3 86:10
 176:9 182:20            113:17 158:3, 14         plus 52:4, 15             95:17, 20 104:20
participant 67:21        165:17 182:10            point 33:23 73:10         106:22 109:5
participated 58:23      personnel 39:22            74:17 86:1, 7 97:1       111:24 112:8
particular 108:23        56:13                     108:8 109:18             114:22 124:6
 177:15                 persons 182:18             112:6 116:6              125:11 140:3
particularly 146:6      pertaining 11:10           118:18 123:17            141:8 144:15
parties 21:17           PETER 1:7 2:16,            125:19 127:16            147:4 148:21
 103:20, 24 104:1       21 58:13, 15 66:2          131:17, 24 136:18,       152:3 160:20
 137:9 182:19, 24        98:5 101:20              19, 20 137:9, 19          162:5 166:16
party 97:2, 9, 12        103:16, 18, 23 179:4      138:15 139:2, 20         168:1 169:5
pass 59:8                181:7                     142:10 143:6             170:14 172:12, 18
passed 13:1, 3          Peters 106:9               150:18 151:15            174:11, 17, 20
 60:13                  Peter's 102:1              153:14 173:17            181:10, 20 182:9, 11,
password 86:18, 19      phone 70:23 76:6,          180:5                   14
paternal 109:6          23 100:22, 23, 24, 24     points 42:22 55:14       practice 65:5
pay 68:2 154:19          101:1 105:14              177:8, 23               prepare 7:15
paycheck 165:3, 4        115:19 138:16            Policies 8:1, 2 10:7     prepared 39:16, 17
people 8:22 17:11        139:22 141:22             23:10 39:10 40:10,      preparing 21:14
 37:7 40:2, 4 65:3,      145:14 153:1             17 41:24 54:14           presence 157:1, 3
4 66:14, 21, 24          160:5 161:11              62:19 63:13 82:17       PRESENT 2:21
 68:10 82:20 91:18      photo 66:11                118:17                   41:3 98:4 99:22
 92:15 98:12 107:6,     phrase 87:19              policy 46:5 48:4, 4,      100:6 103:13
                                                  8 63:10, 16 74:10         113:21 136:6

                                 Worldwide Litigation Services
                             (312) 528-9111 | info@worldwidelit.com                         Page 15
                             Michael
Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                53-3 Filed: - 6/26/2019
                                                     Page 67 of 73 PageID #:583
                           Rowena Dziubla vs. J.C. Anderson, Inc., et al.

 141:21 142:2, 3          40:11, 17 82:17          PULLOS 2:18               92:16
 145:9 152:24             118:17                   135:8                    ranges 26:4
 182:17                  proceedings 44:3          Purchasing 26:14         ratio 92:6
presented 51:7            95:14 135:7 174:4        pursuant 1:14            RCX 3:1
 126:24 130:16, 17,      process 16:23 17:6        put 9:12 17:3 21:1       RDX 3:1
18, 19, 21 144:22         81:9 176:12              27:9, 12 38:7            reach 8:23 45:23
 145:3, 5, 21, 23        produced 51:13            39:12 68:21 136:18        77:4, 5 97:8 102:7
 150:6 154:18            production 176:10         putts 65:6                113:7, 9 130:8, 13
 155:11 165:6            productive 103:6                                    150:15 151:9
 172:17 173:8            professional 11:9         <Q>                      reached 76:8, 19, 24
presenting 136:20         68:20 114:18             qualify 46:15, 19         77:7 105:11 151:7
presently 89:8 90:6      progressive 55:16         quantify 156:13          reaching 53:22
preserve 151:18          prohibit 42:1             question 6:5, 7, 7, 8,    165:11, 19 168:10
president 12:14          prohibited 41:17          16, 17, 20, 21, 22       read 15:11 32:22
 14:18 18:5, 8, 20, 24    166:4                     19:23 26:21 33:9         41:15 54:15, 22
 19:1, 3 26:12 40:6      project 16:15              37:15 54:19 58:19        73:14 84:15
 59:20, 21, 23 152:11     17:14 21:3, 4, 8, 10,     77:9 84:14, 17           108:24 109:1
 171:18                  18, 19 22:6, 11, 12        100:1 103:24             110:21 111:17
Presidents 60:8           26:13 27:20, 21           110:16, 17 122:5, 18,    122:20 129:23, 24
pressure 97:18            29:17, 19, 23, 24        24 129:23 130:13          132:23 133:2, 13
presumably 67:17          30:3, 24 31:13, 15        141:6 143:11             138:24 147:19, 20
pretty 18:13 83:16        32:3, 4, 7 33:2, 11,      146:7 171:7, 10, 13      149:19 161:10, 15
 117:24 125:6            16 34:13, 17, 18, 19      questioned 136:1          162:15 168:18
 156:18                   48:21, 23, 23 49:17,     QUESTIONER 13:4           177:19 181:13
PRETZEL 2:12             21 50:9 93:20, 24         questions 6:10 7:7,      reading 54:20
prevent 7:12 90:11,       113:23 166:11            13 8:8 26:19              108:19 122:18
11, 16                   projects 16:20, 23         27:14 32:11 61:8         133:14, 15 134:7, 9
previous 83:17            17:2, 9, 12 29:22         66:5 83:3 102:22,        138:21 142:21
 110:16, 17              pronounce 98:20           22 103:2 113:3            153:7 160:3
previously 31:4          proper 62:15               135:23 140:24           reads 73:5, 9
 80:13 81:21 133:8       properly 62:4              174:6 176:14, 14, 20     124:23 127:12
 161:22 164:21            98:21 123:3               180:9                   ready 65:7 131:23
PRICE 2:7 106:17         property 160:1, 4, 6,     quick 173:19              164:13, 19, 22
pricing 17:3             11 161:24                 quicker 148:1            real 14:6, 6
prior 38:14 39:17        proposals 17:3            quickly 32:23            realize 84:17
 45:3, 4 47:10           propose 146:3             Quite 30:20              really 32:23 47:16
 51:13 63:16 85:5        proposed 149:14                                     102:21 145:8
 117:12 135:19           provide 23:9 63:2,        <R>                      re-asking 6:8
 142:13 157:7            5, 15, 19 133:21          Rachael 93:19            reason 7:9 24:6
 165:20 177:18           provided 40:16, 19         168:6, 9                 146:17 169:2
privileged 146:15         41:7 62:22 159:16,       R-a-c-h-a-e-l 93:19      reasonable 129:15
probably 28:2            17 161:12                 racially 156:24          reasons 154:18
 57:22 88:13 90:15       provides 133:23           Radoha 12:24 59:6,       recall 15:4 16:12
 92:17 139:21            providing 105:13          7, 19 60:7, 17 61:22      22:18 24:14 27:16,
 142:21                  PTO 83:23                  66:17, 18 67:17         18 30:16, 18, 20
probationary 155:12      PTO's 44:13                68:17 99:2 100:24        31:17 34:6, 10, 12
problem 95:1 99:14       Public 1:13 64:15          114:15                   49:5 53:22 54:1
Procedure 1:15            181:24 182:5 183:8       raise 59:4 154:7          66:8, 22 70:24
Procedures 8:1, 2        Pudlo 1:13 182:4          raising 61:21             71:19, 21 72:7, 10,
 10:7 23:10 39:11         183:5, 7                 range 65:6 88:15         11, 13 76:12 78:1, 3,
                                                                            4, 6 79:16, 18 80:1,

                                  Worldwide Litigation Services
                              (312) 528-9111 | info@worldwidelit.com                       Page 16
                             Michael
Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                53-3 Filed: - 6/26/2019
                                                     Page 68 of 73 PageID #:584
                          Rowena Dziubla vs. J.C. Anderson, Inc., et al.

2 81:1, 18, 19 82:5,    reference 41:12           repeatedly 88:24         response 35:2
16 83:24 85:6, 7, 18,    78:8 161:20              repetitive 113:3          45:15, 21 47:23
19, 23 87:21, 23        referenced 28:21          rephrase 6:20 78:9        55:19 57:8 60:5
 88:19 89:3, 15, 17,     41:1 133:23              replace 19:3              81:5, 7, 13, 16, 20
19 94:23, 24 97:4, 7    referencing 173:5         replied 116:14            84:12 107:19
 105:19, 20, 22 106:3   referred 34:19            reply 105:5 124:15        116:17 129:4
 108:12 111:5           referring 42:19, 23       report 12:13, 19          143:16 149:6
 114:7, 8 115:14, 21     110:9                     13:14 14:14 45:9         162:20 165:5, 14
 118:11 119:10, 17,     reflect 94:13              49:24 50:1, 9, 12        179:21
20, 21 120:1, 5         reflected 94:8             104:3, 6, 8, 17 127:9   responsibilities
 121:11, 15 127:13,     refreshes 173:9            136:8                    10:23 11:17, 22
22 141:23 142:1, 7      regard 154:24             reported 12:9             12:3, 8 60:15
 143:17 144:10          regarding 39:23            13:12 14:15, 16         rest 93:12
 146:22, 23 151:11       73:11 74:17 79:19        reporter 6:3 24:23       restart 49:24
 152:14, 20 154:3        145:7 152:23              182:5                   restate 85:17
 155:2 157:17, 19, 20    158:5, 12 178:15, 17,    reports 13:5, 6, 7        129:21 130:1, 4
 159:23 167:19, 20,     18                        represent 36:20           143:18
22 170:8 171:8          Regovic 33:5, 20           131:23 132:4, 13, 16    restored 86:4
 172:2, 4 173:12, 18    regular 47:14 91:5         143:10 155:14            123:16, 19
 178:14, 24 179:19      regularly 34:14            180:7                   result 43:3 87:12
receipt 153:22          reject 137:16 139:8       Representative 10:8,      97:20 177:18
 179:22, 23             related 58:23 74:22       10, 16, 20 17:21         results 103:9
receive 38:14 44:10      94:22 164:24              27:3 49:12 62:12         118:10 142:9
 126:19 163:7            182:24                    82:19 94:16             retaliated 18:2
received 41:4           relates 175:4             representatives          retaliating 18:3
 70:13 76:6 80:9,       relating 10:23             22:16                   retaliation 11:3
15 105:16 127:14         27:10, 11 29:10          reprimand 56:3           retiring 19:3
 149:6 167:7, 16         62:19 82:15 118:1        request 87:6 129:7,      return 124:1
 179:8                  release 146:4, 10         9 176:8                   129:17 150:7
receiving 79:15         relevance 16:3            requested 54:22           154:2 160:1, 3
 105:8 128:6, 13        relevant 111:12, 13        84:15 110:21            returned 123:18
 130:15                  154:12                    122:20 129:24            154:9
Receptionist 13:7       remainder 83:23            138:24                  returning 123:23
 93:18                  remarks 118:23            requests 17:3             129:13 130:5
recess 43:24 95:11      remember 10:15            required 30:12            153:20 165:7
 135:4 174:1             11:12 15:2 24:11,         33:23 41:21             review 29:24 56:18
recipient 72:16         15 28:3, 8 29:1           requirement 43:13         140:20, 22 147:16,
recognize 107:3          58:6, 7 67:9 68:4,        67:16                   18, 23 148:6
 144:19 149:1 162:9     7 71:1 76:22              re-read 84:13            reviewed 7:23
record 5:13 29:12        80:19, 22 100:13, 18     reserve 180:11           revised 39:19
 44:5 54:22 84:15        106:7 139:17             reserved 182:22          revisit 26:21 38:7
 95:15 110:21            151:13 153:2             reserves 177:13           56:21 178:1
 122:20 129:24           159:10 168:8 172:9       reside 8:6, 7            ridiculous 149:18,
 135:9 138:24           Remind 94:15              resigned 90:7            21, 24 150:2
 139:24 182:13          reminded 129:5            resolution 148:3         Right 31:4 38:18
recruit 168:11          remotely 123:20           resolved 28:6             43:4 52:10 57:9
redirect 174:8           126:10                    148:11, 13, 17           64:18 73:3, 8
redundant 102:14        repeat 6:20 14:20         Resources 10:2            74:18 83:18 85:2
refer 43:20 44:14        37:15 45:16 54:18        respected 155:18          90:10 91:19 94:5
 157:20                  110:18                   responded 143:13          105:14 107:11
                                                                            114:10 119:8, 12

                                 Worldwide Litigation Services
                             (312) 528-9111 | info@worldwidelit.com                       Page 17
                             Michael
Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                53-3 Filed: - 6/26/2019
                                                     Page 69 of 73 PageID #:585
                         Rowena Dziubla vs. J.C. Anderson, Inc., et al.

 124:13 125:4                                    Schumachers 88:20          168:3 169:4, 7
 127:11 133:12         <S>                        131:8, 10, 19 135:14      170:13, 16 172:11,
 139:20 142:24         salary 149:23             Schumacher's 15:21,       14 173:19, 22 174:5,
 160:9 167:3           SAM 2:2 5:10              23 20:3, 4 73:1, 5        9, 13, 19 176:19
 168:21 169:24         sam@goldmanehrlic          141:11, 19                180:10, 12
 172:23 173:3          h.com 2:4                 Science 8:12              see 18:17 25:23
 175:6 176:1           Saunders 93:21            scooter 31:16              37:1 51:14 52:2, 6
 177:13, 17             120:20 121:3             seal 183:4                 54:7 63:11 68:8
risk 122:17            S-a-u-n-d-e-r-s           second 37:5 80:16,         70:15 80:20 87:3
River 64:24             93:21                    17 82:3, 5, 9 83:20        114:4 140:23
Ro 76:7, 19 81:6       save 127:8                 110:10 112:17             155:13 168:7, 17, 23
 95:24 98:4, 7, 14     saw 29:2 68:6              130:19 177:12             169:14, 15 171:16
 99:3 108:2, 10, 17,    70:12, 17 79:12          second-to-last             173:8 175:18
22 110:1 111:14         98:8 133:10 174:10        140:16                   seeing 68:4, 7
 112:6 114:5 117:6     saying 71:19 81:20        Section 36:22              72:11, 13 115:21
 118:4, 14 120:20       85:8, 19 108:15           37:10, 12 40:11           153:5 157:17
 128:19 149:7           111:15 112:23             41:2, 6, 8 42:19, 20     seen 36:18 39:7
 166:9 167:7, 11        114:7 116:3               43:11 52:12 54:7,         51:21 58:14 70:3
 170:23 174:24          124:19 127:16            9, 11 63:10 146:6          78:23 83:10 84:7
 175:16 179:2           129:12 132:18            sections 40:23             86:14 95:21
road 151:8              133:10, 20 149:17         41:11                     104:24 112:12
Robert 93:17            154:21 163:4, 6          security 154:23            115:3 120:14
Robertazzo 93:17        168:10, 15 172:20        SEDAEI 2:2 3:3             124:10 125:16
role 10:2, 5, 12       says 52:3, 3, 4, 6, 8,     5:7, 10 16:4, 21          140:7, 11 147:8
 18:1, 19 23:8 25:6    9, 10, 12 54:5 70:9        17:8 24:21 36:13,         152:7 161:1
 38:19 48:20 58:16      108:6, 21 114:2          16 37:9, 16 39:2, 5        166:20 168:5
 65:17, 18 69:2         141:7 142:5 177:12        43:6, 21, 23 44:5, 8      169:9 170:18
 96:14                 scenario 55:17             48:2, 7 51:10, 15, 19     174:21
roles 21:17 29:20      scenarios 46:3             54:17, 20 55:1, 7        seminars 11:8, 10,
roll 45:11             Scheitel 99:2 101:1        61:7, 17 69:20           15
room 29:2 44:22         113:18 114:1              70:1 73:16 74:15         send 90:16 138:20
 113:15 131:13         school 8:14, 17            78:11, 15, 18, 21         161:11
 157:9, 22             Schumacher 12:17,          83:5, 8 84:2, 5, 13,     sending 85:5 167:5
Ro's 77:13 86:18,      18 15:11, 12 19:8, 9,     18 86:9, 12 95:10,         168:14
19 88:22               24 20:1, 2, 10, 12        15, 19 97:17 101:13       Senior 13:6, 9 14:1,
Ross 106:9              58:5, 12 61:3, 4          104:10, 11, 15, 18, 22   21
Roughly 18:12           68:17, 24 69:19           106:21 107:1             sense 5:22
 26:3 67:8              70:6, 20 71:19            110:8, 18 111:1          sensitive 157:5
routine 155:15          72:12 73:24 74:23         112:7, 10 114:21         sent 69:18 73:24
ROWENA 1:2              75:1, 3, 6, 10, 10, 13    115:1 122:17, 23          84:21 85:8 118:2
 2:21 51:24 73:7        80:7 83:21 84:10          124:5, 8 125:10, 13       128:2 137:14
 87:16 152:11 181:2     85:2, 5, 8, 16 88:9, 9    129:23 130:3              145:13 146:1
RUFF 2:13 44:4          89:18 91:10, 10           134:15, 19, 22 135:1,     149:18 152:11
 134:13, 18, 20, 24     99:20 100:3 102:6        9, 10, 21 138:21           159:24 164:14
 135:8                  105:23 117:21             139:1 140:2, 5            167:15 168:15
Rule 36:21              128:9, 9 129:2, 5         142:15 143:2, 5           172:17 174:14
rules 5:23 41:24        130:5, 10 141:8, 18       144:14, 17 146:19         176:8
run 8:22 45:19          146:20 147:12, 13         147:2, 6 148:15, 19,     sentence 21:2
 53:12 55:3, 9 95:7     149:4, 4, 17 152:17,     23 152:2, 5 156:4, 7       177:12
 174:11                18, 24 162:13 178:7,       160:18, 22 162:4, 7      sentences 138:22
                       8 179:7, 7                 166:15, 18 167:23        separate 154:6

                                Worldwide Litigation Services
                            (312) 528-9111 | info@worldwidelit.com                        Page 18
                             Michael
Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                53-3 Filed: - 6/26/2019
                                                     Page 70 of 73 PageID #:586
                           Rowena Dziubla vs. J.C. Anderson, Inc., et al.

separation 130:22        short-term 118:16         sleep 163:9               105:19, 20 106:3
 136:21 137:10, 16,       127:1                    slightly 103:12           114:8 121:11
20 138:1, 14 153:7       shotgun 65:11             slow 92:19                125:3 127:24
 179:8                   shots 65:6                smartass 128:11           128:13 132:15
September 53:13,         show 37:7 46:7            soliciting 162:16         133:17 137:21
17 72:19 79:14            64:23 65:1, 3             163:5, 8, 12             154:20 155:2
 80:5 86:8 107:12         157:18                   somebody 19:18            156:22 159:4, 23
 115:6, 9 116:9          showed 85:10               22:10, 11 45:10          160:8, 10, 16 164:10
 118:12 119:3, 23        showing 36:17 39:6         71:9 76:6 89:12          167:19 170:8
 120:9, 10, 11, 13, 18    51:20 70:2 78:22          95:2 108:9 163:4         171:22
 121:24, 24 122:10        83:9 84:6 86:13           164:7                   specifics 11:11
 123:4, 8 124:16          95:20 104:23             soon 8:23 148:9           49:6 108:12
 125:1, 2, 5, 8 126:15    107:2 112:11             Sorry 12:12 13:24        speculate 22:10
 127:8 136:24             115:2 124:9               22:22 51:16 53:7         48:3
 137:13 142:6, 6, 20      125:14 140:6              54:9 84:16 92:23,       speculation 22:13
 143:12 153:16, 16,       144:18 147:7             24 94:3 98:9, 22          48:1 74:12 97:15
16 155:9 164:14           148:24 152:6              99:11 104:10             129:20
 176:5                    160:23 162:8              113:3 126:19            speed 134:16
serious 71:7, 10, 10,     166:19 168:4              134:8 136:18            spell 24:19, 22
20, 20 72:1 81:4, 4,      169:8 170:17              162:21 172:23           spend 157:8, 10
22 96:4                   174:20                    173:2 174:9             spending 66:8
serve 65:2               shows 52:21               sound 128:11             spent 126:2, 3
server 88:4, 5 89:5      sic 172:18                 179:14                  split 156:19
 90:2, 13 123:13, 17,    sick 44:15 46:6, 22,      South 1:17 2:3, 13       spoke 98:3, 7, 18
21 126:8                 23, 24 47:4, 7, 10, 15,    182:8                    99:12 101:24
set 47:4 140:13          19, 21 48:13 52:18,       spanned 137:24            141:18 178:7
 170:23 183:3            21 53:1, 17, 24 55:4,     speak 96:2, 4 98:1,      spoken 57:3 74:16
Seth 33:4, 19 34:16,     10 56:1                   13 100:9 102:4            99:4
22                       side 102:11 126:4          103:7 121:10            SS 182:1
severance 51:8            174:14                    130:6, 10               staff 26:13 41:5
 130:17, 21 132:22       sign 139:9 147:16         speaking 85:13           stamp 72:21 83:15
 135:11 136:7, 12         150:10 166:14             103:11 141:20            127:15
 139:5, 8, 8, 9 144:22   signature 140:17           164:10                  stamped 149:9
 146:3, 12 149:13         181:15 182:21            specializes 15:8          175:18
 150:11, 14, 19 151:9,   signed 67:19 152:10       specific 39:24 43:8,     start 8:9 26:6 30:6
16 154:12, 20 155:6      similar 52:21             9, 12 58:7 79:18          44:21 54:4 65:7,
 179:24                  simply 106:4               82:16 97:20 98:11       12 109:8 110:10
severity 177:14          single 27:21               113:6 121:15             111:2 156:1
sexual 63:13             sip 130:19                 133:22 140:24           started 9:21 14:1
Shaking 9:1              sir 16:5                   141:6 145:8              15:3 18:23 60:12
share 167:10             site 17:11 21:10, 14       146:17 158:24           starters 154:3
 168:15                   178:4                     166:3, 8 169:2          starts 65:11 70:8,
shared 60:13 75:16       sitting 108:15             172:4 176:13            10 112:16 132:24
 87:19 103:15 179:2       175:15                   specifically 28:3         141:4, 4
sharing 167:7            situation 48:5, 6, 9       31:17, 22 36:11         State 1:14 5:12
Shaw 13:19 14:3, 8,       55:8 56:6, 8 177:15       39:14 41:6, 10           120:20 122:15
14, 19, 24               six 18:16 91:13            43:16 50:20 60:22        182:1, 6
sheet 181:18              138:3, 6, 13, 19          67:7, 10 71:6 76:4,     stated 87:24 104:3
short 60:3, 6 72:8        154:14                   22 77:15 80:24            112:4 144:5 159:14
Shorthand 182:4          skip 177:15                83:24 89:4, 12, 15      statement 83:22
shortly 80:23                                       90:14 101:4, 10          102:1 106:2

                                  Worldwide Litigation Services
                              (312) 528-9111 | info@worldwidelit.com                       Page 19
                             Michael
Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                53-3 Filed: - 6/26/2019
                                                     Page 71 of 73 PageID #:587
                         Rowena Dziubla vs. J.C. Anderson, Inc., et al.

 111:18 126:12         supervisor 23:15           116:5 118:4 129:2       termination 56:17
 133:6 159:24           45:5 49:19 113:8          143:13 172:6             161:23 165:12
statements 88:22       supervisors 25:18         talked 19:8 27:19         177:18 179:17
 104:7 112:23           53:3                      57:16 58:2 77:3,         180:1
 117:18 171:19         supervisory 25:6          22 80:14 82:1            terms 21:16 26:11
 178:15                supplement 26:18           106:6                    139:4 145:1, 8, 9
STATES 1:1, 16         support 36:24             talking 42:20 70:9        150:16, 20 151:10
 105:12 181:1          supposed 45:4              77:21 78:1 80:11         154:8
stating 105:10          125:1, 5, 7 165:15        85:11 94:6 102:20       testified 5:4
 124:18 127:8          sure 32:10 45:18           105:24 108:17           testify 182:12
 147:15                 56:8 78:15 97:19          109:2 154:20            testimony 5:18
Stegman 158:12, 12      98:20 105:19              156:16 162:2             110:7 135:20
 166:23 167:5, 10       137:4 139:19              164:18 172:16            142:14 182:13
 169:23                 141:10 158:20             175:15                   183:3
steps 177:16            174:12                   tapers 26:10             Thank 33:22 78:12
Steve 50:3 53:21       surgery 34:9 64:6         tax 23:12                 171:12
 91:11 113:14          surprised 163:7           team 29:23 91:7, 9       thanks 56:21 63:22
Stojowski 98:21        suspend 87:15, 22          145:17                   147:2
stops 19:21             88:1, 6 89:10            teams 34:20              thereof 183:2
story 102:11           suspended 86:3, 6         telephone 131:3          thing 6:12 7:2
STOUFFER 2:12           87:9, 11 90:9            tell 8:6 15:6 20:22       31:17 108:15
Street 1:18 2:3, 8,    suspending 86:20           23:21 26:20 28:23        110:11 111:3
18 182:8               Suspension 56:17           29:18 33:16 37:4         174:10
stress 7:10             87:6 90:1                 39:9 42:5 46:3          things 5:22 89:11
Strike 69:14 143:7     switch 56:23               48:3 51:23 53:15,        90:5 119:14 134:2
 146:2                 sworn 5:1, 4              16 59:2 87:2 91:8         164:2
Studzinski 23:22        181:11, 20 182:12         92:5 93:15 95:23        think 15:3 18:22
sub 112:21 114:1                                  102:6, 17 109:20         22:9 33:14 37:13
subcontractors 21:7,   <T>                        110:1 111:7              38:1 42:7 43:18
22 22:5 66:17          T.V 157:19, 21             113:18 117:10            48:12, 15 58:18
 67:5 77:2 90:17,      T.V. 157:12, 15            124:24 125:16, 23        64:11 69:21 84:14
24 113:5 134:11        take 6:14 7:4, 8           146:20 152:9             94:18, 19 97:22
 166:5                  30:12 31:8, 13            153:2 154:15             102:9, 12, 15, 19
subject 55:12           32:9 33:24 37:3           163:3 170:20             103:1 105:2
 130:22 166:10, 13      43:21 45:1 48:24          174:23 175:3             106:13 110:19
subjected 54:13         49:3 54:15, 17           telling 27:18 81:15       121:23 123:6
 56:2, 17               65:6 74:6 81:4            146:24 151:14            134:15, 20 135:2
submit 17:4             95:9 118:18              Temporarily 123:14,       136:9 144:10
submitted 140:19        130:19 134:13, 15,       15                        149:24 156:2, 9
subs 68:1 162:17       18 138:16, 19 139:8,      ten 30:7 32:12, 13        159:12 163:15, 18,
 163:5, 8, 12 165:11   13                        tennis 64:4, 6           20, 24 164:3, 4, 17
SUBSCRIBED             taken 1:12, 14 7:2,       tenure 138:4, 8           169:13 171:17
 181:20                6 43:24 73:11, 21,        term 154:19               172:3 176:13
substance 7:12         23 95:11 114:5            terminate 152:15         thinking 137:5
sued 17:17              135:4 174:1 181:12        153:10, 18 155:10       third 97:2, 9, 12
suggestion 96:15       talk 46:9 62:14           terminated 86:1, 2        112:20 141:7
suit 183:1              76:21 77:4, 12            151:3, 21, 23, 24        149:8 175:17
Suite 1:18 2:3, 13      89:20 98:17               163:21 168:21            177:11
 182:8                  100:15 102:10, 16         182:16                  third-party 86:17
supervises 25:8         113:9 114:14             terminating 152:12        97:6


                               Worldwide Litigation Services
                           (312) 528-9111 | info@worldwidelit.com                       Page 20
                             Michael
Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                53-3 Filed: - 6/26/2019
                                                     Page 72 of 73 PageID #:588
                            Rowena Dziubla vs. J.C. Anderson, Inc., et al.

thought 43:7 46:2          149:20 153:14            toxic 87:18 88:24        Uh-huh 27:5 29:7
 81:24 99:11               157:8, 10 168:8           119:11 178:16            110:14, 19 143:4
 111:13, 17 123:11         174:11 179:18            track 53:3, 4             150:12 178:5
 137:8 150:1 153:9        timeline 15:20            Tracy 109:3 111:8        uh-huhs 6:11
 171:11, 15               times 34:19 87:19         training 10:22, 24       uh-uhs 6:12
threatened 90:19          timing 20:13 25:12         11:2, 5 38:14, 21, 22   unable 31:6
 94:12                     30:10                     40:21 41:4, 10          unacceptable
three 9:11 30:23          title 9:8, 14, 19, 21     transcribe 6:3            129:18 130:12
 31:6 34:18 35:14,         10:4, 6, 10 12:4         transcript 181:13        unavailable 108:11
17 42:22 46:6, 9, 10,      13:23 18:23 19:9,         182:20                  undergo 10:22
14, 15 47:6, 7 52:15      13 20:4, 20 48:22         Treasurer 9:16, 17,      understand 5:18
 55:13 81:7 83:13          50:4, 6, 6 59:23         20 11:23 12:20            6:19 22:2 78:15
 148:13 172:15, 17         60:13 77:1 113:4,         13:11                    80:8 122:24
 177:8, 22                6, 22 121:4 166:8         tried 97:5 168:11         134:24 141:10
Tiger 65:21               titled 149:9              trouble 127:9             162:1
Tim 19:24 23:22           titles 9:23 13:22         true 130:15 182:13       understanding 30:2
 35:4, 12 99:1             26:8, 11, 15 93:16       truth 182:12              84:24 177:21
 100:10 101:1             To: 72:14                 truthful 7:13            Understood 6:18, 22
time 12:22 14:12          today 5:19 7:5, 7,        try 6:10 97:8             60:24 133:15 134:8
 17:15 18:9 23:17         13 17:17 124:21           trying 18:22 20:23       unemployed 14:11
 25:11, 13, 16 27:4       today's 7:15               32:16 90:11, 11, 15     unexcused 46:7
 30:8, 13 33:12, 17,      told 28:22 29:1, 5         99:12 121:14            unfit 123:8, 12
24 34:9 35:10              75:13, 15 76:12           128:11 133:1            unhappy 89:8
 36:3, 4 38:5 39:19        102:13 105:23, 24         134:16 139:19            120:21
 44:11, 14, 15, 15, 20,    118:21 127:1, 5           145:23 156:2, 13        Union 26:10
23 45:19 46:23, 24         129:8, 18 130:11         Tuesday 161:7            UNITED 1:1, 16
 48:11, 22 49:13           137:21 138:17            turn 159:21 176:23        16:7, 8, 9, 10 181:1
 50:2 52:15 53:23          139:7, 12 142:8          twelve 7:1               University 8:13
 54:17 57:22 59:23         151:24 163:21            two 13:13 33:2            16:6
 60:1, 3, 3, 7, 9 62:11    164:9, 12, 13, 21         44:19 59:22 64:8        unpaid 46:8 48:16
 65:24 66:8 68:7           179:3                     85:1, 15 90:3            118:19, 21
 70:4, 12, 15, 19, 24     Tom 12:18 19:5             131:8, 15, 19 135:13    unreasonable 129:6
 71:23 72:21 73:21,        20:1, 2, 4, 12 88:9       138:5 142:19            unsure 30:6
24 75:23 76:7, 15          91:10 96:13               143:23 148:6            unusual 7:10
 78:1 79:12 80:19,         117:20 128:9              156:19 164:1            unwillingness 180:5
21 83:15 86:7              152:18, 24 178:7          175:8, 9                updated 82:18
 87:6 89:8 92:12           179:7                    two-thirds 114:2         updates 39:21, 24
 94:11, 18 95:7           tomorrow 127:10, 20       type 31:16               UPS 146:1 161:11
 98:4 99:23 100:16,       top 72:12 79:7, 13        typed 111:5, 22, 23      upset 89:9 94:21
17 103:4 106:3, 17,        83:16 84:9 105:5          176:2, 2                 109:17 144:4, 5, 6, 7,
18 109:18, 22, 23          107:14 108:6             types 40:7               12
 111:9, 22 113:4, 21       124:15 141:7             typewritten 175:21,      use 6:11 36:24
 116:11 117:7, 15          142:4 147:11, 11         24                        40:22 41:12 45:10
 118:2, 14 119:16          161:6 162:11             typically 17:5            46:23 53:1 144:13
 120:2, 9, 11, 12, 16,     167:2 170:2 172:20        44:14 64:15 65:1,       usual 127:10
18, 20 121:2, 15          topic 159:1               10                        139:10
 122:5 123:5 126:1        topics 11:10                                       usually 21:13
 127:6, 15 128:14         tore 30:14 34:1           <U>                       65:11, 12 157:13
 131:24 132:2             Total 52:3 93:3, 5        U.S 11:3
 134:13 136:5             touch 96:2                                         <V>
 137:9, 19 138:15         tough 154:22

                                  Worldwide Litigation Services
                              (312) 528-9111 | info@worldwidelit.com                          Page 21
                             Michael
Case: 1:18-cv-04542 Document #:      Power 02/20/20
                                53-3 Filed: - 6/26/2019
                                                     Page 73 of 73 PageID #:589
                            Rowena Dziubla vs. J.C. Anderson, Inc., et al.

vacation 34:9 36:4         148:3, 11, 12, 17         100:7 117:18              worth, 109:13
 44:14, 15, 17, 20         154:2, 19, 23 174:11      134:21 141:21             Wow 64:3
 45:2, 10, 14 46:12       warning 177:18             143:1 180:16              write 104:3 126:14,
 47:1, 20 48:13           watching 157:12, 15,       182:22                    17 175:14, 23
 51:24 52:4, 13, 15       17                        witnessed 103:15,          writing 32:15, 18, 21
 53:13 55:4, 10, 24       water 130:20              22 114:3                   written 29:12
various 13:22 21:6        Watts 169:13, 18          witnesses 37:21, 23         56:12 139:24 176:5
 41:10 46:3 54:12         way 26:1, 17 32:7          38:3, 6 98:3, 17, 18      wrong 114:5 119:4
 62:7 107:6, 6             44:13 55:21 61:8          99:10, 11, 15 101:3        124:19 165:12, 18
 120:14 122:12             62:15 66:4 102:19         104:1, 2, 6 141:24         171:1
 126:24                    114:2, 6 119:3           women 155:20               wrote 114:10, 12
VEDDER 2:7                 132:1 163:16             wood 114:5                  126:17 129:12
 106:17                    182:24 183:1             Woods 65:21                 149:20 175:15
Verbal 56:3               we, 139:15                word 20:24 144:13
verbally 138:15           week 34:8 36:3             171:1                     <Y>
version 145:2, 4, 10       48:16 49:1, 3            words 57:24                Yazbec 12:16 18:5,
versus 6:11 97:3           115:24 143:3              133:20, 21 137:5          11 27:18 28:11, 16,
 148:13                    148:13                    179:16                    22 40:6 59:24
Vice 14:17 18:23          weeks 30:23 31:6          work 17:7 26:23             71:3, 16 75:7 80:7
 19:1                      44:19 52:15 138:2,        27:1 29:24 30:13           83:21 88:9, 20
viewed 55:21              6, 13, 19 148:6, 13        31:19 33:24 34:7           91:11 99:20
violate 54:13              154:14 168:20             41:2 45:14, 20             105:23 107:18, 18
violated 74:9             Weil 93:19 168:6,          47:22 48:14 49:4           108:4, 6, 14 110:4
visit 21:14               10, 15                     55:3, 11 56:1              113:14 117:1, 20
vs 1:5 181:5              W-e-i-l 93:19              87:13 90:6 111:24          127:20 128:9, 21
                          welcome 23:9               123:18, 20, 24             131:3, 5, 8, 19
<W>                       Well 6:23 87:3             124:21 125:1, 5, 7,        135:13 137:23
Wacker 2:13                95:5 105:8 134:22        21 126:9 127:10             139:16 141:8, 21
wait 6:5, 6                136:17 138:16             128:20, 22 129:13,         142:2, 3 146:23
walk 31:14                 144:2 146:2 160:10       17 130:5 135:16             152:11, 17 162:12
walked 106:6              well-known 65:20           136:4, 8, 8, 17, 22, 23    171:2, 14 172:1
walk-through 21:24        went 31:10 66:11           137:8, 12, 15 138:18       173:2 175:1 178:7
 22:14                     72:18, 22 73:1            139:10, 14 143:20          179:6
walk-throughs              77:12 80:21 83:16         150:7, 23 151:17          Yazbec's 19:6
 21:13, 15, 23 31:1, 3,    132:7                     153:13, 20 154:2, 9        141:11
7, 11, 11 34:11, 14       we're 37:19 56:22          155:12 163:9              year 15:1 24:12
 126:2 132:12              65:12 92:19, 19           164:9, 13, 20, 22, 24      30:19 45:11, 11, 14
want 21:16 22:1            134:22 135:1              165:7                      46:6 47:7 49:7
 26:7, 17, 20 37:11,       147:3 150:11 159:4       worked 15:18                59:11, 13
17 43:20 49:8             We've 16:18, 19            30:15 34:8 112:4          years 9:11 13:21
 53:9 54:2, 4 73:6         33:2 80:13 122:1         working 30:21               17:15 18:12 25:12
 77:12 84:13              WHEREOF 183:3              31:21 36:2, 10, 11         30:7, 11 35:23
 110:19 125:15            wife 114:16                41:18 43:2 47:14           49:5 64:8 138:5
 134:18 141:10            William 14:17              50:19, 20 89:8             147:17
 147:10 148:2, 9           91:11                     91:18 95:1 120:17         year's 149:23
 150:10 176:16            willing 108:20             122:7 162:16              Yelp 16:14
 177:11 178:1 179:5        111:19                    163:5, 11, 12, 18         yeses 6:11
wanted 53:7 76:21         withholding 23:12          164:1, 1, 8 165:1         yielded 97:19
 77:4 96:4 120:21         WITNESS 3:1 5:1,          works 77:2 113:5
 136:8 137:12, 15         3 24:19 54:18             worth 108:22 109:9
 146:20 147:24             69:10 95:7 99:7

                                  Worldwide Litigation Services
                              (312) 528-9111 | info@worldwidelit.com                          Page 22
